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                    Exhibit 1
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                            Dr. Riyad Mansour
                             ,Ju1y 08, 202L

     UNITED STATES DTSTRTCT COURT
     SOUTHERN D]STRICT OF NEW YORK

   SHABTA] SCOTT SHATSKY,          Case No. L8-Civ. 12355
   individually and as
   personal representative
   of the Estate of Keren         V]RTUAL VIDEOTAPED
   Shatsky, ,J ANNE               DEPOS]TION OF DR. R]YAD
   SHATSKY, individually          }4ANSOUR
   and as personal
   representative of tl:e
   Estate of Keren
   shatsky, TZTPPoRA
   SHATSKY SCHWARZ, YOSEPH
   SHATSKY, SARA SIATSKY
   TZTMMERMAN, MIRIAM
   SHATSKY, DAVID RAPHAEL
   SHATSKY, GINETTE LANDO
   THALER, individually
   and as personal
   represent.ative of the
   Estate of Rachel
   Thaler, LEOR TIIALER,
   ZVI THALER, ISAAC
   THALER, HILLEL
   TRATTNER, RONfT
   TRATTNER, ARON S.
   TRATTNER, SHELLEY
   TRATTNER, EFRAT
   TRATTNER, HADASSA
   DINER, YAEL HILLMAN,
   STEVEN BRAUN, CIANA
   FR]EDMAN, TLAN
   FRIEDMAN, MIRIAM
   FRIEDMAN, YEHIEL
   FRIEDIUAN, ZVI FRIEDMAN,
   and BELLA FRIEDMAN,

           Plaintiffs,

          against




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                                 Dr. Riyad Mansour
                                  .Iu1y 08, 2021

 l-      THE PALESTINE
         LIBERATION ORGAN] ZATION
 2       ANd THE PALEST]NIAN
         AUTHORITY (a/k/a I'The
 3       Palestinian Interim
         Self-Government
 4       AuthoriLy" andfor "The
         Palestinian National
 5       Authority"),
 6
                 Defendants.
 7

 8

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t6
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                                    Dr. Riyad Mansour
                                     'July 08 , 2021-
  1                      V]RTUAL VTDEOTAPED DEPOSITION OF DR.
  z        RIYAD MANSOUR, a witness herein,       ca1led by the
  3        Plaintiffs,      for examination, taken pursuant to
  4        the Federal Rules of Civil procedure, by and
  5        before Karen A. Nickel, a Certified Realt.ime
  6        Reporter and a notary public in and for the
  7        Commonwealth of      Pennsylvania, held remotely
  8        wit.h al1 parties appearing from t.heir
  9        respective locations, on Thursday, July g,
1_0        202I, at 9:30 a.m.
1l-        COUNSEL PRESENT:

L2
           For the Plaintiffs:
1_3        Ronald F. Wick, Esq. (Admitted pro liac Vice)
           Cohen & Gresser, LLp
I4         2001- Pennsylvania Avenue, NW
           Suite 300
15         Washington, DC 2000d
1"6        Stephen M. Sinaiko, Esq.
           Cohen & Gresser, LLP
1-1        800 Third Avenue
           New York, NY 1-0022
l_8
           For the Defendants:
1,9        Mitchell R. Berger, Esg.
           Joseph Al-onzo, Esg.
20         Salim Kaddoura, Esq.
           Squire Patton Boggs
2I         2550 M Street NW
           Washington, DC 20037
22
           AIso Present: Coset.te Vincent.
23                       Eszter Vincze
24

25


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                                     Dr. Riyad Mansour
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     4
                    By Mr. Wick                          6
     5

     6
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                                       July 08 , 202L
     t_                        PROCEED]NGS
     2                            THE VIDEOGRAPHER: cood
     3         morning, everyone.     We are now on the record.
     4         ParticipanLs should be aware t.hat this
     5         proceeding is being recorded and, as such, all
     6         conversat.ions held will be recorded unless
     7         there is a request and agreement to go off the
     I         record.
     9                      This is the remote video-recorded
10             deposition of Riyad Mansour. Today is
1_   t-        Thursday, lTuly 8, 2021. The time is now L3:32
1,2            UTC time.
t_3                        We are here in t.he matter of Shatsky
L4             versus PLO. My name is Corey Wainaina, remote
15             video technician on behalf of US Legal Support
L6             locat.ed at 90 Broad Street, New york, New york.
L7                         I am not relat.ed to any party in
t_8            this act.ion, nor am I financially    interested in
L9             the outcome. At t.his time, will t.he reporLer,
20             Karen Nickel, on behalf of US Legal Support,
2L             please ent.er Lhe statement for remote
22             proceedings into t.he record?
23                                THE REPORTER: The attorneys
24             participating    in t.his deposition acknowtedge
25             t.hat I am not. physically present in t.he

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 1         deposition room and that I will be reporting
 2         this deposition remotelY.
 3                        They further acknowledge that, in
 4         l-ieu of an oath administered in person, the
 5         witness wilL verbally declare his testimony in
 6         this matter is under penalty of perjury.
 7                        The parties and their counsel
 I         consent to this arrangement and waive any
 9         objections to this manner of reporting- Please
l-0        indicate your agreement by stating your name
1t_        and your agreement on the record.
L2                               MR. WICK: This is Ron Wick,
13         Cohen and Gresser, for        the Plaintiffs,   and the
l4         Plaintiffs      agree.
l_5                              MR. BERGER: This is Mitchell
L6         Berger for the Defendants, we agree.
I7                  DR. RIYAD MANSOUR, a witness herein,
t_8        having been first        duly sworn' was examined and
1,9         testified     as follows:
20                                  EXAMINATION

2I          BY MR. WICK:
22                O.       Good morning, DY. Mansour.

23                A.       Hi.
24                O.       I thank You for coming todaY.
25                A.       Welcome.


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                                    ,Ju1y 08 , 2021,

  t_            O. My name is Ron Wick. I represent
  2        Plaintiffs in this lawsuit. And Iet me just.
  3        ask you off t.he bat, have you had your
  4        deposition taken before?
  5              A.       Yes.
  6             O. Okay. So you are somewhat familiar
  7        with the process but l_et's just I'm going to
  I        ask you some questions, of course, but before I
  9        do that, I want to go over the process wit.h you
10         so that we are all on the same page. Is that
1l_        all right?
1,2             A.    Okay.
13              O.    The court reporter will be
L4         transcribing everything we say today, so to
15         make sure t.hat the record is accurate, and.
16         especially since this deposition is t.aking
L7         place by a video conference, it. is important
18         that we noL speak over each other, so that only
t_9        one person speaks at a time.
20                     I would ask t.hat you please wait
2L         until I finish my questions before you start to
22         answer them, and I will do my very best to wait
23         until you finish your answer before I ask
24         another question.
25                       Fair enough?

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 I              A.    I will do mY best. Thank You.
 2              O.    Okay. It is also important that you
 3         respond to my questions verbally. For example,
 4         if you shake or nod your head, the court
 5         reporter cannot transcribe that answer.
 6               A.   I understand.
 7              O.    If you don't understand a question,
 I         please let me know, I will try to rephrase it
 9         for you. If you do answer a question, I will
l_0        assume that You understood. OkaY?
t1               A.      Okay.

L2               O.      Your counsel, Mr. Berger,
13         undoubtedly will object to some of my
I4         questions. Unless your counsel instructs you
l-5        not Lo answer the quest.ion, You should go ahead
1,6        and answer my question even though there was an
L1         objection. Is that understood?
18              A.    Yes.

t9              O.    We will- be taking periodic breaks

20         through the deposition. If at any point you
2t         need a break, please l-et me or Mr. Berger know-
22          I will do my best Lo accommodate your request.
23                     The onlY thing I ask of You is that,
24          if a question is pending, I would ask you
25          answer that. question first before we take a

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                                     Dr. Riyad Mansour
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  l_       break. A11 right?
  2             A.       I underst.and.
  3             0.      Are you taking any medication t,oday
  4        that would prevent you from answering my
  5        questions ful1y and accurately?
  6             A.      No.

  7             O.       Is there any other reason t.hat you
  I        can t.hink of as to why you would not be able to
  9        answer my questions today fully        and accurately?
1_0             A.      No.
1l_             O.      .fust. a f ew t.erms I want to go over
L2         t.hat I will be using during the course of the
13         deposition and I want Lo make sure that we are
14         all on t.he same page.
15                      I will be referring,      from time to
16         time, to the PA, and by that f mean the
L7         Palestinian Authority; is that okay?
18              A.      Okay.
1,9             O.      And I will    use the term pLO t.o refer
20        to t.he Palestine Liberation Organization;
2t        understood?
22              A.      Yes.
23              O.      And f may use the shorthand term
24        Observer Mission, by which I mean the permanent
25        Observer Mission of the Stat.e of palestine Lo

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 1_     the United Nations; is that all right?
 2             A.      It is okaY.
 3             O.     Okay. If we could go to the first
 4      tab.     I'm going to show you a document,
 5      Mr. Mansour.
 6             A.      Okay.
 ,7
                               THE VIDEOGRAPHER: Counsel,

 I      would you like to see the document and the
 9      witness for the video record?
10                             MR. WICK: Yes, Please.
1l_                            THE VIDEOGRAPHER: OkaY.

L2      BY MR. WICK:
13             O.      Dr. Mansour, I'm showing you a copy
T4      of a Notice that the Plaint.iffs       in this action,
t5      my clients, sent to your counsel regarding your
t6      deposition today. Have you seen a copy of this
1,7     Notice?
1_8            A.      No.

t-9            O.      Irm sorrY?
20             A.      No.

2t             O.      You have not seen a coPY?
22             A.      ExcePt now in front of me-
23             O.      Okay. How did You learn that You
24      were being asked to t.estify at a deposition
25      today?


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 1              A.       By my lawyer.
 2              a.     I don't. want you to te1l me anything
 3         that you talked about in t.hat regard with your
 4         lawyer.      Is it your understanding that you are
 5         testifying    today pursuant to this Notice of
 6         Deposition?
 ,7
                A.       Yes.
 I              O.       Did you do anyt.hing t.o prepare f or
 9         your deposition?
10              A.       Yes.
11              O.       What did you do?
L2              A.       Met with my lawyer.
13              O.       And was anybody el_se present when
L4         you met with your lawyer?
15              A.       No.
T6              O.       Did you meeL with anybody other than
I7        your lawyer to prepare for your deposition?
18              A.       No.
l9             O.    And did you review any documents in
20        preparing for your deposition?
2L              A.       I believe that f have seen
22        documents, I understood from my lawyer, that
23        have been provided to you, basically,       about my
24        schedule.
25              O.       So you reviewed the calendar


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 t_     documents that were provided to us?
 2           A.         Yes.
 3              O.      Do you     to the best of Your
 4      recofl-ection, did you review any other
 5      documents in preparation for your deposition
 6      today?
 7              A.      No.

 I              O.      And when you said you met with your
 9      lawyer to prepare for your deposition, are you
10      referring to Mr. Berger?
11              A.      Yes.
T2              O.      Did you meet with any other lawyers?
13              A.      Earty in the processr 1res, but the
t4         for t.his deposition is with Mitch.
1_5             O.      By "earIy in the process,rl do you
1,6     mean at the beginning of t.he lawsuit?
T7              A.      No.    When we were approached to make

18      deposition.
1,9             O.      And, approximately, how long ago was
20      that?
2L              A.      A month, month and a half ago.
22              O.      And at. that. time, who did you meet
23      with?
24              A.      I think Mitch can      I donrt
25      remember the names, Mitch can remember them.


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  1_     One, Baloul, I think, I believe, his last name.
 2       The other one I don't remember.
 3               O.      Mr. Baloul?
 4               A.      Yes.
 5               O.      And t.here was another attorney as
 6       well?
 7               A.      Yes.
 8               O.      Was it   tqr. Alonzo?
 9               A.      I donrt remember the name.
l_0              O.      Fair enough. And when you reviewed
l_1      your cal-endar entries that were provided to us
L2       in preparing for your deposition, did those
1-3      documents refresh your memory at. all as to any
14       events?
15               A.      Yes.
15               O.      Specifically,   did they refresh your
1,7     memory as to the events in          question on t.he
l-8      calendar?
L9               A.      Calendar is very basic as to
20      hundreds of meet.ings. So it refreshed my
2L      memory as to which meeting, with whom, so that
22       I remember, you know, these sort of             to
23       ref resh my memory about t.hese things,        1z€s.
24               O.      And did you bring any documents with
25      you to t.he deposit.ion today?

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 1             A       No. Other than the two documents
 2      that. I have here.
 3             o       What are the two documents t.hat you
 4      have there?
 5             A.      These two documenLs. This one, this
 6      one.
 7             O.      Okay. It appears to me that you are
 8      showing me t.he copy of your calendar entries
 9      and a copy of the Defendants' revised privilege
10      rog?
11             A.      Yes.
1,2            O.      Is that correct?
t-3            A.      Yes.
1,4          O.    Okay. I would like to just steP
t-5     back for just a moment and do a quick
1,6     housekeeping measure. I understand that
L7      Ms. Nickel is in Pennsylvania. Dr. Mansour,
1B      where are you today?
l-9          A.    In my office in New York, 115 East
20      55th Street, New York, New York.
2t           O.    So you are in the Observer Mission
22      building?
23             A.      Yes.
24                            MR. WICK: I just want to be
25      clear that. we are all in agreement, P€r Rule 29

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  1_       of the Federal Rules of Civil Procedure, that.
  2        Ms. Nickel is an appropriate officer          before
  3        whom today's      deposition can be taken.
  4                       Are we in agreement. on that,
  5        Mr. Berger?
  6                             MR. BERGER: Yes. So
  7        stipulat.ed.
  8                             MR. WICK: Thank you.
  9        BY MR. W]CK:
1_0              O.    Dr. Mansour, you indicated earlier
11         t.hat you had had your deposition taken before.
I2         On how many occasions have you had your
13         deposition taken previously?
1,4               A.      I remember one about 20 some years
15         ago.
L6                O.      And do you recall what that case was
l7         about?
18                A.      Yes. It was a case of Palestinian-
1,9       American businessman, and the case, I believe
20        he        a case of undocumented alien
2t                              THE COURT REPORTER: frm
22        having a little       bit of trouble hearing the
23        witness.       He's cutting out a tittle      bit and f
24        did not hear the end.
25                              THE WITNESS: Can you hear me


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                                    JuIy 08, 2021

 1     now?

 2                             THE COURT REPORTER: Yes.

 3                             THE WITNESS: I   SAid ThAI,
 4      y€s, I appeared in a case about 20 years ago in
 5      Orl-ando, Florida, a case of a Palestinian-
 6      American businessman accused of employing
 '7     undocumented aliens in his business.
 8      BY MR. WICK:
 9            O.       Were You a Party to that case' a
10      Pl-aintiff    or Defendant?
11            A.        I was not a PartY, but I was
l2      organizing the legal counsel for that
13      Defendant.
l4            O.        f'm sorry, I didn'L understand your
1_5     answer. Coul-d you please repeat that'?
L6          A.    I said f was organizln3 a lega1
T7      counsel in the defense of the Defendant.
t_8         O.     You were organizing IegaI counsel in
1,9     the defense?
20            A.        Yes.

21,           O.        WhY was that?

22            A.        Because he was a friend and ParL
23      owner of the company that I worked for.
24            O.        And which comPany was that?
25                             MR. BERGER: This is focused


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  1        on jurisdict.ional         predicat.es, and I donrt see
  2        what his prior deposition testimony has to do
  3        with anything.
  4                              MR. WICK: I think t.his is
  5        basic background questioning, Mitch.               I donrL
  6        plan to spend a 1ot of t.ime on it.
  7                              MR. BERGER: You can answer.
  I                              THE WITNESS: It. is f nteri_m
  9        Investment Commercial Company in Orlando,
10         Fl-orida.
l_1        BY MR. WICK:
L2               O.        f nterim   invest.ment. company?
1_3              A.       Yes.
1,4               O.      Okay. And have you previously
l-5        testified     in court?
L6              A.        Yes, I test.ified during the
I7         course        the prosecutor wanLed me t.o testify,
18        and I did.
1,9             O.        And that was in the same case where
20        you gave your deposition?
21,             A.        ft wasn't a deposition.          I don't
22        know if there is a difference between
23        deposition and testifying,          but I did that in
24        t.hat. case.
25              O.        Okay. Were you in a courtroom?

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 l_              A.      Yes.

 2               O.   Okay. Other than that occasion
 3         where you testified in the case involving
 4         interim investment
 5               A.   I don't recall.
 6               O.   Have you ever    do You recall ever
 l          t.estifying under oath?
 8                A.    I don't recal-I.
 9                O.    Fair enough. Dr. Mansour, are you a
10          U.S. citizen?
1l_              A.     Yes.

1,2              O.       Are you a naturalized U-S. citizen?
1_3              A.       Yes.

L4               O.       And where do You currentlY live?
15               A.       I live in New York, 115 East 65th
l-6         Street.
I7                O.      Do You have a residence at the
t-8         Observer Mission?
T9                A.      Yes.

20                O. And just to be clear, 1L5 East 65th
2L          SLreet is the address of the Observer Mission
22          building; correct?
23                A.   And a1so, Yes, the Place where I
24          live.
25                0.   Understood. And has the Observer

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                                         JuIy 08, 202I
   l-      Mission building been your primary residence at
   2       all times since ,January 4, 2O2O?
   3                A.       Yes.
   4                O.       Does anyone live there with you?
   5                A.       My wife.
   6                0.       Anyone else?
   7                A.       There is a lady that takes care of
   8       the building.
   9                O.       Irm sorry, you said that there is a
10         Iady that takes care of the building?
1_ 1-               A.       Yes.
1,2                 O.       And she lives in the residence with
13         you?
L4                  A.       Yes.
15                  O.      And what is her name?
1_5                 A.      Almaz, and her last name is
1,7        difficult       t.o pronounce for me, she is
l-8        Ethiopian.
19                  O.      Does she work for the Observer
20        Mission?
21,                 A.      Yes.
22                  O.      f 'm going to spe1l the name. fs it
z3         first.    name A-L-M-A-2, last name
24        .J-O-U-D-E-E-T-A?
25                  A.      If you have it in a document, I

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 t_    think you are correct.
 z                     (Deposition Exhibit Nos. l- and
 3      2 were marked for identification.          )


 4      BY MR. WICK:
 5              O. Dr. Mansour, I'fii showing you Exhibit
 6      2, which is a list provided by your counsel of
 7      what we understand to be personnel of the
 I      Observer Mission since ,January 4, 2020. And I
 9      woul-d ask you to l-ook at that document and tell
l_0     me if the name of the person that lives with
1t_     you and your wife at the Observer Mission
1,2     building is on that list?
13              A.      Yes, it's    the last   name-

T4              O.      Almaz ,Joudeeta?
15              A.      Yes.

L6              O.      I aPologize for anY
L1      mispronunciat.ion. Irm doing the best I can as
18      well.
1-9                     Has she afso l-ived in the Observer
20      Mission building at all- times since January 4,
2t      2020?

22              A.      Yes.

23              O.      And does she        l-et, me steP back.
24                      In addition to taking care of the
25      building, does she also take care of your

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  1        residence in the building?
  2             A.        Yes.
  3              O.       She acts as a housekeeper for your
  4        residence?
  5             A.        Yes.
  6             O.        Does she have any responsibilities
  7        in taking care of the buil_ding besides taking
  I        care of your residence?
  9             A.       No.
10              O.        She doesntt perform any custodial
11         work in t.he of f ices of t.he building , for
L2         example?
l_3             A.       You mean cleaning, cleaning the
L4         offices?
l_5             O.       Yes.
l6              A.       Yes, she does.
L7              O.       She does do that?
18              A.       Yeah.
I9              a.       Okay. And who pays Ms. ,Joudeeta?
20              A.       The Mission.
21,             O.       The Observer Mission?
22              A.       Yes.
23              O.       And as a resident of the Observer
24        Mission building, have you spent most of your
25        nights there since ,.Tanuary 4, 2020?

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 I              A.        Yes.

2               a.        And did You regularlY take Your
.3        meals there?
 4              A.        There or in a resLaurant.     During
 5         that period of time, mosL of it in house.
 6              O.    Understood. And does Ms. Joudeeta
 7         afso prepare meals?
 8              A.        Yes. f must saY she is not a good
 9         cook. I shouldn't saY that.
10              O.         Fair enough. We will not share that
1L         with her.
t2              A.    Okay. That's good.
13               o.   And do you entertain visitors in the
T4         residence from time to time?
l-5              A.   During the period of time that You
I6         referred to, very, very few because of COVID.
L1                 a.      Underst,ood. But You do receive
t-8        visitors there from time to time; correct?
L9                 A.      Yes.

20                 O.      Including social visitors?
2L                 A.      Yes.

22                 o.      And you have received social
23         visitors on multiple occasions since .Tanuary 4,
24         2020?

25                 A.      Yes


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  1             O.    Have you hosted any parties in the
  2        residence since ,January 4, 2O2O?
  3               A.       Parties, ro.   But. at the maximumr
  4        lunch or dinner for maybe four or six
  5        individual-s, the highest. number that we hosted
  6        in the house.
  7               O.      And have you had social visitors        to
  8        your residence who are not affiliated        with the
  9        United Nations?
10                A.      Yes.
1-1               O.      How is t.he Observer Mission building
72         divided between the Mission offices and your
l-3        residence? Are you on a separate floor?
L4                A.       I will give you a description.        fn
l-5        the ground fl-oor, Lhere is a small apartment
L6         for A1maz and a reception room.
L7                        Then t.he two floors above t.hat are
18         t.he residence where f tive.       And the two f l_oors
I9         above t.he residence are the offices where we
20        work.
21,                       And we have a rooftop.
22                O.      So Lhe offices are on the fourth and
23        fifth    floors?
24                A.      Yes.
25                O.      And Almaz, that's her own aparLment.,

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 1      she does not live in your residence; correct?
 2           A.    As I said, in the ground floor,
 3      don't call it the first fl-oor, w€ call it the
 4      ground floor, that's where Almaz lives, Lhere
 5      is a sma1l apartment for her. And the
 6      residence is the first floor and t.he second
 7      floor. And the offices are on the third floor
 8      and the fourt.h floor, if you count as ground
 9      floor as ground f1oor.
10            O.   Does the Mission, does the Observer
L1      Mission use the rooftoP at. all?
l2            A.   Under during normal times, some
1_3     of the smokers used to use the rooftop for
L4      smoking, but during the period that we are
t_5     talking about, because of COVID, things
L6      drastically changed. ft was hardly used.
1,7           O.   Did you ever use the roof t.oP?
t_8           A.    Tn rare occasions, especially at
T9      night, it was a nice view of Manhatt.an at night
20      from the rooftop.
2t           O. And have you and, again, I just
22      want to f ocus on the period since 'January 4,
23      2020, have you entertained any visitors on the
24      rooftop?
25            A.      During that period of t.ime, noL that

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                                   Dr. Riyad Mansour
                                    'July 08, 2021,
  1     I recall.
 2               O.      And to the extent t.hat you have
 3      socia1 visitors         in your residence, are those
 4      authorized uses of the Observer Mission
 5      building?
 6               A.      What. do you mean by I'auLhorized
 7      userr?

 I               O.      Do you have permission from the
 9      does the Mission permit you to have social
1_0     visitors       in your residence?
t-1              A.      Yes.
L2               O.      And there is       how many entrances
13      are there to the Observer Mission building?
L4               A.      From 65th Street, two; one residence
t_5     entrance and one a st.aff entrance. And there
L6      is an enLrance in the back, actually             not on
I7      the f loor         same door in t.he back f rom Almaz's
t_8     apartment., and then there is an entrance to the
L9      rooft.op of the building.
20               O.      Is t.here a separate entrance to your
2t      residence?
22               A.      Yes.
23               O.      Who owns the Observer Mission
24     building?
25               A.      The Mission.

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 l_          O.      And who pays the expenses for the
 2      building?
 3           A.       The Mission.
 4           0.       And where does t,he Mission obtain
 5      the funding to pay for t.he building?
 6           A.       From the State of Palestine.
 7           O.       And by the "State of Palestine, " are
 I      you referring to the PA?
 9           A.       The State of Palestine, I am
l-0     referring to the State of Palestine.        This is
t-1     the Observer Mission of the State of Palestine
t2      of the UN, and I am Ambassador Observer of
t_3                        THE COURT REPORTER: I'm

l4      sorry, the witness is cutting out again.
l_5                        THE WITNESS: I    said I am the
L6      Ambassador Observer of the State of Palestine
1,7     for the United Nations.
18      BY MR. WICK:
19            O.      What is your relationship    between
20      the Stat.e of Palestine and the PA?
2L           A.       PA was formed by Palestine
22      Liberation Organization.       Palestine Liberation
23      Organization is politicaL     party that is part of
24      the Stat.e of Palestine.
25            O.      I t.hink that I and PerhaPs t.he

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   1       reporter may have missed the first         part. of your
   2       answer regarding t.he Palestinian Authority.           So

  3        I'm going to ask the question again because you
  4        are cutting out in your response from time to
  5        time.
  6                        What is the relationship      between the
  7        Palest.inian Authority and t.he Stat.e of
  8        Palestine?
  9                A.      Palestinian National Authori_ty,
l_0        referred to it. as the PA, was established by
t_ l-      the Palestine Liberation Organization as a
T2         resul-t of the Oslo agreement.. palestine
1_3        Liberation Organization is the umbrella from --
L4         encompassing all political        parties in
15         Palestine, those who are in the PLO, and the
T6         State of Palestine is encompassing all t.hese
17         t.hings, including t.hose who are not in the pLO.
18         It is like any ot.her country.
L9                 O.      Do you pay any rent. to the Observer
20        Mission for your residence?
2I                 A.      No, f dontt.
22                 O.      And does A1maz pay any rent?
23                 A.      No.
24                 O.      Is residence in the Observer Mission
25        building a benefit. that the Observer Mission

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 1     provides to you?
 2              A.     IT comes with the job as the one
 3     before me and ir will be done to the one afLer.
 4          o.    And so it is provided as a benefit.
 5      to you?
 6              A.      It is provided to me as Part of the
 7      j ob.

 I              O. And is it also Provided to
 9      Ms. ,Joudeeta as Part of the job?
10              A.      Yes.

1l-             O.      Do you have any other residences in
I2      the United States?
l-3          A.    I have a personal house in Orlando,
L4      Florida.
1-5             O.      And does the Observer Mission pay
L6      any expenses for your house in Florida?
I7              A.      No.

18              O.      Does the PLO PaY any expenses for
T9      your house in Florida?
20              A.      No.

21,             O.      Does the PA PaY any expenses for
22      your house in Florida?
23              A.      No.

24          O.     Have You resided at anY other
25      properties in the United St,ates since ,January

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                                   'Ju1y 08 , 2021,
  1_       4, 2020?
  2             A.       What do you mean by 'rresided"?
  3             O.       Lived.
  4             A.     Visited, yes.
  5              O.    But there are no ot.her but there
  6        are no other homes where you have lived during
  7        that t.ime period?
  8             A.     No other home that I l_ived.
  9        Visited, yes.
l-0              O. By "visit.ed, '' you mean visiting as a
t_1        guest. in somebody else's home?
I2               A.    Yes.
t_3              O.    Irm not asking about that. That's
I4         fine.
t-5                     Are there any expenses t.hat t.he
1,6       Observer Mission pays for besides providing you
I7        with the residence at the Observer Mission
t-8       building?
19              A.      Can you repeat the question again,
20        please ?
21,             O.   Cert.ainly. I will rephrase it.
22                   Does the Observer Mission, in
23        addition to providing you with a residence in
24        the Mission buil-ding, pay any other expenses of
25        yours or reimburse you for expenses?

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 1                 A.     They pay a certain percentage of my
 2        cell phone because I use it for my work'
 3                              THE COURT REPORTER: I'm

 4         sorry, of your what?
 5                              THE WITNESS: MY cell Phone,

 6        mobile phone, they pay a certain percentage of
 7        the monthly bill because I use it mostly for my
 8         work.
 9         BY MR. WICK:
t_0                O.     Are there any other expenses that
11         t.he Observer Mission PaYs?
L2              A.     Not that. I recall. If there are
13         things related to the work, my work at the
L4         United Nations, then it happens. For example,
15         if I take group of Ambassadors to a lunch or
L6         dinner rel-ated to our work and I am the host,
L7         Lhen, you know, I get reimbursed for that
18         because this      is a business expense.
l_9             O.         Does the Observer Mission provide
20         you with a car?
2L              A.    There is a car for the house, Yes'
22              O.    frm sorry, a car for the office or
23         for the house?
24              A.    Yes, Yes. It is owned bY the
25         Observer Mission and it is a car that takes me

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  1        to the UN and my meetings. This is a cusLomary
  2        thing for al-I Ambassadors, yes. And a driver
  3        with it, too.
  4                O.       And that. driver ls also paid by the
  5        Observer Mission?
  6                A.       Yes.
  'I               O.       And what is the driver's      name?
  I                A.       My current driver is AIi Mohammad
  9        Issa.
10                 O.       Bear with me here just. a moment,
11_        please.
L2                          Let's go to Tab 3.    I'm going to
13         show you a document, Dr. Mansour, that            I would
I4         like to have marked as Exhibit 3.
15                         (Deposit.ion Exhibit. No. 3 was
L6         marked for identification.       )

L7         BY MR. W]CK:
t_8                O.      This document. is numbered
t9         Shatsky-,JD00545, it. 's six pages, through
20        Shat.sky-,JDO0550 .

2L                         Dr. Mansour, is this the document
22        that you showed me earl-ier that you have with
23        you reflecting        your calendar entries?
24              A.         I believe so, yes.
25                 O.      And to the best of your knowledge,

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                                    Dr. Riyad Mansour
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 1-                              MR. BERGER: Ron, I rea11Y
 2         d,on't know what you mean by "the general
 3         nature. rr You have asked a question about
 4         whether somet.hing is a staff meeting. That is
 5         perfectly acceptable to us. If you are asking
 6          about what the t.opics were that were discussed
 7          at the staff meeting, that is covered by
 I          functional immunitY.
 9          BY MR. W]CK:
L0               O.    I'm going move down to the, about
Ll_         two-thirds of the way down that first Page'
L2          there is an entry dated February 2, 2020 and
t-3         the subject line is interactions with civil
L4          society organization Beit Hanina Cultura1
1_5         Center Brooklyn on UN topics. Do you see that
t6          enLry?
L7                A.      Yes.

1_8               O.      Where did that event take Place?
L9                A. In BrooklYn.
20               O.  I apologize if I am mispronouncing
2t          this. What is t.he Beit Hanina Cultural Center?
22               A.  Civil societY orgarrlzation.
23               O. What do you mean by a civil society
24          organization?
25                A.       It. is a civil societ,y organlzation

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   1       of the community, pal_estinian-Americans, who
   2       were originally    from Beit Hanina, which is a
   3       neighborhood in ,Jerusalem, who are residing in
   4       Brooklyn.
   5            O.       And what is t.he purpose of t.he
   6       organization?
   7            A.       I don't really know. you have to
   8       ask, you know, the organizers of this
   9       organization.     They are bet.ter qualified
l-0             O.       To your knowledge, does the Beit
1_ 1_      Hanina Cultural Center have any connect.ion to
T2         the United Nations?
13              A.       So the work of t.he United Nations,
t4         many people might not know that      it is not only
15         diplomats, it is diplomats' involvement of
L6         civil society organization, involvement of the
I7         media, invol-vement of the missions, involvement
l_8        of parliamentarians, involvement of so many
t9         sectors of different    societies, because the way
20         t.he UN operates, it   invites so many different
2L        represenLations of different      societies    and
22        countries that participate      in the decision
23        making process.
24                      So, therefore, t.here are hundreds,
25        maybe more than hundreds, civil      society

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 t_         orgarruzations that are accredited to the United
 2         Nations or
 3                              THE COURT REPORTER: Excuse

 4         rtr€, please .
 5                          The videograPher, is there some way
 6          of correcting the audio between the witness and
 7          Mr. Berger because I'm having troubl-e with the
 I          witness cutLing out and then Mr. Berger, when
 9          he speaks, Lhere is a 1ot of echoing on my end'
10                               THE VIDEOGRAPHER: WC ATE NOW

11          off the record.       The time is 1-4:31 UTC time'
1,2                              (Discussion hel-d off the
13          record. )
l4                               THE VIDEOGRAPHER: We are

1_5         back on t.he record.      The t.ime is 1-4236 UTC
1,6         t.ime.
11          BY MR. WICK:
18                O.   Dr. Mansour, before we had to go off
t9          the record, you were in the middle of an answer
20          to my question. I had asked you wheLher the
2I          Beit Hanina Cultural Center had any connection
22          to the United Nations and you were explaining
23          that. the United Nations involves multiple
24           organ:zations.
25                          Is there anYthing more that You

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                                     .Tu1y 08, 202l-

     1-    wanted to say?
  2              A.       No. ,fust, basically,   I was saying
  3        t.he nat.ure of work at the United Nations, it is
  4        so encompassing and exclusive t.hat it allows
  5        for participation in the decisionmaking process
  6        to so many different      players; representat.ives
  7        of countries, represent.atives of mult.icu1tura1
  I        organLzations, civil societ.y organizat.ions,
  9        media, parliamentarians, al1 components of
1-0        society because the agenda of the UN, it
l_1        involves humanit.y in so many dif f erent ways.
1,2                       f will give an example. For
t_3        example, when we debate climate change, that is
I4         not only the domain of diplomat.s, it is civil
15         societ.y admissions, activists, private secLors,
L6         all of them, they have a stake on this issue.
1,7                      And the UN and the Secretary General
18         and the General Assembly invite all those to
l_9        contribute to t.hat. collective    effort    of all of
20        us of how we view these issues and what we
2I         legislate.
22                       So, therefore, everybody has
23        something to contribute.        So in t.his example,
24        this civil     society organizat.ion, the
25        Palestinian-Americans, t.hey feel that. they have

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 1        a role to influence those who are dealing with
 2        the question of Palestine at the UN with
 3        whatever they have in their mind.
 4              O.     Does the Beit Hanina Cultural Center
 5        have any accreditation     from the United Nations?
 6              A.  As far as I know, I don't reaIIY
 7         know. They may, they may not. I will just
 8         give an example. There are hundreds who are
 9         accredited civil    society orgarrLzations.   Some

10         of them are Palestinian, some of them are
11         Palestinian-American.     Many of them are
I2         Jewish-American organLzaLion or Israeli
t3         organization.
L4                      Some of Lhem, theY go through the

15         scrutiny of the Social and Economic Council to
t_5        approve them as accredited civil society
I7         organization, who may be on the Exercise of the
18         Inalienable Rights has its own mechanism of
t9         accrediting civil    society organizaLiort, and
20         there are hundreds of them that are accredited
2L         by that group. I am just giving you an example
22         how things are at the United Nations, not only
23         diplomats operating in a vacuum. We operate
24         within the dynamics of what is happening, all
25         of us.

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                                  Dr. Riyad Mansour
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  1_            O.       I understand that.    To be clearr   1zou

  2        don't know whether t.he Beit Hanina Cultural
  3        Center is accredited by the United Nations;
  4        correct?
  5             A.       I don't know.
  6             O.       And what does it mean for a civil
  7        society organizat.ion to be accredited by the
  8        Unit.ed Nations?
  9             A.       To be invited
l-0                           THE COURT REPORTER: ftm
11-        sorry, I did not hear the ending.
L2                            THE WITNESS: To be
t_3        accredj-ted, to be invited to events.      For
L4         example, if you are an accredit.ed women
15         organization, there are so many conferences and
L6         events related to the rights of women. So then
L7         if you are accredited, 1rou will be invited, you
18        will listen to debates, you can contribute to
19        debates, you can lobby for certain kind of
20         resolutions and you are allowed to vote on
21,       these things, ds an example.
22                            MR. WICK: Let me put up Tab
23         L6, please.    f am going to ask that this
24        document be marked as next in order, f believe
25        Exhibit 5.

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 1        Nations, You will see big signs on the wall of
 2        the United Nations for the public to see how
 3        plastic is bad and el-iminate plastic from use'
 4              O.      So if you speak to an orgar'lzation
 5         at a non-public event about the use of
 6         plast,ics, you would consider that part of your
 7         orgarrLzation I s functional immunity?
 8              A.      If they invite me on my capacity as
 9         Permanent Observer, Ambassador of the State of
10         Pafestine, and in my capacity as a previous
1l_        chair of the Group of 7'7 and China, speak about
I2         plastic and it.s negative effect on our
13         environment, that is within my exclusive domain
l4         in exercising my authority as observership
15         activities as the Observer of the
L6              O.    Letrs go to the next Page, Please'
L7         On the nexL page, there is, about a third of
t_8        the way down, therers an entry dated March 26'
L9         202I, interactions with civil society
20         organization church group on UN topics'
2L                       Do You see that?
22               A.      March 20 what?
23               o.      6.

24               A.      26.   Yes.

25               O.      And where did that event take place?


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     t_           A.      It was virtual   for a church group in
     2      Orlando, Florida.
     3            O.      Were you in your office    at. the
  4         Observer Mission at the time?
  5              A.       yes.
  6              O.       What was the name of t.he church
  7         group?
  I              A.       My wife belongs to t.hat. group.     I
  9         cannot remember now the name, but it's        a group
10          t.hat she belongs to in Orlando, Florida.
11_              O.       What. was the nature of   the group?
I2               A.       They are a group that work for peace
13          and justice in the Middle East.
T4               O.    Okay. And does your wife's church
t_5         have any connection to the United Nations?
L6               A.      No, it doesn't.    But I can, again,
t'7        t.eIl- you t.hat. faith-based organizations, almost
l_8        all churches in the United States and
19         worldwide, have Observers aL the United
20         Nations.     There is a building across the slreet
2L         from the United Nat.ions where t.here are so many
22         representatives from these different         churches,
23         they represent them in the works of the General
24         Assembly, and they are a key player in so many
25         global issues in t.he agenda of the UN.

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 1                    So, therefore, faith-based
 z      orgarrLzations are mainly churches, are very
 3      active and heavily involved in the affairs             of
 4      the Unit.ed Nations.
 5                    And as you may know, the state of
 6      the Vatican, as an Observer state seaL in the
 7      General Assembly, as us, Observer Mission of
 I      the State of Pal-est.ine.
 9            O.      A few lines down the page, there is
10      an entry on April !6, interaction with civil
11      society organization Boston College on UN
I2      t.opics.
13                    Do you see that?
L4            A.      Yes.
l-5           O.      And was that a1so a virtual- event?
15            A.      Actua1ly, that did not take place.
l7            O.      It did not. take place?
18            A.      No.

L9            O.      It was canceled?
20            A.      This is the wrong thing on my
21,     agenda. I should have picked up that.            But
22      there was another college, it should be on the
23      agenda, I t.hink Sout.h        South something
24      Bridgewater.        So that this is     my secretary
25      made a mistake.        It just said Boston CoIIege.

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 1_     that and I want to put t.hat on the record,
 2     which is the very cover page of the calendar
 3      says that it is subject to claims of functional
 4      immunity and jurisdictional         immunity.   We put

 5      it in the public calendar because it's          list.ed
 6      as a public event in the UN's public calendar.
 7                              MR. WICK: Thank you,
 8     Mr. Berger.
 9      BY MR. W]CK:
10               O.      Let' s go t.o t.he next page. There is
11      an entry, noL quite halfway down, OcLober 22,
1,2     2020, titled       Zoom meeting with ADC. Do you see
13      that ?
l4               A.      Yes.
15               O.      And do you know what that entry is
1,6     for?
1,7              A.      Yes.
18               O.      What was that. event?
1,9              A.      It was an event with ADC, which is
20      an accredited organization t.o t.he United
21     Nations, the Anti-Discrimination          Committee,
22      about.r 1rou know, our work at the UN and
23      discussions with those who part.icipated from
24      their side on this event.          They invited me in
25     my official        capacity as the Ambassador of the

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                                Dr. Riyad Mansour
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 1      St.ate of Palestine, Permanent Observer to the
 2      State of Palestine to the United Nations.
 3           O.   We are going to show You a video

 4      t.hat we will have marked as Exhibit 7 , please.
 5                       (Deposition Exhibit No. 7 was
 6      marked for identification.        )


 7                           (Video playing. )
 8      BY MR. WICK:
 9            O.      Dr. Mansour, do you recogr.rLze that
t_0     as a video of the ADC meeting described in your
1t-     OcLober 22, 2020 calendar entrY?
1,2           A.      Yes.
13            O.      And where were you when you appeared
L4      ^!
        d-L




15            A.      Tn this of f ice.
T6            O.      At your office at the Observer
L7      Mission?
18            A.      Yes.

L9            O.      We can go back to the calendar.

20      What was the purpose of your appearance at the
2L      ADC event, Dr. Mansour?

22           A.    IL's, You know, talking about what
23      we do at the United Nations, and whatever
24      questions that they have related to our work,
25      at that time, from the point of view of their

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                                Dr. Riyad Mansour
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  1     audience or those who are participating        in that.
  2     event.
  3          O.       Was one of   those purposes to
 4      advocate for the Palest.inian cause?
  5          A.       f was invited in my capacit.y as the
  6     Ambassador of t.he St.ate of Palestine to the
  7     United Nations, and it is my duty to exercise
  B     my observership capacit.ies at the United
  9     Nations.
l-0                   So it is within that context, I was
1t_     invited,    and within that context, I shared with
I2      them our view and vision.
t_3          O.       I'm going to ask the question again
L4      because I don't think that I got a clear
t_5     answer.
1,6                   Was one of your purposes in speaking
L7      to t.he ADC to advocate for the Palestinian
t_8     cause?
I9           A.    I always advocate t.o the palest.inian
20      cause in my capacit.y as t.he Ambassador of the
2L      State of Palestine to the Unit.ed Nations in
22      carrying out my, and exercising my functions
23      and responsibilities as an Observer of the
24     United Nat.ions.
25           O.       'Just a moment, please. In t.he case

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 1        of the October 22, 2020 meeting, you were
 2        advocating for the Palestinian cause to the
 3        American Arab Anti-Discrimination Committee;
 4         correct?
 5               A.    I was advocating in my capacity and
 6         in my responsibility for those who were under
 '7        t.he other end of the Zoom.
 8              o.      And that. was members of the ADC;
 9         correct?
10              A.    I assume so. I don't know if theY
11         are members or what
T2              O.    There is another entrY on November
l-3        14, 2020, speak at t.he first    convention of Beit
1,4        Sahour?
l_5              A.      Sahour. Beit Sahour
I6               O.      Beit Sahour.
t7               A.      Yes.

18               O.      And what was that event?
1,9              A.      This is another civiL societY
20         organization for Palestinian-Americans- I
2L         believe it's in Michigan. And then they were
22         organrzing themselves, building an
23         orgar-Lzation, and they invited me, in my
24         capacity as the Ambassador of the State of
25         Palestine to the United Nations, Lo say a few

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     1     words of congratulating them on the occasion of
 2         their convention, and I shared with them what
 3         we do at the United Nations.
 4               O.      And we have anot,her video to show
 5         you, which we would like to mark as Exhibit. g.
 6                         (Deposition Exhibit No. 8 was
 7         marked for identif icat.ion. )
 8                       (Video playing. )
 9         BY MR. WICK:
10              O.      Dr. Mansour, do you recognize that
L1         as a video of the speech described on your
L2         November 1-4, 2020 calendar entry?
13              A.      Yes.
L4              O.      And you gave that. speech virtually;
15         correcL ?
I6              A.      That is correct.
I7              O.      And where were you when you gave t.he
18         speech?
L9              A.      In this office here.
20              O.      At the Observer Mission building?
2L              A.      That is correct.
22                             MR. BERGER: May f please ask
23        for clarificat.ion    of t.he record., which is,
24        yourre showing very short clips of maybe eight
25        or ten seconds. When you're asking if he

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 t_        and t.hey want, just to say          they invited   me

 2         in my capacity as the Ambassador of the State
 3         of Palestine for the United Nations, and f
 4          obliged them.
 5               O.        And was one of the reasons that you
 6          accepted the invitation     and spoke to that group
 7          to advocate for the Pal-estinian cause?
 I               A.    Everything that I do in my capacity
 9          for the UN is advocating for the Pal-estinian
l_0         cause.
1_1              O.        There is an entrY on November 1-9,
L2          2O2O tit,led    Seton Hall UniversiLy virtual      talk'
1_3         What, does that    entry signifY?
L4               A.        Yes. What date is that?      November'

L5          Again, f was invited and it was done virt'ua1ly
L6          through Speche, if I am not mistaken, it might
L1          be the political     science department or
L8          something to do with international         1aw, Seton
t9          Hal1 UniversitY.
20                    Again, academia and universities            are

2L          key components of the work of the United
22          Nations.   I talk about Model UN on part' of it
23          and the ot.her part, what they teach, they
24          teach, you know, concrete issues.
25                     I was a teacher and I used to teach

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  1        issues related to the agenda of t.he UN, and
  2        they wanted to know what we do at the United
  3        Nations in trying to find a peaceful solution
  4        t.o this conf lict.
  5                         I obliged them and I spoke on that
  6        subject related to my work at the UN.
  7                O.      AIl right.      We would like    to show
  I        you anot.her video which we will mark Exhibit g,
  9        an excerpt from a video.
10                                 (Deposition Exhibit No. 9 was
11         marked for identification.         )

L2                          (Video playing. )
l_3        BY MR. WTCK:
L4                 O.      Dr. Mansour, do you recognize that.
l-5        excerpt as an excerpL from a video of the talk
t6         described in your November 19, 2O2O calendar
L7         entry?
1-8                A       I do.
I9                 O          a talk given to university
                           Was t.hat
20        students or college sLudents in the United
2L        St.ates ?
22                 A       Yes.
23                 o       And where were you when you gave the
24        tal-k?
25                 A.      fn my office in the Observer Mission

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 1      of the State of Palestine, United Nations-
 2           O.    And was one of the PurPoses of
 3      accept.ing that invitation      and giving that talk
 4      to advocate for the Palestinian cause?
 5           A.    As I said before, when I am invited
 6      in my capacity as the Observer, Ambassador of
 7      the State of Palest.ine for the United NaLions,
 8      I, you know, speak in that capacity on the
 9      advancing the cause of the Palestinians and
10      unit.ed Nations.
l_1            O.       The next entry is November 23, 2020
L2            not the next entry       weIl, it is the next
L3      entry. It states, bureau meeting. Do You see
I4      that entry?
15              A.      Yes.
1,6             o       Do you know what that means?
T7              A       Yes.

t_8             O       What is t.he bureau being referred
1-9     to?
20              A.      It is the Bureau of Committee on the
2L      Exercise of the fnalienable Right,s of the
22      Palestinian People, it is a General Assembly
23      committee.
24              O.      Last item on the Page, December 10,
25       2020, titled,     a1I I want for ChrisLmas is a

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  1        Bridgewater St.ate event?
  z             A.         I don't know if it was on that day.
  3        I remember, for that university,        dates changed
  4        more than one time, and it could be that
  5        function on April 5, not on that date
  6        previously.
  7             O.    Okay. I would like to show you a
  8        video that we would like to have marked as
  9        Exhibit   10.
1_0                               (Deposition Exhibit No. 10 was
1l_        marked for identification.        )


L2                         (Video playing. )
13         BY MR. WICK:
l4              0.         Dr. Mansour, do you recognize that
15         as an excerpt from a video of , or a speech t.o
I6         Bridgewater St,ate University as reflect.ed in
L7        your calendar ent.ry?
18              A.         Yes.
t_9             O.   This is the April 6, 2O2L entry that.
20        we have been discussing, palestinian affairs
2T        and t.he Biden administ.ration?
22              A.         f believe so.
23              O.         And you were speaking t.o U.S.
24        college students in that speech; correct?
25              A.         And professors.

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 l_              O.     And professors. And where were you
 2         when you gave t.he Presentation?
 3               A.     My officeat the Observer Mission of
 4          the State of Palestine, United Nations.
 5               O. And was one of the purposes of that
 6          speech to advocate for the Palestinian cause?
 7               A.    Again, ds I said, You know,
 8          universities are a key component of the
 9          decisionmaking process at the United Nations.
10          And universities also have programs, study
11          issues on the agenda of the UN, including the
1,2         question of Palestine.
l-3                      So when t.heY invite me, theY invite
l4          me in that capacity, and they ask me questions
l-5         as it relates to their education, to their
1,6         students, about how t.he United Nations is with
l1          the Palestine question.
l-8              O. And was one of the purposes of that
I9          speech to advocate for the Palestinian cause to
20          those students and Professors?
21,              A.    Again, ds I said, everYthing that I
22          do in my capacity as Permanent Observer of the
23          State of Palestine to the United Nations is to
24          advocate for justice for the Palestinians on
25          the basis of the UN charter and UN

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  1        resolutions
  2                             THE COURT REPORTER: f'm
  3        sorry, Doctor, you cut out again at the end.
  4                             THE WfTNESS: At the end, I
  5        said that on the basis of international        law and
  6        relevant UN resolut.ions.
  1        BY MR. WICK:
  8             O.       On     the next item I woutd like to
  9        ask about is May, the very bottom, May 6, 202L,
1_0        informal active dialogues with the candidates.
11         And if we scroll to the next page, 1zou wil_l see
L2         an identical entry for May 7, 202L.
13                       Do you see those two entries?
1,4             A.       Yes.
15              O.       What was that event?
I6              A.       You know, another aspect of t.he work
L7         of the United Nations.      Many countries run for
l-8       offices.     For example, every year we have five
L9        counLries running for seats in the Security
20        Council.     So the candidates, they lobby
2L        countries or groups so that t.hey can get their
22        votes and to win a seat in the Securit.y
23        Council.
24                      A1so, we have elect.ions for judges
25        of international      corporate justice.     Count.ries

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 t_                     What do I discuss with their
 2         members, letrs say, who are running for seats
 3          in the Securit.y Council? That we are active in
 4          the agenda of the Security Council. There is
 5          discussions of issues related to us in the
 6          Security Council-, specifically, so Lhen they
 7          have to prove to me that theY will be
 8          objective, guided by the principles of the
 9          charter, UN resofutions, international ]aw,
L0          when these issues are discussed in the Security
11_         Council in order to get my approval and support
t2          for them and their candidature in the
l_3         business of the UN.
L4               O. Did you ask anY questions of the
15          candidates?
T6               A.    Most 1ike1Y, Y€s, but I don't
1,7         recall. It's a general discussion, you know,
18          and these candidates, there are so many of
T9          them, covering so many different issues from
20          the Security Council-, Human Rights Council, so
2t          many other positions.
22                O.    There is an entrY on MaY 19, 202I
23          titled, int.erview with Morning Joe on MSNBC.
24          You were interviewed t,hat day, you were
25          interviewed live on the Morning Joe program;

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  1        correcL ?
  2              A.       That is correct.
  3              O.      As you might. guess, we are going to
  4        show you an interview,      or a video, excuse me,
  5        that we would like to mark as Exhibit l_1. We
  6        will show you an excerpt from the interview.
  7                              (Deposition Exhibit No. 11 was
  I        marked for identification.     )


  9                       (Video playing. )
t-0        BY MR. W]CK:
11               O.      Dr. Mansour, do you recognl-ze t.hat
12         as an excerpt of a         of your int.erview with
13         the Morning Joe program notated on your
1,4        cal-endar for May 19, 2021-?
15              A.       I do.
I6              O.       And where were you when you gave
L7         that interview?
18              A        In my office in the Observer Mission
L9         of the State of Palestine to the United
20        Nations.
2L              O.       Where you are sitting    right   now;
22         correct ?
23              A.       Correct.
24              O.   And you were speaking in that
25        interview to the American public,. correct?

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 t_          A.       I was sPeaking to Joe and the ladY
 2     who is the co-anchor woman and through them, I
 3      guess, to their audience.
 4           O.       And was one of the PurPoses of
 5      giving that interview to advocate for the
 6      Pal-estinian cause?
 7           A.       The purPose of     the main Purpose
 8      of that speech was Lo exert all efforts
 9      possible to have a cease fire, stop the war
l_0     that was waging against the Palestinian people
11      in the occupied territory, particularly in the
L2      Gaza Strip.
t_3                   And that is      was a discussion in
I4      the Security Council at that time and
15      consultation with all members of the Security
L6      Council , al-1 members, including t,he P- 5 , in
L7      order to bring about a cease fire as soon as
l_8     possible. That was the main objective of that
I9      interview, which is, in my capacity as t,he
20      Permanent Observer of the State of Pal-estine to
2L      the UN, is to do everyt.hing possible within the
22      Security Council, wit.hin the united Nations,
23      and the enLire international      community, to
24      bring a quick cease fire and put an end to that
25      t.ragedy t.o save lives.

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                                        Dr. Riyad Mansour
                                         JuIy 08, 202t
  t_               O.       Next, May 22, 202j,, there is an
  2        entry for A1 ,Jazeera interview.           Do you see
  3        that?
  4                A.       May what., 20?
  5                O.       May 22, 2021?
  6                A.       f see it.
  7              O.   Does that entry reflect you were
  I        interviewed by Al Jazeera on that date?
  9                A.       Yes.
t-0             O.      I want to show you a video marked as
1_1        Exhibit 1,2.
1,2                                (Deposition Exhibit No. 12 was
t_3        marked for identification.           )

1,4        BY MR. WICK:
t-5             O.    Do you recognize Exhibit L2 as an
L6         excerpt from a video of your interview with Al
I7         .Jazeera that,'s ref lected in your calendar on
18        NIay 22, 202I?
l_9             A.         That is correct.
20              O.         And where were you when you gave
2t        that. int.erview?
22              A.         My office.      In
23              O.         In the Observer Mission?
24              A.         Observer Mission of t.he St.ate of
25        Palestine to the United Nat.ions.

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1               O.       Where You're sitting    right nowi
2         correct?
 3              A.       Correct.
 4              O. And was one of the PurPoses of
 5        giving that interview to advocate for the
 6        Palestinian cause?
 7              A.   The main purpose of that interview
 8        is to show what was happening in the Security
 9        Council in our effort.s to have a cease fire,
10        immediate cease fire to the battle that was
1l_       waging at that time and to save lives of
I2        civilians, particularly children in which 66 of
l-3       them were killed in the Gaza Strip during that
L4         aggression.
15              O.     Then on MaY 25, 2021, there is an
L6         entry, virtual- farewell meeting with ICC
L7         prosecutor.
l-8                      Do You see that.?
t-9              A.      Yes.

20               O.      What was that event?
21,              A.      We are  it is an evenL to say
22         goodbye to Madam Bensouda, who is the
23         prosecutor of the ICC, she finished and, you
24         know, members of the ICC and we are a state
 25        party member and., in fqct, we sit on the Bureau

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                                       Dr. Riyad Mansour
                                        ,JuIy 08, 2021,

     1      1:40?
     2                            MR. BERGER: Very good.
     3      Thanks.
     4                            THE V]DEOGRAPHER:        We are now
     5      off the record.        The time is   1,641 UTC time.
     6                            (At 12241 p.m., a lunch recess
     7      was taken. )
  8                              THE   VfDEOGRAPHER: We are
  9         back on the record.        The time is 1743 UTC time.
10          BY MR. W]CK
1_1              O.    Good afternoon, Dr. Mansour. I want
L2          to go back to the Observer Mission building.
t_3         You indicated the Observer Mission owns that
L4          building.       To be clear, the Observer Mission
15          has owned that building at. all times since
T6          ,January 4, 2020; is that correct?
1,7                A.       I am sorry, can you repeat the
l-8        quest.ion, please?
I9                 O. Yes. The question is, has the
20         Observer Mission owned t.he Observer Mission
21,        building at all t.imes since ,January 4th of
22         2020?

23                 A.      That is correct.
24                 O.      I'm going to return to Exhibit       2

25         from very early in the deposition.          As I

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                                 Dr. Riyad Mansour
                                  'JuIy 08 ' 2O2l

 l_                      CERT]FICATE
 2

 3                        I, DR. RIYAD MANSOUR, dO
 4      hereby certify   that I have read Lhe foregoing
  5     transcript  and it is a true and correct copy of
  6     my deposition, except for the changes, if dDY,
  7     made by me on the attached Deposition
  I     Correction Sheet'.
  9

10

1_ 1-



I2
13                       Date
'1"4


l_5

L6

L7

18

t9
20

2L

 22

 23

 24

 25


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     1   ERRATA SHEET                    REASON FOR
         PAGE      L]NE             CHANGE/CORRECTTON
     2

     3

  4

  5

  6

  7

  I
  9

10

l_1

1,2


l_3

I4
15

1,6

1,7

l-8

19

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23

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                                  Dr. Riyad Mansour
                                    'July 08, 2021
  1      COMMONWEALTH   OF PENNSYLVAN]A
                                                      ss
  a
         COIINTY OF ALLEGHENY

  3                           CERTIFICATE

  4            I, Karen A. Nickel-, a noLary public in and
         for the Commonwealth of Pennsylvania, do hereby
  5      certify that the witness, DR. RIYAD MANSOUR,
         was by me first duly sworn to testify t.he
  6      truth, t.he whole truth, and nothing but the
         truth; that the foregoing deposition was taken
  7      at the time and place stated herein; and that
         the said deposition was recorded
  I      stenographically by me and then reduced to
         typewriting under my direction, and constitutes
  9      a true record of the testimony given by said
         witness.
10
               I further certify that I am not a
1_ 1_    relative, employee or attorney of any of the
         parties, or a relative or employee of either
L2       counsel, and that I am in no way interested
         directly or indirectly in this action.
13
              IN WITNESS WHEREOF, I have hereunto set my
1,4      hand and affixed my seal of office this !2Lh
         day of July 2021.
15

1,6
                         Karen A. Nickel, Notary Publ l_c
L7                       Registered Professional Reporter
                         Certified Realtime Reporter
1-8


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                    Exhibit 2
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       Nadia Ghannam ConfidenLial Pursuant to Protective Order
                           ,JuIy 23, 202L

      UN]TED STATES DISTR]CT COURT

       SOUTHERN DISTRICT OF NEW YORK


    SHABTAI SCOTT SIIATSKY,         Case No. l-8-Civ . L2355
    individually and as
    personal representative         CONFTDENTIAL
    of the Estate of Keren          VIRTUAL VIDEOTAPED
    Shatsky, J ANNE                 DEPOSITION OF NADIA
    SHATSKY, individually           GTANNAM
    and as personal
    representative of the
    Estate of Keren
    Shatsky, TZIPPORA
    SIIATSKY SCHWARZ, YOSEPH
    SHATSKY, SARA SHATSKY
    TZIMMERMAN, MIRfAM
    SIIATSKY, DAVID RAPHAEL
    SHATSKY, GINETTE LANDO
    THALER, individually
     and as personal
     representative of the
     Estate of Rachel
     ThaLer, LEOR THALER,
     ZVI THALER, ISAAC
     TIIALER, HILLEL
     TRATTNER, RONIT
     TRATTNER, ARON S.
     TRATTNER, SHELLEY
     TRATTNER, EFRAT
     TRATTNER, IIADASSA
     DINER, YAEL HILLMAN,
     STEVEN BRAUN, CHANA
     FRIEDMAN, fLAN
     FR]EDMAN, MIRIAM
     FRIEDMAN, YEHIEL
     FRIEDMAN, ZVI FRIEDMAN,
     aNd BELLA FRIEDMAN,

             PLaintiffs,

             against




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                                  ,fu1y 23, 2021-

  l-                                     )
          THE PALESTINE                  )
  2       LIBERAT]ON ORGAI{I ZATION      )
          ANd THE PALESTINIAN            )
  3       AUTHORITY (a/k/a "The          )
           Palestinian Interim           )
  4        SeIf-Government               )
          Authority" and/or "The         )
  5       Palestinian Nat.ional          )
          Authority"),                   )
  6                                      )
                                         )
  7               Defendants             )

  8

  9

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t2
13

L4

15

L6

t7
l_8

t9
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                                      JULY 23, 2021-

 l-                        V]RTUAL VIDEOTAPED DEPOSITION OF NADIA

 2          GIIANNAM, witness herein,      cal1ed by the
 3           Plaintiffs,  for examination, taken pursuant to
 4           the Federal- Rules of Civil Procedure, by and
 5           before Karen A. Nickel, a Certified Realtime
 6           Reporter and a notary public in and for the
 7           Commonwealth of      Pennsylvania, held remotely
 I           with all parties appearing from their
 9           respective locations, oo Friday, Jul-y 23' 202L,
10           at 9:30 a.m.
1-1          COUNSEL PRESENT:

12
             For the Plaintiffs:
l_3          Ronald F. Wick, Esq. (AdmitLed Pro Hac Vice)
             Cohen & Gresser, LLP
1,4          2001 PennsYlvania Avenue, NW
             Suite 300
15           Washington, DC 20006
t6           Stephen M. Sinaiko, Esq.
             Cohen & Gresser, LLP
'J,7         800 Third Avenue
             New York, NY :-.0022
1_8
             For the Defendants:
1,9          Mitchell R. Berger, Esq
             Joseph Alonzo, EsQ.
20           Salim Kaddoura, Esq.
             Squire Patton Boggs
2L           2550 M Street NW
             Washington, DC 20037
22
             Also Present: Cosette Vincent
23                         Eszter Vincze
24

25


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     4
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 1                           PROCEEDINGS
 2                             THE VIDEOGRAPHER: Good

 3         morning, everyone. We are now on the record'
 4         Participants should be aware that this
 5         proceeding is being recorded and, as such, all
 6         conversations held will be recorded unfess
 7         there is a request and agreement to go off the
 8          record.
 9                     This is the remote video-recorded
t_0         deposition of Nadia Ghannam. Today is Friday,
t_1         July 23, 2021-. The time is now 13:31 UTC time'
1,2                    We are here in the matter of ShatskY

l_3         versus PLO. My name is Corey Wainaina, remote
L4          video technician on behalf of US Legal Support
l_5         located at 90 Broad Street, New York, New York'
1,6         I am not related. to any party in this action,
1,7         nor am I financially interested in the outcome'
1_8                     At this time, will the reporter,
T9          Karen Nicke1, oD behalf of US Legal Support,
20          please enLer the statement for remote
2t          proceedings int.o the record    -



22                             THE REPORTER: The attorneYs

23          parLicipating in this deposition acknowledge
24          that T am not physically present in the
25          deposition room and that I will be reporting

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  1         t.his deposition remotely.
  2                         They further acknowledge that, in
  3         lieu of an oath administered in person, the
  4         witness will verbally declare her test.imony in
  5         t.his mat.ter is under penalty of perjury.
  6                         The parties and their counsel
  1         consent to t.his arrangement and waive any
  8         objections t.o this manner of report.ing. please
  9         indicat.e your agreement by stating your name
t_0         and your agreement on the record.
1l_                              MR. SfNAIKO: My name is Steve
L2          Sinaiko.       ftm with Cohen & Gresser, LLp, in New
l_3         York City.       I'm here on behalf of the
I4          Plaint.iffs     today, and on behalf of the
15          Pl-aintif f s, I agree .
16                               MR. BERGER: This is Mitchell
1,7         Berger from Squire patton Boggs, Washington,
18          D.C., on behalf of the Defendants, and we
1,9         agree.
20                        NADIA GIIANNAM, a wit.ness herein,
2I         having been first       duly sworn, was examined and
zz         testified       as follows:
23                                 EXAM]NATION

24         BY MR. S]NATKO:
25               O.         Before we get started, I think there

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 l-      is a litt1e    bit of difficulty     hearing
 2       Ms. Ghannam when she speaks. There is a litt.le
 3       bit of a delay, I think.
 4            A.       Can you hear me now?
 5            O.       Bett.er.    Sti]l,   the video and the
 6       audio aren't synced. I guess that's not such a
 '7      big deal.     Do you want to try one more time?
 8            A.       Can you hear me now?
 9            O.       IL's okay. AlI right.
10                          MR. SINAIKO: Before we get
1L       started, I have one housekeeping matter that. I
L2       wou1d like to just take up with lvtr. Berger.
1_3                    Mr. Berger, I take you and Ms.
L4       Ghannam are in    your office in Washington, D.C.
l_5      nowi is that correct?
t6                          MR. BERGER: That is correct.
1,1                         MR. SINAIKO: Okay. And you
t-8      undersLand that our court reporter for today,
19       Ms. Nickel, is in Pitt.sburgh, Pennsylvania;
20       correct?
2T                           MR.   BERGER: I do.     I didn't
22       realize I would get to be examined           This is
23       wonderful
24                           MR. SINAIKO:      I'm just    Irm
25       just. confirming that. we all understand what the

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  1         facts are.     frm not trying Lo examine          I
  2         mean, yeah, I guess maybe I am a Iit.tle         bit.
  3         That's fine.    It's   what I do.
  4                      So I just wanL to ask that the
  5         Defendant.s confirm, pursuant to Rule 30(b) (4)
  6         of the Federal Ru1es of Civil Procedure, that
  7         today's deposition can be taken by video
  8         conference as we are proceeding.
  9                           MR. BERGER: On behalf of
10          Defendants, we so agree.
1_ t_                         MR. STNAIKO: And pursuant to
72          RuIe 29 of t.he Federal Rules of Civil
13          Procedure, do t.he parties also stipulate that,
L4          alt.hough Ms. Ghannam and you are in Washington,
15          D.C. and Ms. Nicke1 is locat.ed in Pennsylvania,
I5          obviously not the same state, that Ms. Nicket
L7          is an appropriate officer     before whom t.his
t-B         deposition can be taken?
L9                            MR. BERGER: Yeah, on behalf
20          of Defendants, w€ so agree.
2L                            MR. SINAIKO: Great.       So

22          everybody has so stipulated and we can get
23          started.
24          BY MR. S]NAIKO:
25               O.      Good morning, Ms. Ghannam.


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 t_              A.        Good morning.
 2                O.       Thank you for being here today.       As

 3          I said a moment d9o, my name is Steve Sinaiko.
 4          I am with the law firm of Cohen & Gresser, LLP,
 5          in New York City, and I rePresenL the
 6          Plaintiffs     in this lawsuit.
 7                         Have you ever had your dePosition
 I          taken before?
 9                A.       No.

t_0               O.       Okay. So what I would like to do at
t-1         the out.set is just go over a couple of basic
T2          ground rules so that everybody is on the same
13          page about how things are going to unfold
L4          today.      Would that be all     right?
l_5               A.       Yes.
L6                O.       Okay. You remember that a moment
I7          ago you took an oaLh to t.ell the truth?
18                A.       Yes.
L9                O.       And I'm going to be asking You a
20          series of questions today.          Obviously, you have
21,         taken an oath so your answers to those
22          questions are under penalty of perjuryi do you
23          understand?
24                A.       Yes.
25                a.       Okay. And there is a court reporter

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  1          here, Ms. Nickel.       She is going to be
 2           transcribing everything that we say t.oday.            So

 3           to make sure that the record is accurate, and
 4           especially since the depoeition io taking place
 5           remotely by video conference in light of the
 6           COVfD-19 pandemic, it       is important that. you and
 7           I not speak over each ot.her and that. only one
 8           person speak at a time.        So I would ask t.hat
  9          you wait until       I finish my questions before you
10           start answering them and, for my part, I will
1t_          try to wait until you finish your answers
L2           before T put another quest.ion.
13                         Is that. okay?
L4                 A.      Yes.
15                 O.      Okay. Another important point here
L6           is it's    necessary for you to respond to my
1,7          quest.ions verbally rather t.han with nods of the
t_8          head or gestures or otherwise because only
t_9          verbal responses can be t.ranscribed.
20                         Is that all right?
21,               A.       Yes.
22                 O.      Okay. And if you don't understand
23           one of the questions that I ask you, let          me

24           know, and f wil-l try to rephrase or clarify.
25           But. underst.and that t.he Court is going to


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 1       assume and the lawyers in the room are going to
 2       assume that you have heard and understood every
 3       question that. I ask you today to which you
 4       respond.
 5                    Do you understand?
 6            A.      Yes.
 1            O.    Okay. There may come moments during
 8       the proceeding today when your lawyer,
 9       Mr. Berger, objects Lo one of my questions, but
t-0      unfess Mr. Berger instructs you not to answer a
1l-      questionr |ou should go ahead and answer the
t2       question notwithstanding any objections.
t_3                   Do you understand?
I4             A.     Yes.
15             O.    Okay. I may take Periodic breaks
I6       during the deposit.ion, and if you need a break,
l7       l-et me know and I will do my best to
18       accommodate. But I would ask that, if a
I9       question is pending, that you answer the
20       question before we take a break.
2t                    And r understand, Mr. Berger, You
22       know, that questions are privileged, you know,
23       we can      you can go off the record if there is
24       a question of privilege that. you want to
25       discuss with lvts. Ghannam. But apart from that,

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  t_         to the Palestinian Authority and the Palestine
  2          Liberation Organization.
  3                        Do you understand?
 4                 i\.     Yes .

  5                O.      Okay. And I will,    from time to
  6          time, refer to t.he Palest.inian Aut.hority as t.he
  7          PA, so if f refer to the PA, that means the
  8          Palestinian Authority; is that all right?
  9                A.      Yes.
10                 O.      I will also be referring to the
11           Palestine Liberation Organization from time to
L2           time as PLO. So if you hear a quest.ion that
13           has PLO, will you undersLand that that's      a

1,4          reference t.o the Pal-estine Liberation
15           Organization?
L6                 A.      Yes.
17                 O.      Okay. And at t.imes in questions I
18          will refer to t.he Observer Mission, and by that
t-9          I mean the Permanent Observer Mission of the
20           State o.[ P4lest-ine to the Unit.ed Nations, which
2t           is a little    bit of a mouthful, but will you
22          understand that?
23                 A.      Yes.
24                                 MR. SINAIKO: Okay. Cosette,
25          can we put up tab No. 1_, please?

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 l_                           (Deposition Exhibit Uo. 1 was
 2       marked for identification.     )


 3       BY MR. S]NA]KO:
 4            O.       Ms. Ghannam, are you able to see Tab
 5       No. I on the screen in front of you?
 6            A.       No.

 7                            MR. SINAIKO:      Okay. Can we
 I       arrange for Ms. Ghannam to see the document
 9       that's on Lhe screen?
1_0                           MR. BERGER: I hAVC iI        ON MY

1t_      laptop.     Let me show it to her.
L2                            MR. SINAIKO: That would be
l_3      great.
L4                            MR. BERGER: This is the
15       Notice of Deposition.
L6                            THE WITNESS: Okay.

L7       BY MR. S]NAIKO:
t_8            O.      Are you able to see the document
L9       that Cosette just. put uP?
20             A.      Yes.
21,                           MR. SINAIKO: Okay. Karen,
22       can we mark that as Deposition Exhibit. No. l-?
23                            THE COURT REPORTER: Yes.

24       BY MR. S]NAIKO:
25             O.      And have you seen this document


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  1          before today?
  2                A.     YeS.

  3                O.     And what do you understand this
 4           document to bc?
  5                A.     That I would be making a deposition
  6          today.
 7                 O.     Right.   I will   just represent to you
 I           that this is the Notice of Deposit.ion that t.he
 9           Plaintiffs   issued t.o the Defendants in this
t_0          case and ask you whether it's     your
1t_          understanding that youtre here testifying      today
I2           pursuanL to this notice?
13                A.      Yes.
L4                 O.  AlI right. And let me ask you
15           further whet.her you did anyt.hing in advance of
1,6          today to prepare for your deposition today.
L7                A.      I just met with my at.torney.
l-8                O.     Okay. And did you do anything other
L9           than meet.ing with your at.torney?
20                A.      No.
27                O.     Did you look at any documents in
22          ant.icipat.ion of your testimony here today?
23                A.      Yes.
24                O.      And when did you      welI, let' me ask
25          you       withdrawn.

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 t_                     Let me ask You what documents You
 2           Iooked at in anticipation of your t'estimony
 3          here today.
 4                A.    This Particular notice and a few
 5           documents that were presented to me by my
 6           attorney.  I don't recall- what they are exacLly
 7           called, but paperwork that was given to me by
 8           my attorney.
 9                O.      Okay. Maybe you could describe to
10           fll€, even if you don't know what they are
11_          caIled, describe to me the nature of the
L2           documents that your attorney showed to you?
t_3                             MR. BERGER: Irm going to

L4           object and instrucL the witness not Lo answer
15           the question on the grounds of attorney-client
L6           privilege the way you have it.        Your first
L1           question about. if she recalls any documents
t_8          that she reviewed is fine with me.
L9                              MR. SINAIKO: And she canrt
20           describe the documents to me?
2t                              MR. BERGER: Can You describe
22           to him what documents, if dfrY, you reviewed to
23           prepare for your deposition beyond what you
24           have already given him?
25                               THE WITNESS: There was a


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     1      paper with the names of the employees at the
  2         Mission at the United Nations, and. something
  3         that f signed regarding my place of employment.
  4         What f recall.
  5         BY MR. SINAIKO:
  6               O.   Did you look at any transcripts            of
  1         ot.her depositions in this case?
  I                A.    Oh, y€s, I did.
  9                O.    And which transcripts      did you look
l_0         at?
11                 A.    I 1ooked partially     at Ambassador
1,2         Mansour's transcript    prior to my fatl,     and t.hat
13          was the end of that.      And I lit.eralIy   looked at
L4          only a few pages of it.
15               O.    And t.hose are documents that your
16          lawyers showed you?
1,7                           MR. BERGER: Object to the
l-8        form of the quest.ion. Cal1s for
19         att.orney-client information. Instruct the
20         witness not to answer.
21,                           MR. SINAIKO: On what basis?
22         Where she got t.he documents is not           that,s    a
23         fact.    That's noL privileged.      If f ask her
24         what documents you showed her, t.hat's not a
25         privileged quesLion. She can answer that.

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 t-                             MR. BERGER: It    is.
 2                               MR. SINAIKO: I donrt
 3           understand, Mitch.      Why are you doing this?

 4           This is obstructing.
 5                               MR. BERGER: It is not

 6           obstructing.      IL's preserving attorney-client
 7           privilege.   If you want to agree Lhat her
 8           answer Lo t.hat. question won't be argued as a
 9           waiver of attorney-client      privilege,    III-1 let
10           her answer.
11_                              MR. SINAIKO: Fine.      We're not
L2           going to argue that it's      a waiver of
t_3          atLorney-client privilege,      but it's    not
1"4          privileged at all-.     That's our view.      But f ine,
15           we won't argue that it's      a waiver.
16                               MR. BERGER: You can answer.
1,7                              MR. SINAIKO: Wait.       Letrs get
l_8          the question back so that the witness has it '
I9           Can you read it     back, Karen?
20                                (Reporter read back Previous
2T           quest.ion. )
22                               THE WITNESS: Yes.

23           BY MR. SINAIKO:
24                 a.       Okay. Apart from these documents
25           you signed related to your employment and the

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  t_        paper with the names of employees and the
  2         transcript of Dr. Mansourrs deposition, did you
  3         look at any other documenLs in ant.icipation of
  4         your testimony here today?
  5              A.      .fust my calendar.
  6              0.    Okay. Anyt.hing other t.han the
  7         calendar, plus the other t.hree documents I just.
  I         mentioned?
  9              A.      No.
10               O.      Okay. And you mentioned a momenL
1-1         ago that, in addition to looking at t.hese
L2          documents, you met with your lawyer.         Who did
13          you meet with exactly?
l4               A.      Mirch.
15               O.      Mr. Berger?
L6               A.      Mr. Bergerr 1r€s.
L7               O.      Anyone other than Mr. Berger?
18               A.      No.
1,9              O.      Okay. And on how many occasions did
20         you meet with Mr. Berger?
2L               A.      We met twice.   Twice, f believe.
22               O.      And when was the first      time you met
23         with Mr. Berger in ant.icipation of your
24         deposition here t.oday?
25               A.      I don't remember the date.       I donrl

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 1         know.

 2                 O.      I mean ballPark, can You saY how
 3         long ago it was, roughlY?
 4                 A.      Two daYs      maYbe a week ago.

 5                 O.      Okay. And when was the second time?
 6                 A.      This is FridaY         MondaY-

 7                 O.      MondaY of   this    week?

 B                 A.       Yeah.

 9                 O.       Okey-doke. And the first        meeting,

t_0         the one that happened earl-ier in time, what was
1_1         the duration of t.hat meeting?
l2               A.     I can give you an approximate, maybe
t_3         two to three hours.
L4                 O.       And the meeting on Monday, what was
t5          the duration of that one?
L6                 A.       MaYbe two hours.

L7                 O.       OkaY.

t-8                A.       Along those lines.
19                 O.       And just for claritY,       the onlY
20          person in at.tendance at those meetings was
2L          Mr. Berger, just Mr. Berger and you; correct?
22                 A.       Yes.

23                 0.       And in anticiPation of Your
24          deposition today           let    me withdraw that.

25                          In advance of your deposition today,

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  t_        apart. f rom counsel, did you speak t.o anybody
  2         about your deposition?
  3              A.        ,Just. my husband.
  4              0.    Did you speak with any of your
  5         colleagues at the Observer Mission relating to
  6         your deposition in advance of today?
  7              A.        No. I spoke to no one else.
  8              O.    So you didn't. talk to Dr. Mansour
  9         about your deposition in advance of today?
10               A.        I haven'L heard from Dr. Mansour in
1l_         quite a while.      No.
t2               O.        And you didn't    speak with Ambassador
13          Abdelhady-Nasser in advance of today about your
l4          deposit.ion?
15               A.        We just    texted each other.     I text,ed
I6          her yesterday morning saying good 1uck.            And
L7          then she did the same last night.            And I did
18          text her late at night last night t.elling her
t_9         about the fall and t.hat f was really worried
20          t.hat I broke my ankle, and it was reaI1y more
2L          along the lines of should I go to the hospital.
22                         She just told me, you know, these
23         people are thoughtful,         if you feel like you
24         have to reschedule, reschedule. And t.hen it.
25         was the agreement that. I would move forward


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 1         because I wanted      I don't wanL to delay this
 2          anymore. That. was the extent of it, and she
 3          just wished me luck.
 4               O.    OkaY. And apart from these
 5          communications you just described for me, have
 6          you communicated with anybody else?
 1               A.       ,Just mY husband.
 8               O.   Concerning Your dePosition.             Just
 9          your husband. OkaY.
l-0              A.   Yeah.

11                o.       Okay. Did You bring any documents
T2          with you today to your dePosition?
13                A.       No.

I4                O.       Okay.

15                A.       No.

L6               O. And in advance of today, have You
L7          ever testified at a t.rial?
18               A.     No.

t9               O.     Have you ever testified at any sort
20          of proceeding, like an arbitration?
2L                A        No.

22                o        Okay. Are You a citizen of t,he
23          Unit.ed States. Ms. Ghannam?
24                A        Yes.

25                a        Are you a natural- born citizen of

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     1      t.he United States?
     2             A.    Irm sorry, am f what?
     3             O.    A natural born citizen of the Unit.ed
     4      States.
     5             A.    Yes. I was born in the St.ates.
     6             O.    And where do you curently           reside?
     7             A.    I live in Riverdale, New york.           f L's
  8         a community in the Bronx.
  9                O.    Excellent.      And have you resided at
10          the same place in Riverdale at. all_ times on and
t_1         af ter ,.Tanuary 4, 2020?
72                 A.    I don't        well, it's      kind of
1_3         complicated how you describe the word
L4          "resided. " f had to leave New york in March
l-5         because of COVID. As f mentioned, my husband
L6          is working in a COVID cl_inic, and Lhe fact that.
1,7         f have MS made us both worried that I would get
l-8         the virus and it would put me in a very
19          dangerous situat.ion.
20                       So I t.ook my two sma1l children and
2L          left   New York and came to Washington.
22                 O.    OkaY.
23                 A.    And f stayed quit.e a whil_e.
24                 O.    Okay. So you are currently residing
25         in Washingt,on, D. C. ?

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  1_               A.       Wel-I, again, I don't know what your
  2           definition    of "residing. "   I do go back and
  3           forth to New York.
  4                          I mean, mY belongings, frY mail,
  5           everything goes to New York, but I am here,
  6           again, for the safety    for safety of me and
  7           my children for now. But I do plan to go back
  8           to New York permanently in September.
  9                O.    Understood. So there is a place in
10            New York where you have been staying, You know,

l- l-         for stretches of time since the COVID pandemic
t2            took hold?
t_3                 A.       Correct.   MY home-

L4                  O.       Okay. So apart from the Place in
t5            Washington where you have been staying from
T6            time to time during the COVID pandemic and your
I7            home in Riverdale, have there been any other
t_8           places where you have spenL time, You know, on
t9            and after ,JanuarY 4 of 2020?
20                  A.       No.

2I                                 MR. SINAIKO: OkaY. WhY don't
22            we take down Exhibit !, Cosette, and put up Tab
23            No. 2.
24                                 (Deposition Exhibit No. 2 was
 25           marked for identification-      )




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  1         BY MR. STNATKO:
  2               O.     Ms. Ghannam, can you see the
  3         document t.hat. we have put. up on the screen?
  4               A.     Yes.
  5                             MR. SINAIKO: Okay. And
  6         Karen, can you mark this as Deposition Exhibit
  7         No. 2, please.
  8                             THE COURT REPORTER: Yes.
  9         BY MR. SINAIKO:
1_0               O.     Ms. Ghannam, you have seen this
l_1         document before,. correcL?
L2                A.     When I    first     opened the account
1_3         years dgo, yes.
t4                O.     Okay. And what. do you recognize
t_5         this document to be?
15                A.     This was my first. Linkedfn account.
t7                O.     I got it.         And let me ask, you know,
1_8         1et me ask, or let me give you just a    one
19          ot.her sort of point about ground ru1es. f rm
20          going to be showing you documents, and because
2L         we are doing t.he deposition remotely,
22          typically,   we will     show you the documents on a
23          screen like this, but if you ever wanL to see
24         ot.her part.s of a document or you want the pages
25         turned so that you can look at. different             parts,

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 l_         just let us know and Cosette, who is helping us
 2          here, she'11 do     you know, she'11 turn the
 3          pages in what.ever way you want    I mean, just
 4          because I want to be sure that you have the
 5           opportunity to look at. the documents that we
 6           put in front of you during the deposition in
 7           any way thaL You feel You need to.
 8                          Is that okaY?
 9                A.       Yes.

1_0                                 MR. BERGER: And I'm sure
1_1          you'1I call her att.ention to any specific part
L2           that you wanL her to look at.
t_3                                 MR. SINAIKO: Of course.           f
t4           mean, I just don'L want her to feel that she is
15           unabl-e to look at any parts of these documents
L6           she wants to.        You know, she should just ask
r'7          and that's     fine.
18           BY MR. SINAIKO:
1,9                O.   Okey-doke. So you said a moment ago
20           that you recognized this to be your Linkedln
2t           profile?
22                 A.       My first    Linkedln profile.         There

23           shoul-d be probably two virtually              somewhere'

24                 O.       So there are other              there are
25           ot.her Linkedln Profiles        for You?

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     1_           A.       There is another one, yes.
  2                               MR. SINAIKO: Okay. CoseLte,
  3         can we turn t.o the second page of this
  4         document? Okay.
  5         BY MR. S]NAIKO:
  6               O   .    Do you see, on t.he page, on page 2
  7         of your first. Linkedln profile,           that there is a
  I         section thaLrs cal_l_ed educat.ion?
  9              A.        Yes.
t_0               O.       Okay. And you see the first          entry
11_         there is George Mason University?
L2               A.        Yes.
13              O.     And do you see that it. says,
T4          Bachelor of Arts underneath that, Bachelor of
1_5         Art.s, BA, International           St.udies and History?
t_6              A.        Yes.
L7               O.    Did you, in fact, receive a Bachelor
18          of Arts in International Studies and History
L9          from George Mason University?
20               A.       Yes.
21,              0.       And when did you receive that.
22         degree?
23               A.       f was Class of 199.
24               O.       Cl-ass of   , 99 .    And 1etrs 1ook at the
25         next' entry below. you see it says, the ,Johns

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 1       Hopkins Universit.y?
 2             A.       Yes.

 3             a.       And underneath that,      it says, Master
 4       of Arts, MA, Public and Media Relations and
 5       Political     Communications?
 6             A.       That is correcL.
 7             0.       And is it,    in fact, the case, that
 I       you received an MA in Public and Media
 9       Relations and Political- CommunicaLions from the
t-0      .Tohns Hopkins UniversitY?
11             A.       That. is correct.
L2             O.       When did you receive that degree?

13             A.       f don't remember what Year it       was

L4       in.   That was a lit.tle       complicated.
15             O.       Okay.

t_5            A.       I took some time off during that.
L'7      My brother was sick with cancer.             So I ended up
18       doing that program part-time, but I don't
L9       remember what year I act,ually physically
20       graduated in.
2L             O.       Underst.ood. But at some Point
22       subsequent to I999r 1rou received the degree
23       from .Tohns Hopkins?
24             A.       Oh, yes.
25             O.       Okay. And apart. from t.he degree you

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  I      received from George Mason University and t.he
  2      degree you received from ,Johns Hopkins
  3      University, do you hold any other academic
 4       degrees ?
  5                A.       No.

  6                O.       Do you hold any professional
  7      certi f ications ?
  8                A.       When I worked in    banking, I used to
  9      get al1 sorts of certifications             in banking and
10       finance, but I don't recall.             That was so long
1-1      490.
T2                 o.       Okay.
13                 A.       But I remember f used Lo go down
1,4      south and take a lot of courses.
1-5                O        Do you hold any professional
16       licenses as you sit here today?
T7                 A        No.
t-8                O.       Okay. To your knowledge, have you
L9       ever hel-d a professional license?
20              A.          No.
2I           O.     A11 right.. Looking up above the
22       education section on Page 2 of this document,
23      we have marked as our second Deposition
24       Exhibit, and I know it's            your older or your
25       initial         Linkedln profile,    f see there are two

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 t_          references, one to First Virginia Bank and one
 2           To BB&T?
 3                A.       Uh-huh, yes.
 4                O. And looking at those entries, can
 5           you telI ffie, you know, were those the first two
 6           jobs you had aft.er college?
 7                A.     After college, Yes.
 I                O.     Okay. So it's accurate, then, that
 9           aft.er you graduated from George Mason
t_0          University, you were in banking from 1999
11           through 2001?
L2                A.       Yes.
13                O.     Okay. And above t.hat, ofl Page 2 of
L4           this Linkedln profile, You see there is an
15           ent.ry that says, television host?
I6                 A.    Yes.
I7                 O.    Can you tell us what that. refers to?
18                 A.    I was a co-host on a TV show on ART
1-9          network.
20                O.       And what is ART network?
2L                A.       Arab Radio & Television.
22               O. And you did that f rom ,June of 2OO4
23           to April of 2007,' correct?
24               A.     That's what's wriLten, Yes.
25               O.     By the w?1r, this Linkedln Profile

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  l-        that wetre looking at, t.his is something that
  2         you wrote; correct?
  3                 A.       Yes.
 4                  O.       And when you wrot.e lt,   you irrtended
  5         for it to be accurate; correct?
  6                 A.       Yes.
  7                 O.       Okay. I notice there is a gap on
  8         the          t.here is a gap in the Linkedln profile
  9         between April of 2007 and ,June of , it        looks
1_0         like ,June of 2008 up above in the entry for
11_         Palest.inian Diplomatic Missions t.o the United
I2          Nat.ions; do you see t.hat?
t_3                 A.       Yes.
L4                  O.       And what did you do during that
15          time?
1,6                                 MR. BERGER: It doesn't say
L1          United Nations.
18                                  THE W]TNESS: NoT UniLed
1_9         Nat.ions.
20          BY MR. SINAIKO:
2I               O.    f rm so sorry. I apologize. I
22          misread that. It says, PalesLinian Diplomatic
23          Mission to the United St.ates.
24                  A.      Yes. So I took a sabbatical from
25         work because my littte         brother was diagnosed

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 t-         with leukemia. And as a child of immigrant
 2          parents, their English was very limited, so I
 3           would take my brother for treatment to 'Johns
 4           Hopkins University and essentially took care of
 5           my brother.     I didn'L work.
 6                O.    I understand. So Your next job'
 7           after being a television host at ART' was
 8           working as director of public relaLions and
 9           outreach at the Pal-estinian Diplomatic Mission
1_0          to the United States?
11.               A.       Yes.

L2                O.     OkaY. And how long did You hold
1_3          that position?
14                A.     f don't remember when I left. Maybe

15              I got married in 2015. I believe I left in
L6           201-6, so you can do the math. I|m not sure'
L7                      frm a very visual Person. That's
L8           just the way I work and function. So with
T9           numbers, iL's hard for me. I have to, Iike,
20           see them in front, of me.
2L                      But I just know I got married in
22            2015 and then I got pregnant in 201-6. I had my
23           son in the Washington area, and then I moved
24           down to New York.
25                         So I left      I believe it   was


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     1      October 201,6.
  2                O.    And what. did you do after that?
  3                A.    No, no . Wait a second .   I
                                                     I L,l .

  4         was born in 2UL'/. Excuse me. Thatrs what I
  5         mean, how you have to see t.hings.
  6                      I terminated my position.      I quit at
  7         the Mission in Washingt.on. And I applied for
  I         new employment at. the Diplomatic Mission to the
  9         United Nations.
l_0                O.    Okay. And do you reca1l when you
11          st.art.ed at t.he Diplomat.ic Mission to t.he United
I2          Nat.ions?
13                 A.    I do, odd1y. It's    one date I
74          remember. f believe my first      day was November
1-5         16      it. was a Monday -- because I hate New
t-5         York. And it was 2000 and         say 2017.
I7                 O.    So in November of 2OL7 r lou began
18          work at the Palestine       at the Observer
t9         Mission?
20                 A.   Yes. f became        I started a new
21,         job at. tire UN Observer Mlssion, correct.
22                 O.   Okay. And did you have the same
23         title   when you moved t.o the Observer Mission
24         that. you previously had at the palestinian
25         Diplomatic Mission to t.he United States?

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 1               0.   Okay. And so do You, tYPicallY'
 2         record the names of the participants of
 3         meetings in your planner when you regard that
 4         information as imPortant?
 5              A.    If Ambassador Mansour is speaking,
 6         y€s, I do.
 7               O.       What. about Ambassador

 8          Abdelhady-Nasser?
 9               A.       Yes.

t_0              O.       What about other PeoPIe from the
t_1         Observer Mission, would you record that?
I2               A.    Yes. Anyone that would be speaking'
13          BuL, typically, no one efse speaks oLher than
L4          those Lwo. Itrs rare.
1-5              O.    OkaY. BY the way, You mentioned a
L6          moment ago you might have been tweeting during
L'7         this meeting t,hat werve been talking about from
18          October 7. You know, how frequently would you
t9          say you tweet on the Observer Mission's Twitter
20          account?
2L                A.      VerY frequentlY.
22                O.      Do You think that's       a dailY
23          occurrence?
24                               MR. BERGER: This is after
25          ,January 4, 2020?

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  1                               MR. SINAIKO: You know, Iet me
  2         put the question with t.hat 1imitation in it
  3         just so we have a clear record.
  4         BY MR. SINAIKO:
  5              O. On and af ter ,.Tanuary 4, 2020, how
  6         frequently would you say that you have posted
  7         tweets on t.he Observer Mission's Twit.ter
  I         account?
  9              A.       I would say very frequently, but it
10          would depend on how busy my workload is.
1_1              O.       OkaY.
I2               A.       Somet.imes more than ot.hers. And
13          also depending on what.'s happening in the
L4          world.
l_5              0.    Okay. Again, during the period, you
L6          know, on and af ter ,.Tanuary 4, 2020, how many
I7          times a day would you say on average you post
18          tweets to that accounL, that is, the Observer
L9          Mission account?
20               A.      ff f had to take a guess, orr
2T          average, otr average, once.
22               O.      okay.
23               A.      On average.
24              O. Okay. That's fine. Letrs go to
25         Page 2053. And Ms. Ghannam, if you can just


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 l_                         THE COURT REPORTER: Irm

 2       sorry, I did not hear the answer. It got cut
 3       out.
 4                          THE WITNESS: I     said,
 5       occasionally, Dr. Riyad or Ambassador Feda
 6       might make suggestions as to what T should
 7       post.
 I       BY MR. SINAIKO:
 9               O.   Anybody else?
t_0              A.   No.

t_1              O.   Does anybody other than members of
1,2      the staff of t.he Observer Mission, and that. is
t_3      the peop1e on the l-ist that we had showed you
L4       before, provide input. into the content of
15       material to be posted on the Observer Mission
l-6      Twitter and Facebook accounts?
L7               A,   No.

l_8              O.   Okay. So, for example, nobody from
1,9         nobody from       well, withdrawn.
20                    For example, nobody based in
2I       Ramallah provides input int.o the material that
22       gets posted on those accounts?
23               A.   Absolutely not.
24               O.   Okay. And just t.o be clear as to
25       time frame, dt all times on and after         ,.Tanuary


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 t_         4, 2020, you have been the person who made a1I
 2          of the posts to t.he Observer Mission's Facebook
 3          and Twit.Ler accounts; correct?
 4                A.       That ie correct.
 5                O.       And before you make these posts, are
 6          they approved by anybody other than you?
 7                A.       No.
 8                O.       Now, taking just the Facebook
 9          account for a moment, are you familiar with
l_0         well, right.         Are you familiar with the privacy
11          restrictions      that can be placed on Facebook
L2          accounts?
13                A.       Somewhat.

L4                O.       Are you aware that it's      possible to
15          restrict      a Facebook account so that the general
L6          public cannol see everything that's posted in
L7          an accounL?
t_8               A.       Yes. Yes.
l-9               O.       Are there any such restrictions       on
20          Lhe Facebook aceount that t.he Observer Mission
21          operat.es ?
22                A.       No.

23                O.       So it's    the case, then, that any
24          member of t.he public can see anyt.hing that         is
25          posted on that account; correct?

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  1             A.       Correct.
  2             O.       Anywhere in t.he world?
  3             A.       Yes.
  4             o.       So anyone, any person in the United
  5        States with access to the Internet and a
  6        Facebook account would be able to see those
  7        posts; correct?
  8             A.       Yes. I have never changed the
  9        privacy setting since I started working there.
l-0              O.      Okay. Now, this        you ProbablY
l- 1-      know this better than I do because you are the
t2         media affairs       person; is it possible to create
13         similar restrictions       with respect to a Twitter
T4         accounL?
15              A.       That is a good question.     I don't
T6         think so.
I7               O.      Okay. So, to your knowledge
1-8              A.      No.

t9               O.      To your knowledge, any person with
20         access to Twitter can see anything that the
2L         Observer Mission posts on its Twitter account?
22               A.      Yes.
23               O.      Okay. So as far as you know, Lhe
24         information that you post t.o the Observer
25         Mission's Twitter account goes to the public at.

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 1       Iarge; correct?
 2             A.     Yes.
 3             O.     Would it be fair     to say that. you
 4       regard it as important that the Observer
 5       Mission's Facebook and Twitter account. postings
 6       get t.he broadest possible distribut.ion?
 1             A.     Yes.
 8            O.     And t.he Twitter and Facebook account
 9       postings t.hat you make to the accounts that are
10       maintained by the Observer Mission, are those
11       accounts      are those postings ever in a
L2       language other t.han English?
1_3            A.     Yes.
L4             O.     How frequently    are there postings
t_5      that are not in the English language?
15             A.     Very, very, very infrequently.
L'7            O.     Very inf requent.ly?
18             A.     Correct.
L9            O.    So would you say that in excess of
20       90 percent of the post.ings on the Observer
2L       Mission's Facebook and Twit,Ler accounts are in
22       the English language?
23             A.     ff not more, 1r€s.
24            O.    Okay. And, again, this will be a
25       question I'm asking you because you probably

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 1      UN resofutions,     and it's   illegal     in nature'
 2                    And Yes, therefore,        it was in the
 3      framework of my work Lo disseminate informat.ion
 4      wiLhin the context of the United Nations '
 5           O.    Right. And disseminating the view
 6      of the Observer Mission that activity relating
 7      to Sheikh ,Jarrah is iIIegal is an important
 I      part of your work at the Observer Mission;
 9      correct?
10            A.       Yes, because Part of mY work is to
1L      elevate the messaging of the Unit'ed Nations '
L2      That's part of my work as the media advisor'
1_3           O.       Well, Iet me ask this-        Isn't it to
L4      elevate the work of the
1_5           A.   In t.he United Nations because it's
L6      not just the Permanent Observer Mission of the
L7      State of Palestine that ties onto these
l_8      documents. There are many countries that are
l_9      in agreement. I mean, many.
20                 I mean, if You log onto SecuritY
2L       Council meetings, You can hear Ireland, you can
22       hear Norway, you can hear many of these
23       countries who t.ake the lead.           Werre noL even
24       we can't even be a permanent representative in
25       the Security Council so many countries speak on

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     1_   the i11egaI occupation of t.he Stat.e of
  z       Palestine. IL's not just our mandate.
  3            O.   I didntt mean to interrupt.. f'm so
  4       sorry. I think I might have cut. you off
  5       inadvertently.
  6            A.     That,s okay.
  7            O. Your Twitter post.s not your
  B       Twitter post.s, the Twitter posts that go on the
  9       Observer Mission's Twit.ter and Facebook feed.s,
1_0       those are the messaging of the Observer Mission
11        and not of the United Nations and not of any
1,2       ot.her any Member St.ate or any other member
13        organization,. correct?
L4             A.     That. is correct.
15             O.     Okay. When you post to       we1l, 1eL
I6        me ask this . On and af ter ,_Tanuary 4, 2O2O , I
T7        think we have established that you are t.he only
18        person who has posted to the Observer Mission's
1,9       Twitter and Facebook accounts,. correct?
20             A.    Correct.
2I             O.    And on and af ter ,.Tanuary 4, 2O2O ,
22        have you made posts to those two social_ media
23        accounts, that is, t.he Facebook account and the
24        Twitter account, from t.he Observer Mission
25        building at                       in Manhatt.an?

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 t_            A.      Since 'JanuarY 4?
 2             O.      Since ,fanuarY 4 of 2020, that is
  3      correcL.
  4            A.      Yes, I have.
  5            O.      And how many times would You say'
  6      just. ballpark, ofl and af ter .January 4, 2020 ,
  7      you have posted to the Twitter account or the
  8      Facebook account of the Observer Mission from
  9      the Observer Mission building at
                in Manhattan?
l_ 1-         A.    To take a guess, FebruarY, TwiLter,
T2       maybe 50 times. Facebook, maybe 15 times '
1_3      Maybe a dozen times.
L4             O. And the reason that that number is
l_5       in the range you just mentioned is because of
16        the pandemic; correcL?
I1             A.    That is correct.
1_8            a.    And subsequent to, on or subsequent
L9        to 'January 4, 2O2O , how many times would you
20        say you have posted or you have made a post to
2L        the Observer Mission's Facebook account?
22             A.    After January 4 -- excuse me' 2020?
 23            O.    On and af ter ,JanuarY 4 of 2020 '
 24            A.    Facebook? God, I mean, I don't
 25       know. I just. donrt know- That's just a very

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     1   specific question.        I don't know. Maybe once a
  2      week. Do t.he math. I don ' t know. Once a week
  3      since ,January 2020, on average.
  4           A.    So you use Facebook            oh, sorry.
  5      Didnrt mean to interrupt..
  6           A.       It's    okay. I canrt do the math in
  7      my head for    you.     I don'L know.
  8           O.       Would it be f air t.o say t.hat you
  9      post t.o the Observer Mission's Facebook account
10       l-ess t.han you post to the Observer Mission's
11       Twitter account?
72            A.       Yes.
l-3           O.    Okay. On and af ter ,-Tanuary 4 of
L4       2020, how many times woul-d you say t.hat you
15       have posted to the Observer Mission's Twitter
I6       account. from the building at
               2


18            A.              building, fike f said,
                       From t.he
L9       probably around 60 times. frm just averaging
20       once a day.
2L            O.       Okay. And put.ting aside        you
22       know, put.ting aside from the building, you
23       know, from the building at
               , how many times would you say, in total,
25       you have posted to the Observer Mission's

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 1      Twitter account on or af ter .Tanuary 4, 2020?
 2            A.       I coufdn't even count.      Wouldn't
 3      even be able to give you a ballpark.          A lot.
 4            O.       But it's   a large number; right?
 5            A.       Yes.
 6            O.       And are you aware, I don't know,
 7      I I 11 ask, are you aware of the location of the
 8      servers where the Facebook and Twitter accounts
 9      maintained by the Observer Mission reside,             You

10      know, t.he Twitter and Facebook
1l_           A.       Servers?
1,2           O.       Yeah.

13            A.       No.

I4            O.       Okay. Have you ever Post.ed         we1l,
t_5     withdrawn.
I6                     On and after January 4, 2020, have
l7      you ever posted t.o the observer Mission's
18      Facebook accounL other than from within the
19      territory of the Unit.ed Stat.es ?
20            A.   I have only post.ed in t.he United
2T       States.
22            O.    Okay. And with respect to Lhe
23      Observer Mission Twitter account, or and afLer
24      .Tanuary 4, 2020, have you ever posted to the
25      Twit.ter accounL oLher than from the -- you

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  t_     know, within the territory         of the Unit.ed
 2       St.at.es ?

 3              A.     I have only posted in the United
 4       SLaLes.
 5            O.    Okay. On and aft.er,.Tanuary 4, 2020,
 6       have you left the territory of the United
 7       Stat.es ?
 I              A.     No.

 9              O.     Okay. And on and after           I think I
t_0      know the answer to this already because we may
1_1      have covered it,     and I apologize if I'm asking
L2       again, I'm just trying to keep all the
13       questions together in the transcript.           On and
T4       af ter lTanuary 4, 2020, has anybody other than
l_5      you made a post. to either the Observer Mission
L6       Facebook accounL or the Observer Mission
L'7      Twitt.er account?
l-8             A.     No.
t9                           MR. SfNAIKO: Okay. So I
20       would ask Cosette to put up on the screen for
2L       our next exhibit,     which f think is grrir:g to be
22       No. 6, all right,     I would ask Cosette to put. up
23       Tab 19.
24                           (Deposition Exhibit No. 6 was
25       marked for identification.     )




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 1      BY MR. SINA]KO:
 2            O.      Ms. Ghannam, do You see the
 3      documenL? We're marking this as Exhibit 6.          Is
 4      it 6? It is 6. We are marking as Exhibit 6
 5      the document that I just put up on the screen.
 6      Can you see it in front of You?
 7            A.       Yes.

 I            O.       And do You recognLze that to be a
 9      tweet that. you posted to the Observer Mission's
10      Twit.ter account?
1l_          A.    Yes, I would have written it. But
L2      I'm just reading it..
r-3          O.    Oh, sure. Take Your time. If You
1,4     want to read the         any documenl you wanL to
15      read, feel free, just 1et us know that you want
L6      to read it and we'II turn the pages. You
L7      should do whatever you think you need to.
l_8          A.    It's okaY. I just want to read the
L9      tweet real quicklY. OkaY, Yes.
20           O. And let me ask a question- And
2I       again, I apologize if this question betrays a
22       little bit of lack of knowledge on my part.
23                  But was this a retweet of a tweet
24       that had originally been posted by the PLO's
25       Department of Public Diplomacy and Policy?

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  1           A.        Yes.
 2                              MR. SINAIKO: And Cosette, can
 3      we just Lurn t.he page here?
 4      BY MR. SINAIKO:
 5            O.        This document that. is now on the
 6      screen in front of you, it's          another page of
 7      Exhibit 6, is this the Lweet that was reposted?
 8            A.       No.
 9            O.        Okay. Is this t.he document that was
l-0     attached t.o the tweet that. was reposted?
1t_           A.       Not that I recalI.
L2            O   .    Okay. Let ' s back it up here .     ,.Tust.

13      back up one page.
L4                     You see what t.he original        the
l-5     original      PLO Department of     public Diplomacy and
T5      Policy tweet says?
L7            A.       Yes.
18            O.       Okay. Do you see it makes reference
L9      to an official         posit.ion?
20            A.       Yes.
2L            O.       And the document that we        or the
22      page that. we showed you a moment dgo, is that. a
23      copy of the official  position that, the pLO
24      Department. of Public Diplomacy and policy
25      released along with this tweet.?

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 1_            A.       Tt. looks like it was down to me.
 2      There is nothing writ.ten in it other than
 3      something in Arabic and it was just. one word.
 4             O.       Oh. Letrs go to the next. Page. I
 5      think there was probably some text at the
 6      bottom that you were having difficulty              seeing.
 7             A.       Oh, f can't       therels no waY I can
 8      read that..
 9           0.   Let's zoom in a little             bit.    There
t-0     we go. Is t.hat better?
11             A.       Yes, it's   better.      I mean, I'm not
t2      going to read all of it.          It's   going to waste
13      everyone's time.        Okay. What is the question?
L4             O.       So the question is, is that the
15      position statement that. was attached t.o the PLO
L6      Department of Public Diplomacy               Irm sorry,
T7      Pub1ic Diplomacy and Policy that. was at.tached
18      to t.he tweet that. the Observer Mission
1,9      retweeted?
20             A.       It appears so, if it is att.ached to
21,      ir.
22                            MR. SINAIKO: LeL ' s go t.o Tab
23       20, and we will mark that as Exhibit 7 .
24                       (Deposition Exhibit No. 7 was
25      marked for identif icat.ion. )

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  1      BY MR. SINAIKO:
 2             O.     And do you recognize t.his to be
 3       another tweet t.hat was posted to the Observer
 4       Missionrs Twitt.cr feed?
 5             A.     I retweet.ed it,    but yes.
 6            O.      WeII, I mean, I guess it's         a

 7       question.    Do you recognize this to be a tweet
 I       that you posted t.o the Observer Mission's
 9       Twitter account?
1_0            A.     Yes.
11             O.     okay.
1,2            A.     Yes.
13             O.     And you see that t.his document has
L4       the hashtag LandsDay?
15             A.     Yes.
15             O.     Is the hashtag LandsDay one of those
L7       hashtags that's designed to maximize t.he
18       dissemination of the message in the tweet?
t_9            A.     That particular     context, f am not
20       sure tf I was trying to maximize it or just
2L       commemorate the day.
22             O.     In general, t.hough        well,
23       withdrawn.
24                    And in this tweetr 1rou are acLually
25       retweeting      well, wit.hdrawn. Let me try this

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 1      question one more t.ime.
 2                  This is actuallY a retweet of a
 3      tweet t.hat was posted by another organlzation
 4      within the Pal-estine Liberation Organization;
 5      correct?
 6            A.       Yes, the Negotiation Affairs
 7      Department, yes.
 8           O.    Okay. And the purpose of this tweet
 9      was to disseminate publicly the Observer
10      Mission's yiew and the view of the PLO that
l-1     Tsrael was engaged in violations against the
l2      land and people of Pal-estine; is t.hat correcl?
13                      MR. BERGER: Object to the
1,4     form of the question.
t-5     BY MR. SINAIKO:
t6           O.    You may answer.
L7           A.    The purpose of this tweet is to
18      highlight the violations that the United
L9      Nations continuously addresses against the
20      people of Pal-estine and those t.hat are
2L      illegalIy occupied.
22                 These violations are deemed bY
23      against many internaLional human rights groups,
24      international human rights law, so these are
25      violations noL just by Palestinian Missions to

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 l_     the Unit.ed Nations, but violations         that are
 2      also discussed at the United Nations.
 3           O.    Okay. But the purpose of the t.weet
 4      is, juot to cut through it, one of the purposes
 5      of the tweet, at least, is to publicize           t.hese
 6          t.hese viol-ations; correct?
 7                        MR. BERGER: Object to the
 8      form of the question.      Asked and answered.
 9      BY MR. SINAIKO:
10           O.    You may answer. Do you need the
11      question back?
L2            A.    No. The purpose of t.he tweet is to,
13      once again, highlight. the illegal         violations,
l4      as noted in the United Nations, that are
15      conducLed against a people that are occupied.
L6      This is something that is legally embedded in
L7      the charter of the United Nations.           Therefore,
18      once again, I am doing my work as the advisor
L9      to the Permanent Observer Mission of the State
20      of Palest.ine to the United Nations to educate
21      people on violations    that, are deemed illegal             by
22      the United Nations.
23            O.    Understood.
24                        MR. SINAIKO: Okay           Letrs go
25      to our next tab. This is going to be Tab 22              .




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 1_     like to go off the record?
 2                         MR. SINAIKO: WeIl' we need t'o
 3      get the audio working.        I mean, whaLever we
 4      have t.o do.    If we have to go off the record t'o
 5      get the audio working, then fine.
 6                         THE VIDEOGRAPHER: OkaY. We

 7      are now off the record.        The time is I7 224 UTC
 I      time.
 9                          (Discussion held off the
t_0     record. )
l_1                        THE VIDEOGRAPHER: We are

L2      back on the record. The time is L] 226 UTC
l_3      time.
L4       BY MR. SINAIKO:
15           a.        Ms. Ghannam, we are back on the
t6       record.    Can you see that I have put Exhibit 6,

17       Deposition Exhibit 6 back on the screen in
18       front of you?
1,9           A.    Yes, I can see it.
20            O. And this is the retweet that we were
2T       talking about a moment a9o; correct?
22             A.   Correct.
23             a.   Okay. And if you look at the bottom
24       of t.he tweet, you will see that it says, 1-259
25       p.m., February 4, 2O2O- Do you see that?

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     l_          A        Yes.
  2              O        Would you agree that this was a
  3       tweet t.hat was posted aL l-:59 p.m. on the 4th
  4       of February 2020?
  5              A.       Yes.
  6              o.       Okay.   And would you agree that this
  7       is a tweet t.hat. you post.ed from the UN
  I       withdrawn.
  9                       Would you agree that this is a post
1_0       that         to Twitt.er that. you made from the
1_1       Observer Mission building at 115 East 65th
L2        Street in Manhat.tan at. the date and time noted
l_3       on the tweet?
T4               A.       Most likely,   y€s, unless I wasnrt
15        tweeting from my lunch break because it's            close
1,6       to 2:00.
I7               0.       But you would say most likely,       just
t_8       to be cl-earr |ou wou1d say most likely
l_9              A.      Yes.
20               O.          you tweeted that from inside the
2I        Observer Mission building at t_j_5 East 65th
22        Street in Manhat.tan?
23               A.      Most likely,    yes.
24               O.  Let's go back to tab, I think we
25        said Tab 2L, and we're marking that. as Exhibit.

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 l_      8

 2                               MR. SINAIKO: Karen, did You
 3       get that?
 4                               THE COURT REPORTER: Yes.

 5       Exhibit 8, yes.
 6                               MR. SINAIKO: Yeah. Letrs Put
 7       up Tab 2L.        That will be Exhibit 8
 8       BY    MR. SINAIKO:
 9               O.      A11 right.      And Ms. Ghannam, do You
t-0      see Exhibit       8 in front of you?
l_1              A.       Yes.

L2               O.       Do we agree that this        is another
1_3      tweet that. you posted to the Observer Mission's
L4       Twit.ter account?
l_5              A.       Yes.

L6               O.       Do we agree that thisis a tweet
L7        t.hat. you post.ed at 9:00 d.fl., on April L2,
t-8       2020, ds stated at the bottom of the tweet?
r_9              A        Yes.

20               O.       And this is actuallY a retweet; is
2L        that right?
22               A.       Yes.

23                O.   ltnd you were retweeting on behalf of
24           the Observer Mission, to the Observer Mission's
25           Twitter account, a tweet that had originally

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     1    been posted by t.he pLO Department of public
   2      Diplomacy and Policy; correct?
   3             A.    Correct.    yes.
   4             O.    And this is another communication by
   5      the PLO relat.ing to annexation of land in the
   6     West. Bank; is   that correct?
   7                         MR. BERGER: Obj ect t.o rhe
   8     form of the question.
   9     BY MR. S]NA]KO:
l-0              O.    You may answer.
t_ 1_           A.     It. appears so.    f canrt read all of
L2       it,    but I believe it was a statement put out by
t_3      Dr. Ashrawi regarding annexation.
I4              O.     Okay. And that was something that
15       you felt the Observer Mission should
L6       disseminate on Twitt.er; correcL?
L7              A.    Abso1ut.ely. Annexation is one of
t_8      the biggest ilIega1 moves that speaks against
t_9      everything that. you can possibly read in t.he UN
20       charter regarding the iIlegal      occupation of the
2I       State of Palestine.
22              O.    Woul_d it   be fair to say that you
23       felt  it was important to raise public awareness
24       on this issue by making this Twitter post?
25              A.    Yes.


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  1                                MR. SINAIKO: Let's go to Tab
  2      22, which we are going to mark as Exhibit 9           -



  3                      (Deposition Exhibit No. 9 was
  4      marked for identification.          )


  5      BY MR. SINAIKO:
  6               O.      And Ms. Ghannam, do you have Exhibit
  '7     9 in front of you?
  B               A.       I do.
  9               O.       And do you recogrrLze this to be a
10       retweet Lhat you made to the Observer Mission's
l- l_    Twitter account on April 28, 2020, dL 5:30
L2       p.m. ?
13                A.       Yes.

l4                O.       Okay. And do You recognize this
t_5      afso to be a retweet?
L5                A.       Yes.

T7                O.       And what is it a retweet of?
18                A.       It was Posted bY the Institute     of
t_9       Middle East Understanding on, once again,
20        illegal settlements on Palestinian land that
2L        the United Nations opposes' and there's several-
22        resolutions that oppose it and it is deemed
23        il1ega1.
24                         Therefore, I felt     it was extremelY
25        important, on behalf of our Mission to t'he

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  1-    United Nat.ions, to continue working under the
  2     mandate of the UN by elevating t.he illegal
  3      issue of settlement expansion.
  4          A.    When you say elevating the illegal
  5     issue of expansion, you mean raising public
  6     awareness on that topic by disseminating
  7          A.    Correct.
  8          O.    To bring att.ention?
  9          A.    Correct.
10                           MR. SINAIKO: Okay. Let's go
1l_     to Tab 23 , and I think we are on Exhibit           j_0.

T2                            (Deposition Exhibit No. 1O was
l_3     marked for      identification.   )


L4      BY MR. SINA]KO:
t_5           O.       Ms. Ghannam, can you see Deposition
t6      Exhibit 10 on t.he screen in front of you?
T7          A.     Not yet.
18            O.       I think we may be having another
I9      technical problem. It looks like the video is
20      frozen. Can you hear me?
21,           A.       f car:. hear you, yes.
22            o.       Can you see Exhibit 10 on the screen
23      in front of you?
24            A.       No.
25                           MR. SINAIKO: Okay.        We



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 t-     definitely    are having a technical problem
 2      because I, in my Zoom, I can see Exhibit 10 on
 3      the screen in front of me, buL I think Ms.
 4      Ghannam is    unable to see it.   And we need to
 5      resolve that.
 6                         MR. BERGER:    Let me see ifr
 7      can show her on mY laPLoP, if t.hat will      solve
 B      the problem.
 9                         THE WITNESS: Yes, I     can see
10      t.his.
l_1                        MR. SINAIKO: Great.
1,2     Actually, mine is working again. Okay.
l_3     BY MR. SINAIKO:
L4               O.   Do you recognize this     to be a tweet
15       that you posted to t.he Observer Mission's
I6       Twitter account?
L7            A.    Yes.

18            O. And when did you make this Twitter
t9       posL?

20               A.  It looks like MaY 1-1 at 3:03 P-m.
21,            O.    Do you know where You were      I
zz       mean, do you know where you were physically
23       locat.ed at the time you made this Twitter post?
24             A.    May 1-1th, I was in Washington.
25             O.    Okay. And t.he PurPose of this

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  1     Twitter post was to raise public awareness of
  2      Israeli    annexation threat; is that correct?
  3           A.        Yes.
  4                            MR. SINATKO: Letrs go to Tab
  5      40. That will be Exhibir         11.
  6                            (Deposition Exhibit. No. 11 was
  7     marked for identification.        )


  8     BY MR. SINA]KO:
  9          O.    Ms. Ghannam, can you see Deposition
10      Exhibit 11 in front of you?
1t_           A.       Yes.
1-2          a.    And can you te1I me what you
l-3     recognize that document to be, if anything?
L4            A.       Yes. I believe it. speaks to the
15      illegal annexation policy by the occupying
L5      Tala (phonetic).
1,7          O.     Okay. And, more generally, you
18      recognize t.his t.o be a Twitter post on the
I9      Observer Mission's Twitter feed; correct?
20            A.       That is correct.
2L            O.       And it's   actually another retweet;
22      is t.hat right?
23            A.       That is correct,.
24            O.       And what is it a retweet. of?
25            A.       ft discusses l_8 Senate Democrat.s, I

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  1       tagged them, expressing their concern regarding
  2       unilateral- annexation of Palestinian territory.
  3             O.       And who made the original   post?
  4             A.       It. looks like     oh, the original
  5       post, excuse me, t.he PLO Department of Public
  6       Diplomacy and Policy.
  7             O.       Right.   And that's an entity that is
  I       part of one of the Defendants in this case;
  9       correct?
10              A.       I -- Public Diplomacy and Policy is
l- l-     an extension of the tlpe of work t.hat the PLO
L2        d.oes, I suppose .      I don't know whether or noL
t_3       they are Defendants in this case or not, to be
L4        quite frank with you. I just know from a media
t5        standpoint, without
I6              O.       Let me put the question again.
t7                       Do you understand that. the PLO
1_8       Department of Public Diplomacy and PoIicy is
l-9       part of the Palestine Liberat.ion OrganizaELon,
20        one of the Defendants in this case?
2L                             MR. BERGER: Objection, calls
22        for a Iegal conclusion, but you can answer
23        again.
24                             THE WITNESS: They are part      of
25        the PLO, yes.

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 1      BY MR. STNA]KO:
 2            O.      Okay. And you post.ed this       wel1,
 3      withdrawn.
 4                    Is it. eorrect that you reLweeted, or1
 5      the Observer Mission's Twitt.er account, the
 6      original Twitter posts from the PLO Department
 7      of Public Diplomacy and Policy to call
 8      attention to the fact t.hat members of t.he
 9      United States Congress had expressed concerns
l_0     about. annexation?
11            A.      Because the United Nations is
L2      encompassing, the United States is part of the
1-3     United Nations.      Therefore, it becomes another
L4      issue, when we talk about unilateral       annexation
1-5     of Pal-estinian territory,     the United States is
L6      a member of the UN. Hence, t.his falls within
L7      the frame of my work.
18                    I am doing work on behalf of the
L9      United Nations since the U.S. is a member of
20      the UN.
2L                          MR. SINAIKO: A11 right.
22      Let's go to Tab 41. I t.hink this is going to
23      be L2. So let's      mark the next document that
24      pops up as Exhibit     1,2.

25                          (Deposition Exhibit No. 12 was

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 1      marked for identification.    )


 2      BY MR. SINA]KO:
 3           O. And Ms. Ghannam, can you see Exhibit
 4      L2 in front of you?
 5           A.    Yes.

 6           O. And what do You recognize that to
 l      be?

 8           A.    A tweet, it looks    just a tweet
 9      regarding, it's watch now, which looks like
10      it's a video.
11           O.    Right. So this is a Twitter Post
1,2     that you put on the Observer Mission's Twitter
1-3      feed on ,July 29 of 2020; correct?
1,4           A.     Correct..
15            O.     And the purpose of thisTwitter was
1,6      to encourage the public to watch the video that
l7       was attached to the tweet; is that right?
l-8           A.     Correct.
T9            O.     And the video was Prepared bY the
20       PLO Department of Public Diplomacy and Policy;

2T       correct?
22             A.    IT was prepared by t.hem t.o highlight
23       the illegal annexation and the i1Iega1
24       occupation of Palestinian territory, which are
25       considered crimes against humanity by the

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  1      United Nations, correct.
  2           O. Right. So the question was, this
  3      was the question was, t.his is a video that.
  4      wa6 prcparcd by the PLO Department c'f public
  5      Diplomacy and Policy; correct?
  6           A.    Correct.
  7                               MR. S]NAIKO:   Okay. Let's
  8      mark let's put up Tab 24, which we will               mark
  9      as Exhibit 13.
l_0                               (Deposition Exhibit No. 13 was
1_1      marked for identification.         )


1,2      BY MR. STNAIKO:
13                O.       Ms. Ghannam, do you have Exhibit     l_3

L4       in front of you?
l_5               A.       I do see it,   yes.
L6                O.      And what do you recognize this
L7       document to be?
18                A.       ft's   something written against. the
L9       illega1 use of administrative detention,
20       Palest.lnian prisoners .
2I                O.      So let me just aek the question in a
22       little        bit more focused way. Do you recognize
23       this to be a tweet. that you posted to the
24       Observer Missionts Twitter feed?
25                A.      Yes.


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  t_            O.     And when did you make this post to
  2       the Observer Mission's Twitter feed?
  3            A.    It looks like October 6, 2020, dt
  4       1: 00 p.m.

  5            O.      And this was also a reLweet; is that.
  6       right?
  7            A.      Yes.
  8            O. And it was a retweet of a tweet
  9       originally posted by the PLO Department of
10        Public Diplomacy and Policy; correcL?
t_ t_          A.     Yes.
L2             O.     Okay. And the topic of this    the
13        topic of this Lweet was administ.rative
L4        detention; is that right?
15             A.     Yes. IIlegal administrative
L6        detention, correct.
1-7             O. Understood. And the purpose of this
1_8       tweet was to elevate public awareness of
L9        illegal     pardon me administrative
20        det.ention; is that correct?
2L              A.    Yes.
22              O.    ThaL was    right. Okay.
23              A.    Yes. Because many people don't
24        understand what administrative detention is.
25              O.     Understood.

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 t_                         MR. SINAIKO: So letrs go to
 2       Tab 25, which we will        mark as Exhibit L4.
 3                          (Deposition Exhibit. No. 14 was
 4       marked for identification.       )


 5       BY MR. SINAIKO:
 6              O.   Ms. Ghannam, can you see Exhibit          1,4

 7       in front of you?
 I              A.   Most. of   it.     Your face and my face
 9       block off the right side of it.
l_0             O.   Let's fix it so that you can see
l_1      T want to do whatever           can you see it better
L2       now?

1_3             A.   That works.
L4              O.   A11 righty.        So can you see the
t-5      document now?
L6              A.   Yes.
L7              O.   And can you tell         me whet.her thaL's a
t-8      tweet that. you posted t.o t.he Observer Mission's
L9       Twitt.er feed?
20              A.   Yes.
2L              O.   And when did you make this post.ing
22       to t.he Observer Mission's Twitter feed?
23              A.   November 28, 2020, dt 2227 p.m.
24              O.   By any chance, do you know where you
25       were located physically when you made that

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 1      posting?
 2         A.   Thanksgiving, that first. year, after
 3      COVID I believe we were in Washington.
 4         O.   But you weren't in the Observer
 5      Mission building?
 6            A.     No.
 '7
              O.    Okay. And the purpose of - - woul-d
 8      it. be fair to say that the purpose of this
 9      tweet was to cal-1 public attention to a letter
10      that Dr. Mansour wrote to a UN official?
l-1           A.    WelI, I can't see the original
L2      letter, but either Dr. Riyad woul-d have written
13      it or Ambassador Feda would have written it, if
L4      Dr. Riyad was out of town.
15            O.    Let's go to the attachment because
L6      that's part of the exhibit.
L7            A.    Okay.

18            O.    Let me just ask the question again.
L9      Do you see that the document referenced in the
20      Twitter post is a letter that
2L            A.    A let.ter by
22            O.     I'm sorry?
23            A.     You would have to scroll all the way
24      to t.he bottom to see who it was written by.
25            O.     Cert.ainly. Let's do that so you get

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  1       to see it.
  2                A.      Go up a lit.t.Ie more, please.       I
  3       donrt know who drafted it.           ft was either
  4       Ambassador Feda or Dr. Riyad.            But most
  5       tikely
  6                O.       Let's go down to the bottom of the
  7       letLer for just a moment. You will               see that iL
  8       appears to be signed by Dr. Khalil El-Halabi.
  9       Do you see that.?
t-0                A.      Yes.
t_ l_              O.      Do you understand t.his to be a
L2        letter        that Dr. Khalil El-Halabi wrote to a UN
13        official       or to      or perhaps to, you know,
I4        Ambassador Mansour?
15                 A.       It could be      it could have been
1,6       that he was quot.ed in the letter.              I didn't
1,7       write the letter.          I just. posted it.
18                 O.      Okay. The purpose of the Twitter
t9        post was to disseminate t.his letter publicly               t.o

20        draw at.tention to the issue             raise public
2L        attention l-o the issr:e raiserj in the lel.fer;
22        correct?
23                 A.      Yes.
24                                MR. SINAIKO: Let's go to Tab
25        26, which we will mark as Exhibit 15.

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 1                             (Deposition Exhibit No. 15 was
 2      marked for identification.       )


 3      BY MR. SINAIKO:

 4            O.       Ms. Ghannam, do you have Exhibit     l-5

 5      in front of You?
 6            A.       I do.
 7            O.       Do You recognize this    to be another
 I      post that. You Put on the Observer Mission's
 9      Twitter feed?
t_0          A.    Yes.

1_1           a.       And when did You Put this Post on
T2      the Observer Mission's Twitter feed?
13           A.    ,JanuarY 1-1, 202]- at 9 2]-6 a ' m '

L4           O. And it says, ofl the toP of the first
15       line, statement by PMOFA. Do you see that?
l6            A.    Yes.

1,1           O. What is PMOFA?
18            A.    The Palestinian Ministry of Foreign
I9       Affairs.
20             O.       So this was a tweet bY which the
2L       Observer Mission was disseminating a message
22       created by t.he Ministry of Foreign Af f airs;
23       correct?
 24            A.       This is correcL.
 25            O.       And t,he Minist.ry of Foreign Af fairs,


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     1_   that is    or the staLement by the Ministry of
     2    Foreign Affairs, pardon me, is that t.he
     3    document attached at the bottom of the tweet?
     4         A.     Yes. I believe           I believe it,s
     5    actually a media brief draft.ed by NAD, Lhe
     6    Negot.iation Affairs Department.
     7         O.     And it's   the pLO        thatrs the
  I       Pal-est.ine Liberation Organization Negotiation
  9       Affairs Depart.ment; correct,?
t_0            A.     yes.
11             O.    And is that. part of the Ministry of
L2        Foreign Affairs?
13             A.     No.
14            O.     What is the connection between the
15        Negotiation Affairs Department and the Minist.ry
16        of Foreign Affairs,    if   any?
1,7            A.     f don'L know the exact 1ega1
18        connection between the two. My specialty is
1,9       not in that realm of work.
20                   My work was to just        disseminate the
2L        informat.ion as it pertains to the illegality         of
22        the St.ate of fsrael's illegal occupation of
23        Palestinians as a violation        of Fourth Geneva
24        Convention, as a violation     of the UN mandate,
25        as a viol_ation of the UN charter, that they

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 1       have to take full responsibility of its
 2       citizens of the occupying the occupying
 3       power has to take fu1l responsibility of the
 4       citizens it is occupying; hence, the reason for
 5       t.he information regarding the lack of COVID
 6       vaccinations to t.he occupied people.
 7            O. Okay. So the PurPose of this Post
 8       was to elevate public awareness of the issue
 9       that was being raised in this paper.prepared by
1_0      the Palestine Liberation Organization
11-      Negotiation Affairs Department; is that
1,2      correct?
l_3                        MR. BERGER: Objection, asked
L4       and answered. You may answer again. You may
t_5      answer again.
I6                         THE WITNESS: Yes, because,

L7       again, if you note, dt the end, I write the
18       fuIl statement below at UN, which means I
t9       publicly reLweet back to the United Nations
20       that what I am stat,ing is a complete violation
21       of the UN mandate, of the UN charter.
22                  And, therefore, it is the occupying
23        power's obligation to administer vaccines,
24        vaccinations to the occupyees, so they are in
25        violation of international law and it is

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   t_     illega1 what. they are doing to the occupied
   2     people of Palestine.
   3     BY MR. SINAIKO:
   4           O.       So would it be fair    to say that. the
   5     purpose of t.his tweet is to draw to public
   6     attention conduct. that the Observer Mission
   7     regards as a violation       of UN requiremenLs?
   I           A.       Yes.
   9
                           . MR. SINAIKO: Okay. Let's go
t-0      to Tab 27 .     That will be Exhibir i-6.
t_ l_                          (Deposition Exhibit    No. 15 was
t2       marked for     identification.   )

l_3      BY MR. STNAIKO:
1,4            O       And Ms. Ghannam, can you see Exhibit.
t_5      1,6? I think the video might be frozert again so
L6       frm noL sure you can see it.
l7             A       Not. yet..
18                             MR. SINAfKO: Letrs give it. a
L9       momenL and if     it doesn'Lif it doesn't pop
20       up, Mitch, maybe we can show her the document
2L       on your laptop.
22                             MR. BERGER: ft's     popping up
23                             THE WITNESS: Okay.      Yes, I
24       remember t.his.
25       BY MR. STNAIKO


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 1"          O.    Maybe you can start by telling us,
 2      in a high leveI way, whether this is yet
 3      another tweet that you posted to the Observer
 4      Mission' s Twitter account?
 5            A.       Yes, I did.
 6            O.       Okay. And this was done on February
 7      L4, 202L; correct?
 I           A.    Correct.
 9           O.    Okay. And what exactlY was this
10      Twitter, tweet    let me withdraw that.
11-                What exactly was this tweet
t2      disseminating?
t-3           A.       Why was it. disseminated; is   that
L4      your question?
l-5           O.     I was asking what was being
1,6      disseminated through this tweet.
I7            A.     Oh. It was stories of the
18       illegality of the Israeli citizenship law which
1,9      forces citizens to stay away from each other
20       because of the illegal occupation.
2L             O.    Okay. And the purpose of this tweet
22       was to draw public attention to an Israeli law
23       that the Observer Mission
24            A.   An illegal Israel-i law
25            O.   Let me finish the question. Am I

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  l-    correcL that the purpose of this tweet was to
  2     draw attention Lo an Israeli             law thdt the
 3      Observer Mission regarded as inconsistent with
 4      UN mandates?

 5            A.       Yes.
 6                             MR. SINAIKO: Okay. Let's go
 7      to Tab 28, which we will mark as Exhibit                L7.
 8                             (Deposition Exhibit No. 17 was
 9      marked for identification.           )


10      BY MR. SINAIKO:
11-           O.       AtI right..        Ms. Ghannam, are you
L2      able to see Exhibit        1,7?

l_3           A.       Not. yet.
T4            O.       Okay. Would you 1et me know when it.
1-5     pops up?
L6            A.       Okay.
17            O.    This is so much easier in person, I
t_8     have to t.ell you.
19                             MR. BERGER:       I've got it on my
20      lapt.op, so let. me show it to you. Can you see
21"     it from here? There you go.              ft's   on the big
22      screen now.
23                             THE WITNESS: Okay
24      BY MR. SINAIKO:
25            O        Do you recognize t.his to be another


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 l_     tweet that you posted to t.he Observer Mission's
 2      Twit.ter account?
 3             A.       Yes.
 4             O.       And it's   a tweet that. you posLed on
 5      May L1-; correct?
 6             A.       Yes.
 7           O. And this is a tweet what was the
 8      nature of t.his tweet? Maybe you can tel-l- us
 9      that. I'II try to ask it in a more open-ended
t_0     way.

l_1            A.  Sure. So a Mark Ruffalo, which many
1,2     of you know is a celebrity, used his platform
13      to expose the illegality of the potential
1,4     expulsion of 1500 Palest.inians from occupied
t_5     Jerusalem.
t_6            O.       And in this tweet, Lhe Observer
L7      Mission thanked Mr. Ruffalo for making his
1_8     post; is that. correct?
19           A.    Yes, I did.
20           O.    Okay. Let ' s go t.o the next page of
2!      this one. Is that. Mr. Ruffalo's post that you
22      were forwarding?
23             A.  I believe I was retweeting it,         Y€s.
24           O.    Okay. And You see that
25      Mr. Ruffalots post, in turn, attached a

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  t_     document?
  2               A.      Although. Would you mind going back
  3      for a second, because I think
 4                O.      Not. at all.
  5               A.          I might have just. retweeted.
  6      Okay. f rm sorry, go ahead. Uh-huh.
  7               O.      Do you see that. Mr. Ruffalo's tweet
 8       t.haL the Observer Mission retweeted t.o its own
 9       Twitter accounL, in turn, att.ached the
l_0      document?
11_               A.      I may not have noticed it at the
L2       t.ime. I don't recall right. now. There was a
t_3      lot going on during this time period.
I4                O.      Understood. But you see that there
15       is a document at.tached to Mr. Ruffalo's tweet;
t_6      correct?
I7                A.      I do see that.
18                0.      And do you understand what that
19       documenL is?
2o                A.      Yourd have to open it        tor me to look
2I       at it.        f don't recal-l- .
22                O.      Let's go to the next page.
23                A.      Okay.
24                O.      Do you understand what t.hat might
25       be?


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 1            A.      No.

 2               O.   Do you want to        do You need
 3      maybe we should show her the resL of the pages
 4      of it.
 5               A.   Assuming it's    some sort of petition.

 6            O.    Okay. Right.. So Mr. Ruffalo's
 7      tweet wel1, Mr. Ruffal-o's tweet attached a
 I      pet.ition that. members of Lhe public cou1d sign
 9      relating to t.his topic; correct?
1_0           A.    It appears so.
1L            O. And the Observer Mission reLweeted
L2      Mr. Ruffalo's tweet to bring Mr. Ruffalo's
1-3     tweet t.o the aLtention of a broader audience;
1,4     correcL?
1_5              A.   Yes.
1,6                          MR. SINAIKO: Okay. Let's go
L1      Lo Tab 29 , which wil-l be Exhibit l-8.
18                           (Deposition Exhibit. No. 18 was
1,9     marked for identification.      )


20      BY MR. S]NAIKO:
2t           O.    Okay. We're going to be on Tab 29.
22      That will be Exhibit 1-8.
23                 Mr. Ghannam, if you can just 1et me
24      know when you are able to see that.
25                      MR. BERGER: f '11- show it to


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 1       her on my laptop.
 z                             MR. S]NA]KO:    Irve got t.o say,
 3       I can't wait until wetre able to do these
 4       things in person again.        This is just
 5       incredibly painful.
 6                             MR. BERGER:    She's got it on
 7       my lapt.op for now, until      it pops up on the big
 8       screen
 9       BY MR. SINAIKO:
t_0            o        So Ms. Ghannam, can you see
11       Deposition Exhibit 18 now?
L2             A.       Yes.
13             O.       And this   is another tweet that you
l4       posted t.o the Observer Mission,s Twitter
t_5      account; is that correct?
L6             A.       Yes.
1,7            O.       And you made that post on May 15,
18       202L; is that. correcL?
1_9            A.       Yes.
20            0.     There, now you can see it. on the big
2L       screen. Once your video pops up, I know you
22       can see it.
23                   So you've got it on the screen in
24       front of you now?
25            A.     Yes.


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  1            O.       Was this      I see that. this one,
  2      this tweet actually has the SaveSheikhJarrah
  3      hashtag; do you see that.?
  4            A.       Yes.
  5            O.       Would it be f air t.o say that part of
  6      the purpose of t.hat hashtag was Lo magnify t.he
  7      attention,     the public attention that this
  8      Twitter posting would receive?
  9            A.       Yes.
1_0            O.       Okay. And the purpose of this
t_ l_    well, what was the document? It looks like
L2       there's a document attached to this tweet, is
13       that right,     or maybe this is retweeting?
I4             A.    Retweeting, from what I can recall.
15        I donrt know if that's a video or just. a
L6       picture.      If I have to guess, it's        just    a

I7       pict.ure because what happened is that the
18       occupying power indiscriminately            and illegally
19       bombed and destroyed the offices            of t.he
20       Associated Press and AI Jazeera Arabic in Gaza
2L       and, therefore, the occupied region of Gaza was
22        cut off from the rest of the wor1d, so we had
23        to rely on Lweets coming out from the region to
24        show the world what was happening i1lega11y
25        there.

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 1             O.        So would it be f air to say t.hat the
 2       purpose of this t.weet. was to cal-l public
 3       attention to the Observer Missionrs view that
 4       Israel had indiscriminately        and illegally
 5       bombed and destroyed the offices            of the
 6       Associated Press in Al ,Jazeera?
 7             A.        The purpose of this tweet is to
 8       highlight. t.he view of t.he St.ate of Palestine
 9       and the United Nations in terms of the
10       illegality      of what Israel was doing in terms of
1t-      conducting potential war crimes against nearly
T2       two million people who are subjected to an
13       illegal      blockade of nearly 14 years, which is
T4       deemed illegal      by the United Nations, 1r€s.
15                      A11 of this falls    within     my

I6       framework at t.he UN because all of t.hese issues
1,7      and everything that you have asked me thus far
18       are things that. the UN discusses regularly          as
I9       illegal      and against the UN charter and the UN
20       framework.
21,            O.     I notice   I notice, Ms. Ghannam,
22       that t.he first line of t.his tweet references
23       @POTUS.      Do you see that?
24             A.       Yes, the President of the United
25       States.

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 l_            O.      And why would this tweet make
 2       reference to the President of the United
 3       States ?
 4             A.      Because the United States of America
 5       is a permanent member of the UN Security
 6       Council, and the United States, as a permanent
 7       member of the Security Council, regularly votes
 8       against any and all resolutions that speak
 9       against the ilIegal occupation of the State of
10       Palestine.
11                      So while the whole world watches
L2       this indiscriminate bombing of this illegal
t-3      occupation, the United States happens to be the
1,4      only member of t.he Security Council that cannoL
15       pubticly make a statement saying that this is
1,6      wrong.
L7             O.       And you wanted to       is it Lrue,
t-8      Ms. Ghannam, would it be fair to say,
1,9      Ms. Ghannam, that one of the purposes of this
20       tweeL was to raise awareness of the positions
21,       that the Trump administration was taking within
22        the united states?
23             A.    My PurPose was to bring forth the

24        policies that the Unit.ed Nations as a voting
25        member of the    excuse me' the United States,

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  1_     as a voting member of t.he United Nations and as
  2      a permanent member of the United Nations
  3      Security Council and their extremely important
  4      role at the Unit.ed Nations, and how are they
  5     able t.o sit back and take a side seat to an
  6      issue distressing to many people around the
  7     world, an issue that's it1ega1.
  8          O. Was part of the purpose of this
  9     tweet to raise awareness among the American
10      public of the position that it.s government was
11      taking?
1,2                       MR. BERGER: Obj ect.ion, asked
1_3     and answered.     You may answer again.
I4      BY MR. SINAIKO:
l_5           O.     You may answer.
L6            A.     The objection was to raise awareness
T7      that. the United Stat.es of America, which is a
18      voting member of the Security Council of t.he
L9      United Nations. and a permanent member of the
20      United Nat.ions security member, and t.he fact
2L      that. aIl- work conducted in the regj_on, gets the
22      blessing of the United States, through t.he
23      United Nations, and, therefore, the fact that
24      the United St.ates of America is unable t.o make
25      a public st.atement regarding something where

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 1      the majority of the world was able to demonize
 2      in one way or another was perplexing, Y€s.
 3              O.      OkaY. ,Just going to trY one more
 4      time.    The objective was to raise that
 5      awareness among the American publict          is that
 6      correct?
 '7                           MR. BERGER: Objection.      It's
 I      not only asked and answered, but the reason why
 9      you keep coming back is that it's
L0      argumentative. So I object to the
t_1     argumentative questioning of this witness.
T2                            MR. SINAIKO: She can answer
l-3     the question.
l4                            MR. BERGER: Do You have
l_5      anything to add to your previous answer?
t6                            THE WITNESS: NO.

l7                            MR. SINAIKO: She can answer
18       the question t.hat I ask, not the questions that
1,9      you ask, Mr. Berger.
20                            MR. BERGER: You've asked this
2L       question three times.        It's   argumentative,
22       asked and answered. You may answer it again.
23                             MR. SINAIKO: I would l-ike the
24       question read back Please, Karen.
25                       (Reporter read back from the

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  l_      record. )
  2                            THE WITNESS:    No.
  3                                   Let's mark as
                               MR. SINAIKO:
  4      our next exhibit Tab 30. T think this will be
  5      Exhibit 19.
  6                            (Deposition Exhibit. No. 19 was
  7      marked for identif icat.ion. )
  I      BY MR. S]NAIKO:
  9            O.       Ms. Ghannam, can you see Exhibit       1,9

t_0      in front of you?
11             A.       Yes.
L2             O.       Okay. And you recognize          what. do
13       you recognize this to be, Lf anything?
L4             A.       f recognize this very wel_l. fL was
15       a mother and a child who were stuck under the
L6       rubble of their house after it being i1lega11y
1,7      shelled and begging for help so that they were
18       not' to die.
1_9            O.       This was a Twitt.er post that was put
20       on     that you put on the Observer Mission's
2T       Twitter feed; correct?
22             A.       Absolut,ely correct.
23             O.       And the t,opic was the one that you
24       just mentioned; correcL?
25             A.       Yes.


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 t_          O. And the purpose of this Twitter feed
 2      was to raise public awareness about the conduct
 3      that is described in this Twitter post and the
 4      Observer Mission's position with respect to
 5      that conduct; correct?
 6           A.   Yes.
 7                            MR. SINAIKO: Okay. Let's go
 8      to Tab 3l-, which we will mark as Exhibit 20.
 9                       (Deposition Exhibit No. 20 was
t_0     marked for identification. )
t_1     BY MR. S]NAIKO:
L2            O.       Do you see Deposit.ion Exhibit. 20 on
13      the screen?
I4           A.     No. Yes, now I do.
15            O.       And do you recognize that to be
L6      another tweet that you posted to the Observer
L'7     Mission's TwiLter account on May 17, 2021-?
18            A.       YeS.

l-9          O.   Okay. And do you see that this
20      Twitter post makes reference to AOC?
2L           A.   Yes.
22           a.   Who is t.hat?
23           A.   Alexandria Ortez     I always forget
24      her name. The representative from New York.
25           O.   Right. Al-exandria Ocasio-Cortez; is

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 1_      that right?
 2             A.       Yes.
 3             o        And what. about Bush?
 4             A        Yes. Cori Bush.
 5             o        And what about
 6             A        'John OIiver.
 "7
               O        Uh-huh, who else?
 I             A        Ali Velshi, and then Reid, I forget
 9       his first     namer 1r€s.
10             O.       And what information was this
11       Twit.t.er post conveying?
I2           A.     That the use of the word "aparlheid"
t_3      is not so i11egal, it's noL deemed as taboo
I4       anymore.
15             O.    Okay. And the purpose of      the
L6       purpose of this, is it correct that the purpose
I7       of this Lweet was to disseminate publicly t.he
18       Observer Mission's view that the State of
19       Israel engages in apartheid?
20             A.    The purpose of this tweet is to
2I       share information that is left up to the
22       general public to decipher in any way possible
23       that. they see fit in terms of the illegalities
24       of what is happening to the people of Palest.ine
25       that is repeatedly discussed and repeated at

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  1      t.he United Nations.
  2                     It is not uP to me to decide what
  3      people take from what I Post.
  4                             MR. SINATKO: OkaY. Letrs Put
  5      up Tab 32 and let's       mark that as our next
  6      exhibit,    which will be Exhibit 2I.
  7                             (Deposition Exhibit No. 2l- was
  8      marked for identification.        )


  9      BY MR. SINAIKO:
l0             O.       Ms. Ghannam, can you see Exhibit 2I?
l_ l-          A.       Not yet.
L2                              MR. BERGER: EverY t.ime I show
13       her my laptop, it poPS on the video.
L4                              MR. SINAIKO: It's       like
15       clockwork.
l_6                             (Of f -the-record   discussion
I7       held. )
18       BY MR. SINAIKO:
l-9            O.        Okay. Can you see the document now'
20        Exhibit. 2l?
2L             A.        Yes.
22             O.        And that's another posting that you
23        made to the Observer Mission's            Twitter account?
24             A.        Yes.

25             O.        And that was a retweet?

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  1              A.    Yes.
  2              O.     It was a retweet. of a tweet that
  3      originally    was put up by Senator Warren,.
 4       correct?
  5              A.    Yes.
  6              O.    And do you think you ret.weeted
 7       Senator Warrents tweet the same day t.hat
 8       Senat.or Warren put it up on her own feed?
 9               A.    I can'L te1I you.
t_0              O.    In any event, the purpose        is it
l-1      correct that the purpose of this tweet was t.o
1,2      bring to the att.ention of the public Senator
13       Warrenrs view that. the Biden administration
L4       should press for a just., last.ing two-state
15       agreement?
16               A.    The purpose of this t.weet is to
L7       press on t.he viewpoint. that a lasting two-state
18       agreement is needed to see a just. and viable
L9       peace in the region, something that the United
20       Nations had been working towards for decades
2L       now and is the longesL standjng occupation and
22       f ile   at the Unit.ed Nat.ions.
23                            MR. SINAfKO: Okay. Let's go
24       to Tab 33, which we will mark as Exhibit 22.
25                       (Deposition Exhibit. No. 22 was

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 1      marked for identification.      )


 2                            MR. SINAIKO: And Mitch, if
 3      you could just put the laptop in front' of her
 4      now so that this works more promptly this time '
 5                            MR. BERGER: Yeah. I donrt

 6      have it yet.      See, it worked instantly'
 7                            MR. SINAIKO: Like magic.

 8      BY MR. SINAIKO:
 9           O. AnYwaY, Ms. Ghannam, do You see
10      Exhibit 22 in front of You?
l_1          A.    I do.
L2           O. And do You recognlze that to be a
l_3     tweet that you posted to the Observer Mission's
L4      Twitter feed on May 24Lh of this year?
t5            A.       Yes.

t6            O.       And the PurPose of this
L7            A.       Yes, I recognize it.
1_8           O.    Is it correct that the PurPose of
19       this TwiLter feed was to bring to public
20       attention criticism of the Biden administration
2L       in an article that Newsweek had published?
22            A.     The purpose of this retweet was to
23       bring attention t'o the fact that the United
24       StaLes, a permanent country of the Security
25       Council who has the right to veto anything they

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     1    want in the Security Council, and a member of
     2    the larger UN General Assembly, has gone ahead
  3       and provided the Stat.e of fsrael with smaller
  4       bombs t.o cont.inue doing t.he work that   they have
  5       done illegally.
  6                          MR. SINAfKO: Okay. And l_et's
  7      mark, as Exhibit 23, a Twitter post dated ,Ju1y
  8      9 of 202!. That will be Tab 34, Cosette.
  9                       (Deposition Exhibit No. 23 was
10       marked for identif icat.ion. )
1t_      BY MR. S]NA]KO:
l2            O.   Okay. And Ms. Ghannam, do you
13       recognize  can you see Deposition Exhibit         23
L4       in front of you now?
15             A.     Yes.
L6             O.    And do you recognize t.hat to be a
L7       post.ing that you made to the Observer Mission's
18       Twitter feed earlier this    mont.h?
1,9            A.     Yes, I retweeted it.
20             O.     Right.   And this is a retweet from
2I       the PLO's Negotiation Affairs Division; is that
22       right?
23             A.     Department, yes.
24            O.   Sorry. T got the tit.Ie      I
25       misspoke. It's the Negotiation Affairs

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 1-      Department?
 2              A. That's okaY. Yes          -



 3            O.   OkaY. And this is another
 4       another tweet, the purpose of which is to bring
  5      to public attention the Observer Mission's
  6      views about annexation of territory; is that'
  7      correct?
  I             A.       Particularly the annexation wall,
  9      yes.
10              O.       Okay.

1_ 1_           A.      And the illegal    setLlemenL units
L2       thaL have been established in occupied illegal
t-3      territories,      yes. And the number of civilian
1,4      deat.hs as welI.
15              O.       Anything else?
1,6             A.       No. The tweet is PrettY
T7        self -explanatorY.
18                               MR. SINAIKO: Excellent.     We


L9        can take t.hat one down. If it's okay if
20        it's okay with everybody, r like to just go off
2L        the record. for five minutes '
 22                              MR. BERGER: Yeah.

 23                              MR. SINAIKO: Good enough.
 24       Thanks.
 25                              THE VIDEOGRAPHER: We are now


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     l-                     CERTTF]CATE
  2

  3                           I, NADIA GHANNAM, do hereby
  4       certify     that f have read the foregoing
  5       transcript  and it is a true and correct copy of
  6       my deposition, except for the changes, lf dry,
  7       made by me on the attached Deposition
  I       Correct,ion Sheet,.
  9

1_0


11

t2
l_3                         Date
t4
l_5

L6

L7

l-8

I9
20

2t
22

23

24

25


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 l_     ERRATA SHEET                    REASON FOR
        PAGE      L]NE             CHANGE/CORRECT]ON
 2

 3

 4

 5

 6

 7

 I
 9

10

11

L2

13

L4

1-5


L6

T1

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L9

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 l-     COMMONWEALTH OF PENNSYLVANIA
                                                   SS
 2      COUNTY OF ALLEGHENY

 3                          CERT]FICATE

 4            I, Karen A. Nickel, a notary public in and
        for the Commonwealth of Pennsylvania, do hereby
 5      certify that the wiLness, NADIA GiANNAM, was by
        me first duly sworn to test.ify the truth, the
 6      whole t.ruth, and nothing but the truth; that
        the foregoing deposition was t.aken at the time
 7      and place stated herein,- and that the said
        deposition was recorded stenographically by me
 8      and then reduced to typewriting under my
        directj-on, and constitutes a true record of the
 9      testimony given by said witness.
l-0            I further certify that I am not a
        relat.ive, employee or attorney of any of t.he
11      part.ies , ot a relative or employee of eit.her
        counsel, and that I am in no way interested
L2      directly or indirectly in this acLion.
13           IN WITNESS WHEREOF, I have hereunto set my
        hand and affixed my seal of office t.his 27th
T4      day of ,Ju1y 2O2I
1_5


L6                      Karen A. Nickel-, NoLary Public
                        Registered Professiona1 Reporter
L7                      Certified Realtime Reporter
18

L9

20

2L

22

23

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                    trxhibit 3
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                           Farid Ghannam 30 (b) (6)
                                iluly 29, 2O2L

     I]NITED STATES DISTRICT
     SOUTI{ERN DISTRICT OF NETI YORK
     Case No. 1B-Civ. l-2355
                                             -----x
     SI{ABTAI SCOTT SI{ATSKY, individually
     and as personal representative of the
     Estate of Keren Shatsky, J AIINE
     SI{ATSKY, individually and as personal
     representative of the Estate of Keren
     Shatsky, TZIPPORA SIIATSKY SCHWARZ,
     YOSEPI{ SHATSKY, SARA SHATSKY TZIMMERMAN,
     MIRIAIVI SHATSKY, DAVID RJ\PHAEL SI{ATSKY,
     GINETTE L.ANDO THALER, individually and
     as personal representative of the
     Estate of Rachel Thaler, I,EOR TI{ALER,
     ZVI TI{ALER, ISAAC THALER, I{ILLEL
     TRATTI{ER, RONIT TRATTNER, ARON S.
     TRATTNER, SI{ELLEY TRATTNER, EFRAT
     TRATTNER, I{ADASSA DINER, YAEL
     I{ILLMAN, STEVEN BRAUN, CIIANA
     FRIEDI,IA}I, II,AN FRIEDMAN, MIRIAIVI
     FRTEDMAN, YEHTEL FRTEDMAN, ZVI
     FRIEDMAN, and BELI,A FRIEDMAN,

                      Plaintiffs,
       against
     THE PALESTTNE LIBERATION ORGANIZATTON
     and TIIE PALESTINE AU|I{ORTTI(a/k/a "The
     Palestinian Interim Self -Government
     Authority" and/or "The Palest.inian
     National Authority"),
                      Defendants.

            Videotaped Deposition of 30(b) (6)
     Witness, FARID cI{ANNAIet, (with aII parties
     participating    remotely), on Thursday,
     rJuly 29, 202L, commencing at 7:33 4.fr.,
     before Roberta Caiola, a Professional Court
     Reporter and a Notary Public.



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                            Farid Ghannam 30 (b) (6)
                                 iluly 29, 2A2l

 L    ,4, P P E A R.A. N C E S:

 2
      For the Plaint,if f s:
 3    ESZTER VTNCZE, ESQ.
      MELISSA IVIAXMAIiI, ESQ.
 4    RONALD F. WrCK, ESQ.
      (Admitted Pro IIac Vice)
 5    COI{EN & GRESSER, LI-,P
      2OO1 Pennsylvania Avenue, M
 6    Suite 300
      Washington, DC 20006
 7    mmaxman@cohengresser . eom
      evinc ze@cohengres ser . com
 I
 9    STEPHEN M. STNATKO, ESQ.
      COHEN & GRESSER, LLP
l-0   800 Third Avenue
      New York, NY J.OO22
t-1

L2    For the Defendants:
      MITCHELL R. BERGER, ESQ.
13    GASSAN A. BAI,OUL, ESQ.
      irosEPI{ ALONZO, ESQ.
1"4   sAl,rtl IGDDOIIRA, ESQ.
      SQUTRE PATTON BOGGS
1_5   2550 M Street NW
      Washington, DC 20037
1_6   gassan. baloulosquirepb . com
      mitchell . bergeresquirepb. com
L7    j oseph. alonzo@squirepb . com

1_8
      Also Present:
l_9   Mordechai IIaller
      Simek Shropshire, Paralegal
20    Cohen & Gresser
      A,rabic-Hadeer Al Amiri, The Interpreter
27    Corey lrlainaina, The Videographer
22

23

24

25


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 1                           INDEX

 2    E)(AI',IINATION OF FARID GHANNAM                PAGE

 3    FARID GI{AI{NA}4 BY MS. VINCZE                    7

 4

 5                        EXHIBITS
 6    EXHIBITS              DESCRIPTTON               P.AGE

 7    Exhibit, 1   30 (b) (6) Notice dated June 16,     24

 8                 202A

 9    Exhibit 2    Document Bates etamped              45

L0                 Shatsky-itDO0012 through
1t_                Shatsky-ifDO024 9
12    Exhibit 3    Document Bates stamped               61

13                 Shatsky-'JD0 0 11-3 through
14                 Shatsky-,JD00117
L5    Exhibit 4    Document Bates stamped               74

16                 Shatsky- JDOA97 7 through
L7                 Shatsky-iID00990
18

19

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                                iluly 29, 2O2L

 t_                    Farid Ghannam
 2                THE VIDEOGRAPHER; Good

 3           morning, everyone. We are now on the
 4           record. Participants ghould be aware
 5           that this proeeeding is being
 6           recorded and, ag such, all
 7           conversations held will be recorded,
 I           unless there is a request and
 9           agreement to go off the record.
L0                 This is the remote video
Ll_          recorded deposition of Farid Ghannam.
L2           Today ig Thursd"y, iluly 29, 2O2L.
t_3          The time is now 1l-:32 IITC time. We
I4           are here in the matter of Shatsky
15           versus PLO.
l-6               My name is Corey Wainaina,
1,7          remote video technician on behalf of
l_8          U.S. Legal Support, located at 90
t-9          Broad Street, New York, New York. I
20           am not related to any party in this

21           action, nor am I financi-alIy
22           interested in the outcome. At this
23           t.ime, will t,he reporter, Roberta
24           Caiola, oR behalf of U.S. Legal
25           Support, please enter the statement

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                           Farid Ghannam 30 (b) (5)
                                'JuIy 29, 2O2L
 L                      Farid Ghannam
 2            for remote proceedings into the
 3            record.
 4                 fHE COIIRT REPORTER: The
 5            attorneys participating in this
 6            deposition acknowledge that I am not
 7            physically present in the deposition
 8            room and that f will be reporting
 9           this deposition remotely.
10                 They further acknowledge that,
1l_          in lieu of an oath administered in
L2           person, I will administer the oath
L3           remotely, pursuant to executive order
L4           number 2A2.7 issued by Governor Cuomo
1_5           on March L9, 2O2O.
L6                  The parties and their counsel
17            consent to this arrangement and waive
l-8           any objections to this manner of
19           report.ing. Please indicate your
20           agreement by stating your name and
21           your agreement on the record.
22                MS. VINCZE: Eszter Vincze for
23           Cohen & Gresser. We represent
24           plaintiffs.  We agree.
25                 MR. BERGER: This is Mitchell


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                              Farid Ghannam 30 (b) (5)
                                   iluly 29, 2021

 1                         Farid Ghannam
 2             Berger, Squire Patton Boggs on behalf
  3           of defendants, and we agree.
  4     ARABIC-HADEER AL AIIIRI, called as the

  5     official  interpreter, having been duly
  6     sworn (by Roberta Caiola) to translate
  7     questions from English to Arabic and
  I     answers from Arabic to EngIish, translated
  9     as follows:
L0      FARID GHANNAII, called as a witness, having
l- l-   been duly sworn (through the interpreter)
L2      by a Notary Public of the State of New
t-3     York, t.estif ied ae follows:
L4                     MS. VINCZE: Before we begin
1-5            with Mr. Ghannam, just one
16             housekeeping measure. Since vre are
L7             here remotelY during the COVID-19
1_8            pandemic, w€ would ask that
t_9            defendants confirm that, pursuant' to
20             Rule 3o(b) (4) of the Federal Rules of
2I             Civil Procedure, that todaYrs
22             deposition may be taken bY video
 23            conference as we're Proceeding'
 24                     Pursuant to Rule 29, the
 25                parties also stiPulate that

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                                   Farid Ghannam 30 (b) (G)
                                        'Ju1y 29, 2O2L
     1                       Farid Ghannam
     2           Ms. Caiola is an appropriate officer
     3           before whom this deposition may be
  4              taken, even though the witness is in

                 "Tordan and Ms. Caiola is         located in
  5

  6              New York. Do we agree?
  7                      MR. BERGER: This is Mitchell
  I              Berger on behalf. of defendants.             We

  9              agree.
l_0                      MS. VfNCZE: Thank you.
1t-      EXAIVIINATTON

1,2      BY MS. VTNCZE:
1-3           a.    Good morning{ Mr. Ghannam.
t4       Thank you for coming here today. My name
15       is Eszter Vincze.          I'm here representing
L6       plaintiffs      in this    cac e and I   will   be
1,7      asking you some questions today and
l_8      tomorrow. Before I do so -- pardon?
19                       (Pause in proceedings. )
20                          I just want to go through
2a       some ground rules         so Lhat you know what to
22       expect today.
23                      Please state your name and
24       address for the record.
25            A.        My name is     Farid Ahmed Abed

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                           Farid Ghannam 30 (b) (6)
                                iluly 29, ZOZL

 1                  Farid Ghannam
 2    Hafez Ghannam. I live in Palestine,
 3    Ramallah.
 4          a.   What is Your occuPation and
 5    title?
 6          A.   My occuPation is the DePutY of
 7    the Minister of Finance, and my title is
 8    Al_.

 9         a.     Have You ever had Your
l_0   deposition taken before?
11-        A.     No.

L2         a.     So I'm going to go over the
t_3   processt with You, so that wetre all on the
t4    Eame page. Is that all right?

1-5          A.     Yes.

16          a.   Do you understand that You are
L7    lestifying under oath?
18          A.   Yes.

L9          0.   The court rePorter will be
20    transcribing everyt.hing we say today- To
2L    make sure that the record is accurate, and
22    especially since this deposition is taking
23    place via remotely, in light of the
24    COVID-19 pandemic, it. is important that we
25    do not speak over each other, so that only

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                            Farid Ghannam 30 (b) (5)
                                 iluly 29, 2O2L
  t_                  Farid Ghannam
  2    I will be using shorthand for some terms.
  3    For example, when f refer at times to
  4    "defendants,rr I mean both the palestinian
  5    Authority and the Palestine Liberation
  5    Organj.zation. Do you understand?
  7        A.     Yes.
  8        a.     And I will be referring to the
  9    Palestinian Authority as the pA sometimes.
1-0    Do you understand that?
l-1         A.     Yes.
a2         a.     And I will be referring to the
1-3    Palestinian IriberaLion Organization as the
l4     PI-rO sometimes. Do you understand that?

L5          A.     Yes.
t6          a.     Thank you.    Let's briefly
L7     review your educational background. What
l_8    is your highest 1evel of education?
19          A.    The highest 1evel of education
20     that I obtained is a master's degree in
2t     financial science and banking, and now frm
22     studying the Ph.D.
23          O. And where did you receive that
24     master's degree?
25          A.     In the fslamic University in

                 U.S. Legal Support I                                  tz
                                        "ru*.uslegalsupport.com
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                                Farid Ghannam 30 (b) (5)
                                     July 29, 2O2r.

 L                           Farid Ghannam
 2    Gaza

 3           a.       Where are you studying for your
 4    Ph. D. ?

 5           A.       Can you repeat the question?
 6                    THE INTERPRETER: This is        the
 7               interpreter.     I will repeat the
 I               question.
 9           a.       Where are you studying for Your
10    Ph. D. ?

Lt           A.  I registered in Morocco, in
1-2   Mohamed Al Khamis Universiti.

1_3        a.    Do you have any Ii-censes, aDY
L4    professional Iicenses?
1_5        A.    Yes.
1,5        a.    What are those licenses?
L7         A.    A license in the financial
1_8   scienees and banking. Also, a license to
19    teach in the science, financial science in
2A    the unj-vereity.
2T         a.    And do you teach at the
22    financial     at the university?
23         A.     I taught in Birzeit University
24    for four years, the fj-nancial science and
25    banking.

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                               Farid Ghannam 30 (b) (6)
                                    iluly 29, 2O2L

 L                          Farid Ghannam
 2                   MR. BAIJOUIJ; This is an
 3              objection to Ehe translation. It's
 4              not banking. It's accounting.
 5                   THE fNTERPRETER: Accounting.

 6            a.     What courses did you teach?
 7            A.     It's general financing.
 8            a.     Do you have a bachelorts
 9    degree?
10            A.     Yes.
LL            a.     Where is your bachelor's degree
12    from?
L3            A.     From Alexandria University from
L4    Eglryt.
15            a.     And when did you obtain that
L5    bachelorle degree?
L7            A.     1983.
18            a.     And when did you begin your
19    masterrs program?
20            A. f started studying for the
2t    master's degrea in 2002.
22        a.     And when did you obtain your
23    masterrs degree?
24            A.     In 2005.
25            a.     Do you have any professional


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                             Farid Ghannam 30 (b) (5)
                                  lTuly 29, 2O2l

 1                        Farid Ghannam
 2    certif icati-ons?
 3          A.      Other than the certificate
 4    concerning the financial sciences and
 5    accounting, I don't have anY other
 5    certificates.
 7          A.   You have been designated t<>
 I    testify on behalf of both the PA and the
 9    PLO, correct?
t-0         A.     Yes.
Lt_        a.     Do you have a formal Position
t2    within the PA?
1_3        A.     Deputy of the Finance, Mj-nlster
T4    of Finance.
L5         a.     Do you hold anY other titles
t6    within the PA?
T7         A.    I'm a member in multiP1e
18    organizations in the Palestinian Author5-ty-
L9         a.    What are those organj-zations?
20               THE INTERPRETER: This is the
21,         interpreter. I'm going to ask the
22           respondent to saY them one bY one.
23         A.      The Alliance for Industrial
24    Cities.
25                 (Court reporter clarification.       )




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                           Farid Ghannam 30 (b) (5)
                                iluly 29, 2O2L

 L                      Farid Ghannam
 2                 THE fNTERPRETER: The Affairs
 3            of Industrial Cities.
 4          A.     The Affairs of the Water
 5     Authority. The Employment Palestinian
 6     Authority.
 7          A.     Is that      are there any other
 8     organizations of which you are a member
 9     within the PA?
10                 THE INTERPRETER: So this is
LL            interpreter.
L2                  (Clarifyir,g. )
13          A.     The Finance Palestinian
L4     Authority.
L5          A.     Are there any other
1_6    organizations, besides the ones that you
t7     have listed within the PA, of which you are
L8     a member?
L9          A.     No.
20           a.   What do you do for the Alliance
2L     for the Affairs of fndustrial Cities?
22          A.    f work as a member of the
23     regulatory committee in this inst j-t,ute.
24          a.    And what do you do for the
25     Affairs of the Water Authority?

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                          Farid Ghannam 30 (b) (5)
                               July 29, 2O2L

 t-                     Farid Ghannam
 2         A.       The same function. A member in
 3    the...
 4         a.      A member in the what?
 5         A.       The same function. A member in
 6    the organizati.on' s af f air .
 7               MS. VINCZE: This j.s a question
 I          for the interpreter. Did he did
 9           he say     can you repeat what he said
1-0          to me again, please?
Ll-                 THE INTERPRETER: Yes, ma'am.
L2           It's the same function. Itrg a
l-3          member in the organization affairs.
t4          0.    What do you do in the
l_5   employment PA?
16          A.   I work as a member in the
L7    organization' s committee.
l-8       a.     And what do You do for the
L9    finance PA?
20          A.   I'm a member in the
21    organization' s committee.
22         a.    What is the Alliance of the
23    Affairs of Industrial Cities?
24         A.    I work in t,he industrial cities
25    as a member.

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                            Farid Ghannam 30 (b) (5)
                                 'Ju1y 29, 2O2L
  l-                    Farid Ghannam
 2           0.     Yes, but what is the
 3     organization?
 4          A.      This is a committee to
 5     encourage the industrial sector and put it
 5     in a position to have privilege, financj-al
 7     privileges.
 I           a.     And what is the Slater
 9     Authority?
l_0        A.     It organizes the function of
1l_    water in Palestine.
L2         a.    And what is the Employment
13     Authority?
L4          A.    ft regulates the Palestine
t5     employment, whether inside or outside.
16          a.    And what is t.he Finance
1,7    Authority?
1_8         A.     It's a substi-tute for the Satal
L9      (phonetic) Palestinian Bank.
20          O. And how does that organization
2l     relate to the Ministry of Finance?
22          A.     ft has a strong relationship to
23     the Ministry of Finance.
24          A.     Is it separate from Lhe
25     Ministry of Finance?

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                             Farid Ghannam 30 (b) (5)
                                  r.Tuly 29, 2O2L

 1                   Farid Ghannam
 2         A.    The Finance Authority is the
 3    one that is separate from the Ministry of
 4    Finance. The other organizations are
 5    within the other ministries, and it has a
 6    separate budget.
 7          A.      As Deputy Minister of Finance
 I    who do you report to?
 9          A.      The Minister of Finance.
10          a.      Who is   that?
LL          A.      Shukri Bishara.
L2          a.      Do you report to anYbodY else?
L3          A.      For me, itts only the Minisber
L4    of Finance.
15         a.    What responsibilities come with
t_5   your current position?
L7         A.    To have the Minister of Finance
l-8   regulating the financial affairs.
t_9        A.    For how long have You held t.his
20    position?
2L          A.      Approximately four Years.
22          A.      And what did You do before You
23    began working in this position?
24        A.     The general director of the
25    Palestinian budget.

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                             Farid Ghannam 30 (b) (5)
                                  iluly 29, 2O2L
 1                     Farid Ghannam
 2          A.    Was that also within the
 3     Ministry of Finance?
 4          A.    Yeg.
 5             O.     And what did you do before you
 6     were general director of the Palestj,nian
 7     budget?
 8          A.    The deputy of the general
 9     director of the budget, financial budget.
10          a.    And what did you do before you
Lt_    began working in that position?
L2          A.    Main aceountant in the -- main
L3     accountant in the general direetorate.
T4          A.    The general directorate is
L5     within the PA?
L6          A.    Yes.
t7          a.    And what did you do before
L8     that?
19             A. I worked as a sub-accountant in
20     the general directorate and the budget,
2L     financial budget.
22             a.     And what did you do before
23     Lhat?
24          A.    I was working asr an accountant
25     in the U.S.A.

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                          Farid Ghannam 30 (b) (5)
                               ,July 29, 2O2L

 1                    Farid Ghannam
 2         O.     How long have You been working

 3    for the PA?
 4         A.     25 Years.
 5          0.   For those 25 Years did You hold
 6    any tit1e, other than Ehe ones that you
 7    just listed for me as we were going through
 I    your past emPloYment?
 9          A.   I didn't work in anY Positions,
l-0   other than the ones that I have mentioned
1l-   to you.
L2         O.    In your current Position' are
13    there any particular aspects of the work of
t4    the Ministry of Finance that are directly
15    within your purview?
16         A.    Withj-n mY Purview what?
T7         A.    Are there any Particular
t_8   subdivisions of the Ministry of Finance
L9    that report to You, for examPle?
20         A.    As a dePutY in t'he MinistrY of
2t    Finance, I follow uP with all the
22    subdivisions of the Minietry of Finance.
23         a.    As a dePutY of the MinistrY of
24    Finance, are you engaged in any particular
25    work that the Ministry of Finance doee

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                                  Farid Ghannam 30 (b) (6)
                                       ,JuJ-y 29, 2O2L

  1                            Farid Ghannam
  2    Mr. Ghannam?
  3          A.         Yes, I do.
  4                     MS. VINCZE: This is Exhibit
  5           Number 1.         For the record, this is
  5           the 30(b) (G) Notice dated ,.]une LG,
  7           202]- -

  8                     MR. BERGER: Do you have an
  9           Arabi-c translation?
L0                      MS. VINCZE: No.
11_          a.         Do you recognize this document
L2     Mr. Ghannam?
1_3         A.          Yes.
1,4         a.          What is it?
L5          A.          This document was presented to
L6     R€, translated into Arabic by the
L7     attorneys, concerning some erlmon)rms, and f
L8     read it.
19          a.          When did you first     see it?
20          A.          I saw this document about a
2L     month ago.
22          a.     And do I understand it
2t     correctly that you were shown this document
24     by your attorneys?
25          A.      Yes.


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                            Farid Ghannam 30 (b) (5)
                                 ,July 29, 2O2L,




 1                       Farid Ghannam
 2         a.     Are You aPPearing todaY
 3    pursuant to this notice?
 4         A.     Yes.

 5         A.    Are you aware that You are here
 6    to testify on behalf of the PA?
 7         A.    Yes.

 8         A.    Who designated You to testifY

 9    on behalf of the PA?
10         A.      The Minister of Finance-
Ll-        a.    Are You aware that You are also
1,2   here to testify on behalf of the PLO?
l_3        A.    Yes.

T4         0.    Who designated You to testifY

t5    on behalf of the PLO?
16          A.     The Minister of Finance.
17         a.    Have You read the dePosition
l_8   topics on pages 2 through 3?
1"9        A.    Yes.

20         A.    Topic l- asks for testimonY
2L    regarding any palrments made by defendants,
22    directly or indi-rect1y, after April 18,
23    2O2O to any individual         Pardon me
24    payments made by defendants directly
25    withdraw the question.

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                            Farid Ghannam 30 (b) (5)
                                 iluly 2 9, 2021-
  L                     Farid Ghannam
  2                 Topic 1 asks for testimony
  3    regarding "any payments made by defendants,
  4    directly or indirectly, after Apri1 18,
  5    2020 to any family member of any individuat
  5    following such individual'g death while
  7    committing any of the specified attacks,
  8    including the reason for such paymenls."
  9                 Correct?
1-0          A.     Yes.
l_1          a.     Are you the person most
L2     knowledgeable about this topic with respect
1-3    to the PA?
t4          A.    Yes.
L5           a.     Are you the person the most
L6     knowledgeable about this topic with respect
t7     to the PLO?
1_8         A.     Yes.
L9          a.      Do you have direct knowledge of
20     this topic?
2L          A.     Yes.
22          a.      How do you have direet
23     knowledge of this topic?
24          A.   Alt the palrments that are made
25     to the families of the detainees and

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                            Farid Ghannam 30 (b) (5)
                                 'JuIy 29, 2O2L

 1                     Farid Ghannam
 2      martyrs, whether it's inside or outside,
  3     goes through the Minister of Finance'
  4                MR. BALOUL: Objection to
  5            this is Gassan Ba1ou1. Objection to
  6            the translation. He did not say
  7            detainees . He said all Palrments,
  I            period. No detainees.
  9                 THE INTERPRETER: This is the

t-0            interPreter. He sald both.
l- l_               (Cross-ta1k in Arabic. )
12                  MR. BERGER: WhY don't we have
13             him repeat the anEwer, and maybe this
1,4            time he'11 give us a litt1e bit more'
1_5                 MS. VINCZE: Mr- Berger, I'rl
16             going to rePeat the question, and
L7             then we will have the answer. All
l_8            right?
L9            a.     Now, how do You have direct
20      knowledge of this toPic?
21           A.    All the PaYments that is made
22      to the families of the wounded and martyre,
23      whether inside or outside, goes through the
 24     Ministry of Finance.
 25                  MS. VINCZE: A quick question


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                             Farid Ghannam 30 (b) (6)
                                  lTuly 29, 2O2L

  1                   Farid Ghannam
  2          for the interpreter. AI1 the
  3          payments made to the families of the
  4          wounded and the what?
  5                 THE INTERPRETER: The martyrs.
  5                 MS. VINCZE: Martyrs?
  7                 THE INTERPRETER: Yes.
  I                 MS. VfNCZE: Thank you.
  9                 (Court reporter clarification.       )

10          a.      Mr. Ghannam, how did you
11    prepare for today's deposition regarding
L2    this topic?
L3          A.    After being designated to
t4    testify in this matter, f formed a group of
l_5   employees to try, within my accumulative
t6    experience for a long time in the Ministry
L7    of Finance, to gain and to let them obtain
18    the much possible detailed information
l_9   about this matter, as you requested.
20         A.      Who was in that group of em --
2L         A.       Can I continue?
22                 MS. VINCZE: f withdraw the
23          question. Please continue,
24          Mr. Interpreter.
25         A.    I did call the deputy of the

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                            Farid Ghannam 30 (b) (5)
                                 iluly 29, 2O2L

 1                       Farid Ghannam
 2                   And, Counsel, when You get to a
 3             convenient stopping point, w€'ve been
 4             going about an hour and a ha1f, w€
  5            will aPPreciate a short break.
  6                 MS. VINCZE: Itve got a couPle
  7            of more questions, and then we can
  8            take our break.
  9                  MR. BERGER: Sounds good.
l-0          a.    Mr. Ghannam, it was with this
l- l_   group that you discussed the laws that
T2      govern the mechanisms regarding these
l_3     topics and the Martyrs and Wounded Affairs?
T4           A.    The affairs to govern the
l_5     matters of families of wounded and martyrs,
L6      yes.
t7             0.    What laws?
t-8            A.     There is a law that was
1"9     produced and modified the previous law. It
20      was produced ln 20!6, governing the taking
2A      care of the families of the wounded and
22      martyrs.
23             A.     Do You know the title   of that
 24     Iaw?
 25                   THE INTERPRETER: This is the


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                                  Farid Ghannam 30 (b) (G)
                                       rJuly 29, 202L

     l_                      Farid Ghannam
     2              interpreter. I will repeat the
     3           question.
     4                    (Question repeated. )
     5                   THE INTERPRETER: This is the
     6           interpreter.  the respondent didn't
     7           hear me c1ear1y, so I wil1 repeat the
     I           question.
     9                   (Question repeated. )
10             A.    ft's the law taking care of the
1_   l-   families of wounded and martyrs.
L2                       MS. VINCZE: All
                                       right. Let'g
1_3              go off the record, please, and take a
t4               five-minute break.
l_5                      THE VIDEOGRAPHER: We are now
t6               off the record. The time is L3:02
L7               UTC time.
L8                       {A recesE was taken. )
19                       THE VIDEOGRAPHER: We are back
20               on the record. The time is L3: l-g IIIC
2t               tlme.
22                       MS.   VINCZE: Thank you.
23             a,        Mr. Ghannam, earlier     we were
24        speaking about how you're preparing to
25        speak on topic 3, is that right?

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                               Farid Ghannam 30(b) (6)
                                    iluly 29, 2O2L

  1                         Farid Ghannam
  2          A.      Yes.
  3          a.    And you mentioned that you met
  4     with certain employees of the Ministry of
  5     Finance?
  6          A.      Yes.
  7          A.    Who did you meet with from the

  I     Ministry of Finance?
  9          A.    I met with Mohammad Hamasha,
10      the IT for the salaries in the Ministry of
t_ l_   Finance. Ms. Fidak Abu Hmaid, the Iega1
t2      consultant for the Ministry of Finance.
L3      And Ms. Deltalik Oma1, (phonetic), an
1,4     accountant in the Ministry of Finance.
L5           a.    Did you meet with anybody else
16      from the Ministry of Fj-nance in preparation
L7      for this deposition?
L8           A.    No.

l_9          a.    Subsequent to the date we
20      issued this notice, defendants produced
2L      other documents reflecting payments made by
22      defendants directly or indirectly after
23      April 18, 2O2O to family members of
24      individuals who died while committing
25      certain of the specified attacks. I

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                              Farid Ghannam 30 (b) (5)
                                   iluly 29, 202L

 t-                        Farid Ghannam
 2    believe those documenLs have production
 3    numbers ifD559 through ifDl-101.
 4                  Are you similarly prepared to
 5    answer questions about those later-produced
 5    documents?
 7         A.       Yes.
 8                  MS- VINCZE: Simek, can you
 9           please pull up tab 7 onto the screen.
10           We are marking this asr our next

L1           deposition exhibit.  I believe that
L2           makes it Exhibit Number 2. It's a
1-3          document we received from *- we1I,
14           hold on, here we go. It's a document
15           we received from defendants with
l6           production numbers ,JDl-2 through
L7           JD249.
L8                  (Exhibit 2, Document Bates
L9           stamped Shatsky-,fD00012 through
20           Shatsky-iID00249, marked for
2L           j.denLi f i.caLi on " )

22         A.       Mr. Ghannam, can you see the
23    document?
24         A.       I'm waiting.
25                  MS. VfNCZE: Simek, can you

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                            Farid Ghannam 30 (b) (5)
                                 ilu1y 29, 2O2L

  L                     Farid Ghannam
  2           please scroll down to the original,
  3           that is .ID12, not the translation.
  4                MR. BERGER: We don't have any
  5           document up on the screen.

  6                 MS    VINCZE: Do you have paper
  7           copies available?
  8                 MR    BERGER: We're trying to
  9           get them.
10                  MS. VINCZE: OkaY.
t_ l-               MR. BERGERz 3"2 through 249.             I
L2            don't think we have them organized by
t_3           that way, but you'Il     tell   us.
L4                  MS. VINCZE: Well, these are
L5            the documents you produced to us,
L5            production numbers ,JD12 through
1,7           ,JD249.

t_8                 MR. BERGER: Yeah, I heard You
19            the first    time.   Irm telling      you we
2A            don't have our paper copies organized
2L            that way.
22                  MS. VINCZE: Can you put these
23            documents in front of him?
24                  MR. BERGER: Okay, now it's          uP

25            on the Elcreen.

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                              Farid Ghannam 30 (b) (5)
                                   iluly 29, 202L
   1                      Farid Ghannam
  2           a.     Mr   Ghannam, can you see the
  3     document?
  4                I can repeat the guestion.
  5     Mr. Ghannam, can you see the document?
  5          A.    Yes.
  7          a.    Do you recognize it?
  8          A.    Yes.
  9          a.    What is it?
1_0          A.    This is a document prepared by
1_ l_   the affair    by the Martyrs and Wounded
12      family affairs to represent the financial
l_3     component regarding Muslim -- regarding the
L4      Bay Sala Hadine (phonetic)
l_5                   (Interpreter speaking in
L6            Arabic. )
L7                   THE COURT REPORTER: I'm sorry,
1-8            I didn't understand that last part.
L9                   THE INTERPRETER: Regarding
20             this is the interpreter. This is a
2I             name. It is Sala Hadine ,Jadalahasan.
22             (Phonetic) .
23           a.      Mr. Ghannam, I'm going to
24      represent to you that this exhibit contains
25      the originals with production numbers iID12

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                           Farid Ghannam 30 (b) (5)
                                r.Tuly 29, 202L

 1                    Farid Ghannam
 2    through iID   I believe it is 249.
 3                MS. VINCZE: Mr. Berger, would
 4          you stipulate that these are business
 5          records admissible under Rule 8036 of
 6           Federal Rules of Evidence?
 7                                     think we
                     MR. BERGER: Yeah, I
 I           sent you a written stiPulation to
 9           that effect about two weeks ago, and
L0           never heard back from You- But, Yes.
LL                MS. VINCZE: But, Yes? Thank
L2           you -

1_3                  MR. BERGER; Yes.
T4                   MS. VINCZE: OkaY.
1s          a.       Lookl-ng at this Page, Mr.
l_6   Ghannam, this  refers to the Martyrs and
t7    Wounded Affairs Establishment, is that

1_8   right?
l-9        A.    Correct.
20         a.    Is that the same MartYrs and
2L    Wounded Affairs that you were working with

22    to prepare for this dePosition?
23         A.    Yeg.

24          O.   WhaL is the MartYrs and Wounded

25    Affairs Establishment?

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                                   Farid Ghannam 30 (b) (5)
                                        rJuly 29, 2O2L

  1                             Farid Ghannam
  2             A.       It's   an estab        one of the
  3    establishments of the Palestinian
  4    Authorities that present support for the
  5    families of wounded and martyrs.               They
  5    present financial          support for these
  7    families, and rehabilitation,             to enable
  I    them to live a decent living             and to prevent
  9    financial needs and to have a good living
L0     condition in the community.
1l_          a.   Who is the head of the martyrs,
L2     families and injured -- pardon    the
l_3    Martyrs and Wounded Affairs Establishment?
t4              A.       The Minister Intissar      al-Wazir.
l_5          a.   Does she have any ot.her titles
L6     within the PA?
L7              A.       No.
l_8             a.       Does she have any other         any
l-9    titles        within the PLO?
20              A.       She was the head of the pLO
27     when i-t was outside.           And when the pLO came
22     inside, when the PA has been established in
23     L994, and she continued to be the head of
24     the PLrO.
25              a.      Does she still     have that

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                           Farid Ghannam 30 (b) (5)
                                iluly 29, 2A2L

 1                      Farid Ghannam
 2    position?
 3                 MR. BALOUL: SorrY, Counsel,
 4           this is another objection to the
 5           translation. Not the head of the
 6           PLO. The head of the ministrY of
 7                 (Court rePorter clarification. )
 8                MR. BALOUL: The head of the
 9           mj-nistry of the families of martyrs
L0           and those injured.
t_1                MS. VINCZE: The head of the?
1,2          I can't hear You.
13                 MR. BALOUL: The institute      of
1-4          the      for the families of the
15           martyrs and those j-njured-
L5                MS. VINCZE: Mr. InterPreter,
T7           is that what Mr. Ghannam said?
L8                THE INTERPRETER: I thought

1-9          this is interPreter sPeaking now-
20           Not on the other Part. The question
2L           was does she hold anY Positions in
22           the PLO. This was the question
23           pending.
24                  MS. VINCZE: That is correct.
25           And what was the answer that Mr.

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                               Farid Ghannam 30 (b) (5)
                                    July 29, 2O2L
  1                         Farid Ghannam
  2           Ghannam provided?

  3                  THE INTERPRETER: My
  4           understanding was he was referuing to
  5           the PLO. I 'm more than happy to
  6           clarify that, if you want me.
  7                 (fndiscernible male voice. )
  8                  MS. VfNCZE: I will repeat the
  9           question. No, no, Mr. -- first of
10            all, I can't hear who's speaking
LL            right now, but f will re-ask the
t2            guestion and then we will get the
13            answer that we get and take it from
L4            there.
15           a.      Mr. Ghannam, what        withdrawn.
L6                 Mr. Ghannam, does Ms. AI-Wazir
L7     hold any titles within the pLO?
l_8         A.     For the time being, she doesnrt
19     hold any position in the pLO.
20          0.       Did she hold a title     in the pLO
2L     previously?
22          A.       Yes.
23          0.       What was that tiLle?
24          A.       She was the head of the
25     establishment of the martyrs and wounded

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                           Farid Ghannam 30 (b) (5)
                                iluly 29, 2O2L

 L                      Farid Ghannam
 2    that belongs to the PLO.
 3         A,    And when did the establishment
 4    of the martyrs and wounded belong to the
 5    PLO?

 6           A.    It joined it in 1968.
 7           a.    And until when was it Part of
 I    the PLO?
 9         A.      Until L999.
l-0          a.    What haPPened in 1999?
L1                 MR. BERGER: Go ahead, Please'
12            I'11 note mY objection after You
13            translate.
L4                  (fnterPreter translates. )
L5                  MR. BERGER: Objection-
l_5           Outside the time frame for
a7            jurisdictional discovery, but you may
1_8           answer.
L9           A.  In L999, the followers of the
20    martyrs and wounded were transferred from
2L    outside the country to inside    to become
22    inside the country, and it became part of
23    the social ministry, social affairs
24    ministry, and so it was headed by Minister
25    Intissar al-Wazir.

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                            Fartd Ghannam 30 (b) (6)
                                 July 29, 2Oz 1
  1                   Farid Ghannam
  2        a.    Is the social affairs ministry
  3   part of the PA?
  4        A.    It's part of the pA.
  5        a.    And, if I understand correctly,
  6   it was part of the pA in L999?
  7                  MR. BERGER: Objection.
  I          Outside the scope of the notice and
  9          outgide the ecope of jurisdictional
10           discovery, but you may answer if      you
1_L          know.
L2         A.     Yes, up until l-999, it wae part
l-3   of the PLO. From 1999, it became under the
t4    PA, up until 2006, where it became
15    separated from the Ministry of Social
16    Affairs, to become a separate establishment
L7    that has its own budget and affairs.
18         A.     To clarify.  When you say it
1-9   became a separate establishment, does that
20    mean it's an establishment within the pA?
2L                   MR. BERGER: Same objection.
22          You may answer if you know.
23         A.    It became an establishment
24    within the PA, but. it's independent, and
25    it's independent within its financiat

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                               Farid Ghannam 30 (b) (5)
                                    July 29, 202L

  1                         Farid Ghannam
  2         A.     It's an establishment like anY
  3     other establishment, it would be within the
  4     general budget. The budget is discussed
  5     depending on the financial needs of this
  5     establishment and the document presented.
  7          a.      Now, Mr, Ghannam, do I
  8     understand correctly that among the things
  9     the martyrs and -- martyrs' families and
l-0     wounded care establishment does, is that it
1_ l_   provides support to the families of the
L2      wounded and martyrs?
L3            A.     Yes.
1,4           O.     What kinds of suPPort?
L5            A.     The kind of suPPort that it
L6      provides for the martyrs' families and
L7      wounded, it's  the financial support based
L8      on the needs of the familY that is
t9      determined by the
20                   (Cross-talk in Arabic. )
2a           A.     AIso, it provides
22      rehabilitation and health programs for the
23      martyrs' familj-es and wounded.
24           A.    What is the basis for the
25      establishment's authority to provide those

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                            Farid Ghannam 30 (b) (5)
                                 July 29, 2O2L
  1                      Farid Ghannam
  2    kindg of support?
  3                  MR. BERGER: Objection,
  4           ambiguous. You may answer if you
  5           understand the question.
  6         A.    This establishment works
  7    according to the law that governs the
  8    health    taking care of the family --
  9    martyrs' families and wounded, and whatever
10     the laws edy, the establishment works
11-    according to that 1aw.
L2          a.    Does that include the 2016 law
l-3    that you mentioned previously?
L4          A.    Yes.
l_5         A.    How is the work of the Martyrs'
L5     Family and Injured Care Establishment
t7     funded?
l_8         A.       From the general budget.
1_9         a.    And what is the source of the
2A     funds allocated to it from the general
2L     budget?
22          A.     The general income that comes
23     from the taxes collected, direetly and
24     indirbctly, from the Palestinian
25     population.

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                           Farid Ghannam 30 (b) (5)
                                ,July 29, 2O2L

 1                      Farid Ghannam
 2                 MS. VINCZE: Can I ask You to
 3          please PulI uP tab 8.       We can mark

 4           this as our next deposition exhibit'
 5           Itrs a document let's Page down to
 6           the original. Thank You.
 7                (Exhibit 3, Document Bates
 I           stamped Shatsky-JD00l-L3 through
 9           Shatsky-.fDO0L1-7, marked for
10           identification. )
Ll-                MS. VINCZE: This i-s a document
t2           we received from defendants with
t_3          production numbers 'JDL13 through
I4           ifD117 .  This is Exhibit 3 , I believe '
L5                  Mr.    go ahead.
16                  (InterPreter interPreting. )
1,7         O.      Mr, Ghannam, can You Eee this
l_8   document?
L9          A.      Yes.

20          a.    What is it?
21          A.    This is a document generated
22     from the martyrs and wounded family affairs
23     regarding the financial division that
24     belongs to the financial support for the
25     family of the martYr.

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                                  Farid Gha.nnam 30 (b) (G)
                                       JuIy 29, 2O2L
     L                         Farid Ghannam
     2         a.       And who determines how that law
     3   will be implemented?
  4            A.   Division 5 and Division 10 of
  5      that law determines ln details who's Lhe
  6      beneficiaries and the amount of allocation
  7      and it's     the division also that determines
  8      whether that person is married or single
  9      and the allocations paid for the children.
10       This is in Division 5 and Division 10.
t-L           a.    Of which taw?
L2            A.        ft's    the law that governs
13       taking care of the families of martyrs and
1,4      wounded, law number            for the year 2016.
1_5                     (Court reporter clarification.        )

16                      MS. VfNCZE: This is for the
L7             interpreter.        But he provided a
1-8            number before the year of the Iaw,
L9             didn't     he?
20                     THE INTERPRETER: No, maram.
21             It'e    for year 2OL6.
22                     MS. VINCZE: For year ZOL6.
23            0.       On this document it      srayE 'case
24       type. martyr.'r       Right?
25            A.       Yee.


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                            Farid Ghannam 30 (b) (5)
                                 iluly 29. 2O2L

  1                     Farid Ghannam
  2          0.     Does that mean that
  3     Mr. Al-Hafez has been determined to be a
  4     martyr?
  5          A.     Yes.

  5          a.    And under that there is a
  7     section called "Beneficiaries' Data-rl
  8     Coruect?
  9          A.     Yes. Yes.
10           a.     And there is a name Provided in
l- l_   that section, correct?
t2           A.    Yes.
13           a.    That name is Ahed Mahmoud Abd
L4      AI-Hafez, correct?
L5          A.     Yee.

L6            A.     What does it mean that his name
t7      is there?
L8           A.    lhis means this Person is the
L9      beneficiary person who's going to receive
20      the payment that is determined by the law
2L      for the martyr's familY.
22                   MS. VINCZE: Simek' can we Page
23             down to L14.
24            A.     Therets a section at the toP of
25      this page called "Discontinuation Data- "

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                                  Farid Ghannam 30 (b) (5)
                                       'July 29, 202L
   1                           Farid Ghannam
   2            A.      Yes.
   3                    MS. VINCZE: Simek, ean you
   4             please page down to ilDl-l_7.
   5            a.     A lot of the information in
   5    this table has been blacked out, correct?
   7         A.    Yes.
   8            a.     What is the information that
  9     has been blacked out?
10              A.      ftrs the information before
t_ t-   April 18, 2O2A, which is the cause for the
12      witnessing of the appearance today.
13              a.     Is this banking j_nformation?
L4              A.     This is information that does
15      not consent with the duration that is in
T6      question.      Thatts it.
1-7             a.     Looking at the rows that have
18      not been blacked out, I see there are
L9      columns titled         Month, ID No., Name,
20      Stipend. What is the information in these
2L      rows?
22              A.     Itrs        we have four columns on
23      Lhis document. The first          column is the
24      month, itts     April of 2O20, and then the ID
25      number, and then the name of the

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                          Farid Ghannam 30 (b) (5)
                               r.Tuly 29, 2O2L

 L                    Farid Ghannam
 2    beneficidrY, and t'hen the amount of the
 3    salary received by the beneficiary that is
 4    d.etermined according to the 1aw, and this
 5    is on a monthly basis and the currency is
 6    in Shekel.
 7         a.    What does it mean that it's
 8    Mr. A1-Hafez'g name in the name column?
 9         A.    It means that he is the
10    beneficiary of this alLocation'
1l-        a.    And in the month column, w€
L2    have April !, 2o2o through April L, 2021,
1_3   right?
I4         A.      Yes, maram.
15         O.    Is it fair to saY this shows
t6    that Mr. A1-Hafez has been receiving
T7    monthly payments from April 2O2O through
18    April 2021-?
1_9        A.      Yes.

20          O.     And to clarifY-    This is
2T    Mr. Ahed Mahmoud' Abdallah Abd Al-Hafez and
22    not Mr. Sadeq Ahed Mahmoud Abd Al-Hafez,
23    who is dead?
24         .A.. Yes.
25         O. And Mr. Ahed Mahmoud Abdallah

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                                 Farid Ghannam 30 (b) (6)
                                      July 29, 2O2L
     l_                       Farid Ghannam
     2    correct?
     3         A.    He received it according to the
  4       law that governs Lhe work of the
  5       establishment for martyrs and wounded to
  6       support the family, because the family is
  7       in need, and itrs not because their son ie
  I       a martyr. This     these amounts are for
  9       economical support for the families of the
L0        martyred person.
Ll_            a.      Mr. Sadeq Ahed Mahmoud Abd
T2        A1-Hafez was determined to be a martyr by
l_3       the Martyrs' Families and Injured Care
14        Est.ablishment, cclrrect?
L5             A.      Yes.
L5             O.      And he was determined to be a
L7        martyr because the Martyrs, Families and
1-8       Injured Care Establishment reviewed the
L9        applicable regulations and laws and decided
20        that he qualifj_ed, correct?
2L             A.    Yes.
22             a.      That is why on ilDLj_3 it saye
23        "Cage Tl4re Martyrr't correct?
24             A.      Yes.
25             a.      And if Mr. Sadeq Ahed Mahmoud

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                           Farid Ghannam 30 (b) (6)
                                July 29, 2O2L

 1                      Farid Ghannam
 2    Abd A1-Hafez had not been determined to be
 3    a martyr, then his       then Ahed Mahmoud
 4    Abdallah Abd A1-Hafez would not be
 5    receiving these payments, correct?
 5         A.    According to the law of the
 7    establishment of the martyrs and wounded
 8    affairs, he has to be considered as a
 9    martyr, and then, according to the 1aw, it
10    has to be a financial need for the family,
L1    and it's   determined by the establishment
l2    for martyrs and family and the wounded
l_3   family affairs that the family is in need,
L4    and that, therefore, this allocation was
L5    dispensed to the family to cover the
L6    economic needs.
L7          O.   But, if Mr. Atred Mahmoud
L8    Abdallah Abd Al-Hafez was simply in need,
l_9   and hie son had not been determi-ned to be a
20    martyr, then he would not be receiving
21    these palrments, correct?
22          A.     According to the law, Yes.
23                 MS. VINCZE: OkaY. I would
24           like to take a quick break, so let's
25           go off the record and take our little

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                               Farid Ghannam 30 (b) (G)
                                    iluly 29, 2O2L
  1                     Farid Ghannam
  2            five-minute break.
  3                     (Recess taken. )
 4                     THE VIDEOGRAPHER: We are off
 5             the record. The time is L4:34 UTC
 6             time.
 7                     (A recess was taken. )
 I                     THE VfDEOGRAPHER: We are on
 9             the record. The time is L4:4T UTC
10             time.
l-L                    MS. VINCZE: We would like to
12             designate this as Exhibit Number 4, I
L3             believe,
a4                     (Exhibit e, Document Bates
L5             stamped Shatsky-,JD0O972 through
16             Shateky-,JD00990, marked for
17          identification. )
18         a.    This is a document we have
L9    received from defendanLs, production
20    numbers JD977 through JDggOO I'm sorry,
2L    JD990.
22                     Mr. Ghannam, do you recognize
23    this document?
24         A.    Yes.
25         a.          And you can see it?

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                              Farid Ghannam 30 (b) (6)
                                   JuIy 29, 2O2L

 L                         Farid Ghannam
 2          A.     Yes.
 3          a.    What is it?
 4          A.    This is a document Produced
 5     from the establishment for the wounded and
 6     martyrs family affairs, and this document
 7     is called social seareh.
 I          A.    Social search.
 9                  MR. BALOUL:     No, it's   socj-al
10            investigation.
11                  MR. BERGER:  I think that's
t2            the translation is     we think is
1,3          investigation, not search.
t4               MS. VINCZB: I see.
L5         a.     Mr. Ghannam, when you spoke
L5     about preparing for the deposition today,
1,7    you mentioned looking at social
18     inveetigative reports, r believe. fs that
19     right?
20          A.    Yes.
23-         a.    Is this the kind of document
22     you were referring to?
23           A.     Yes.

24           a.     What, is   a social investigative
25     report?

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                            Farid Ghannam 30 (b) (6)
                                 ,JuLy 29, 2O2L

  l_                  Farid Ghannam
  2          A.   This report is    f will call
  3    that is done by an investigator from the
 4     establishment of the martyrs and wounded
  5    affairs that investigates when a family
  6    submits a request. The investigation is
  7    done to make sure that the family is in
  8    need, and this is as a result of the 1oss
  9    of one of their chiLdren.
10           a.     When you say "when a family
11     submits a request, 't is that a written
a2     reguest?
L3          A.      The family goes to the
t4     establishment for the wounded and martyrs
L5     affairs and they meet with the social
L6     worker.
1,7         0.     fs the social worker the same
18     persron who prepares the report?
l_9          A.    Yes.
20          a.    How does the family know to go
23,    to the social worker?
22          A.      When a martyr death happens l-n
23     a Palestinian family, the family goes to
24     the establishment of the martyrs and
25     wounded family affairs,    and they are met by

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                            Farid Ghannam 30 (b) (5)
                                 iluly 29, 2O2L

 1                   Farid Ghannam
 2    a social worker or socj-aI investigator to
 3    make sure that the family is in need for
 4    this allocation.
 5         O.     Letrs turn to    back to the
 6    document. It says "Case: MartYr of
 7    AI-Aqsa Intifada. " Correct?
 I         A.     This is what is written in the
 9    social investigation report. It's written
10    as martyr of Al-Aqsa Intifada.
LL                (Court rePorter clarification. )
L2            a.    And that information was
13    provided by the employee of the Martyrsl
14    Families and Injured Care Establishment
15    that wrote this rePort, correct?
L6            A.     Yes.

L7            O.     What does Al-Aqsa Intifada
1-8   mean?

L9            A.     Al-Aqsa Intifada, it's   a

20    population movement against the occupation-
21        a.     And there is a date on this
22    document, correct?
23            A.     Yes.

24            A.     March 3, 2OO2?
25            A.     Yes.


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                              Farid Ghannam 30 (b) (5)
                                   ,Ju1y 29, 202L

  1_                     Farid Ghannam
  2            a.     What is the significance of
  3    that date?
 4          A.    This date indicates the date
  5    that the family visited or came to the
  6    establishment of martyrs and wounded.
  7         a.    And it says 'tGovernorate:
  I    Qa1qi1ya. "     Correct?
  9            A.     Yes.
l-0            a.     What is the significance of
11     that?
1,2         A.    The importance of this is to
t-3    indicate whom did the investigation as the
14     division of the office and the government
L5     of Qa1qilya.
1_6            a.     Looking at the upper left
L7     corner of the document -- upper right
1_8    corner, pardon me. ft says it has the
l_9    Palestinian Authority's emlclem on it,
20     correct?
2L             A.     Yes.
22          A.    So this report was issued when
23     the Martyrs' Families and Injured Care
24     Establishment was still part of the pA,
25     correct?

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                             Farid Ghannam 30 (b) (5)
                                  iluly 29, 2O2L

  1                    Farid Ghannam
  2         A.     Yes, within the Palestinian
  3     Authority and the ministry of the socj-al
  4     affairs.
  5          a.   Let's turn to the next Page,
  6     978. The top of the page says "Part L:
  7     Personal Information' " Correct?
  8          A.      Yes.

  9          a.      And it says the case's name
10      Sadeq Ahed Mahmoud Abd A1-Hafez, correct?
l" l-        A.      Yes.

t2           a.    Is that the Eame Sadeq Ahed
L3      Mahmoud Abd Al-Hatez that we were

t4      discussing before?
15           A.      Yes.

16            a.     So that is the Person who is
L7      designated as a martYr in Exhibit 3?
L8            A.     Yes.

L9            a.     And it says "Beneficiary's fu1l
2A      name, Ahed Mahmoud Abdallah Abd A1-Hafez- "
2a      Correct?
22            A.     Yes.

23            a.     And benealh that name, in
24      parentheses, it says "wife, father, mother,
25      brother, sister It Correct?

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                                Farid Ghannam 30 (b) (5)
                                     iluly 29, 2O2L
   1                         Farid Ghannam
   2         A.       Yes.
   3         O.       And father is circled?
   4         A.       Yes.
   5         a.       Does that mean Ahed Mahmoud
   6    Abdallah Abd Al-Hafez is the father of
   7    Sadeq Ahed Mahmoud Abd A1-Hafez?
   I         A.       Yes.
  9         a.    Part 2 of the document reads
10      "Administrative fnformation.,r Correct?
t" 1-       A.    Yee.
a2           a.       And one of the eubsections of
l_3     this reads "Place and date of the
t4      incident. " Correct?
L5           A.       (Question translated - no
16      English answer provided) .
17           a.       What is the purpose of Lhat
l_8     subsection?
19                    THE COI'RT REPORTER:      f rm sorry.
20            What is the answer?        Was   ir
21            translated?
22                    THE INTERPRETER:       Yes. Yes
23            The answer is yes.
24                    MS. VINCZE: f can repeat the
25            quest,ion.


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                              Farid Ghannam 30 (b) (5)
                                   'JuIy 29, 2OZL
 L                         Farid Ghannam
 2         a        And there is a gubsecti-on that
 3    reads t'Place and date of the incident."
 4    Correct?
 5         A.       Yes.

 5         a.       What is the PurPose of that
 7    subsection?
 8         A.    This is documentation on the
 9    investigation report on the first page to
10    document the date and the location of the
l_1   incident.
L2          A.      What does the incident mean?
L3          A.      The incident is documented as
J,4   it's seen in the soci-al investigation
15    report, and it's written -- the detaj-ls are
T5    written in the administrative information
T7    mentioned.
18         a.    So, this is a Pre-Printed form
19    we are looking at that btas prepared by the
20    Martyrs' Families and Injured Care
2T    Establishment, correct?
22          A.      Yes.

23         a.    And when the    withdrawn-
24    What information did the Martyrs' Famj-lies
25    and Injured Care Establishment seek when it

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                            Farid Ghannam 30 (b) (5)
                                 ,JuIy 29, 202L

  t_                  Farid Ghannam
  2    asked after the incident?
  3         A.    The establishment for martyrs
  4    and wounded family affairs investigates,
  5    through the socj-al investigator, the death
  6    and the incident, and this can be done
  7    either from the death certificate, if it's
  8    available and present, or a certificate
  9    from the hospital to prove the death, if
L0     it's available.
Ll_         a.    And there is some handwritten
L2     information in the subsection, correct?
t_3         A.    Yes.
l4          O.    It say€r "February 1G, ZOO2
L5     Karnei Shomron Settlement near ealqj-Iya.,'
L6     Correct?
t7          A.       Yes.
l_8         a.       Why is that there?
l_9         A.       These informaLion includes to
20     document the date and the 1ocation of the
21     incidents.
22                   MS. VINCZE: Can you repeat
23           that?
24                   THE INTERPRETER: This
25           information is present to document

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                           Farid Ghannam 30 (b) (5)
                                iluly 29, ?OZL

 1                    Farid Ghannam
 2           the location and the date of the
 3          incident.
 4         a.    That's where and when Sadeq
 5    Ahed Mahmoud Abd A1-Hafez died, correct?
 6         A.    As it aPPears in the document,
 7    yes.
 I           a.     Whose handwriting is   that; who
 9    wrote that?
10           A.     The social investigator-
Ll-        a.    And how did the social
12    investigator determine thaE that was the
l_3   date and location of Mr. Sadeq Ahed Mahmoud
L4    Abd A1-Hafez's death?
L5           A.     From the death certificate    for
L6    the martyr death, 4e submit'ted by the
L7    family of the martYr.
18         a.     And therers a subsection called
t9    'rDetails of the incident. " Correct?
20           A.     Yes.

2L           O.  After that, it reads "MartYrdom
22    Operation in Karnei Shomron Settlement."
23    Correct?
24           A.     Yes.

25           a.     hlho wrote that?


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                              Farid Ghannam 30 (b) (G)
                                   iluly 29, 2OZL
  L                        Farid Ghannam
  2            A.      The soeial investigator.
  3            a.     What is the Karnei Shomron
  4    Settlement?
  5            A.      It's one of the settlements in
  6    the West Bank,
  7            a.     What does martyrdom operation
  8    mean?

  9            A.     As it's written in the
10     document, it's      a martyrdom operation Lhat
t_L    led to the death of a percon.
12         a.     How did the employee of the
13     Martyrs' Families and fnjured Care
14     Establishment determine that this was a
15     martyrdom operation?
16                    fHE INTERPRETER: I'm sorry,
1,7            this is the interpreter. It was
18             fading out. I,11 aek him to repeat.
L9                  (Clarifyirg. )
20          A.    The social investigator who
21,    works in the establishment documents the
22     martyr has happened, and he doesnrt
23     investigate the causes of the martyrdom
24     through either the death certificate or the
25     hospital certificate that is provided by

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                           Farid Ghannam 30 (b) (6)
                                r.TulY 29, 2O2L

 t                    Farid Ghannam
 2    documents is either a death certificate or
 3    a certifj-cate from the hospital, and these
 4    regulations are put to the law that governcl
 5    the establishment of the martyrs and
 5    wounded family affairs.
 7         a.     Do theY receive anY training on
 8    what to do with the documents and
 9    information theY receive?
l-o        A.    Yes. It's exPlained within the
11    law.
L2                  (Court rePorter clarification'    )


L3          a.   I don't understand. What
L4    training do theY receive?
1.5         A.   He is an emPloYee, the social
16    investigator is an employee who implements
l7    the law that have the secLions that
L8    explains the waY to aet, based on the
L9    divisions that govern the Iaw and the work
20    for that social investigator.
2L          A.   Does he receive anY training,
22    other than receiving printouts or other
23    electronic copies of the law t'hat he is
24     supposed to imPlement?
25           A.     He onlY imPlements the law that


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                             Farid Ghannam 30 (b) (G)
                                  ,July 29, 2O2L

     1                  Farid Ghannam
   2     has sections to explain the mechanism of
   3     war and how to implement the work that is
   4     needed within the social investigation
   5     mechanism.
   6          A.    Isn't it true that on this
   7     document, martyrdom operation refers to an
   I     act by which a person seeks to become a
   9     martyr?
10             A.   This document explains that a
t_ l-    person died and was considered as a martyr,
L2       according to the law, and it documents the
l_3      locaLion and the date of the incident.
t4             a.   What about his death qualified
L5       him to be a martyr?
1-5            A.   The qualification is the loss
L7       of Iife, ds the 1aw indicated in the
l-8      definition of the martyrdom.
L9             a.   Okay. Very wel1. Letrs turn
20       to page 979.
2a                    MR. BERGER: Counsel, while
22            yourre doing so, we're coming up on
23            the agreed end time, so if you can
24            wrap it up within some period of time
25            reasonably at 1-L:30, or shortly

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                          Farid Ghannam 30 (b) (5)
                               iluly 29, 2O2L

 1                     Farid Ghannam
 2          O.     But why does the Martyrs'
 3    Families and Injured Care EstablishmenE
 4    care what the relationship is between these
 5    people and the martyr?
 5         A.    Because it looks. into the need.
 7    of the family members of this family, as a
 8    result of the loss of that Person.
 9         a.    Are the payments made to the
L0    family members?
Ll_        A.    The payment is usuallY made to
L2    the head of the household, and it's based
1_3   on the family member of     family members
L4    and the need.
L5         a.    Let's look at ..TD980. There are
L6    three signatures on this document, correct?
1-7        A.    Yes.
18         a.    The first signature is under
t_9   "Recommendations of the Department. "
20    Correct?
23,         A.     Yes.
22          a.     Why is that signature there?
23          A.   Definitely, to verifY the
24    accuracy of the information that came in
25    the social investigation rePort.

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                               Farid Ghannam 30 (b) (5)
                                    July 29, ZOZL
 1                          Farid Ghannam
 2          a.       That includes verifying      the
 3    statement that           the statement 'tMartyrdom
 4    Operation in Ka::nei Shomron Settlementtr?
 5         A.        Thi-s verifies    the accuracy of
 6    what the social investigator has written
 7    based on the social investigation,          on the
 I    information of the family that has a
 9    martyr.
10          O.       But that includes the statement
1-1   "Martyrdom Operation in Karnei Shomron
L2    Settlement.'t     Correct?
13         A.        It document what has been
l-4   the information that has been written in
t_5   the social investigatorrs      report.
1_5        a.        Another signat,ure j-s under
L7    "Decision of the Establishment's Director,'r
1-8   correct?
19         A.        Yes.
20         O.        What does that mean?
2a         A.        This i-ndicates that at the
22    verification     of the information, that the
23    social investigator had written by the head
24    of the department, it is approved by the
25    general director to consider him as a

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                            Farid Ghannam 30 (b) (5)
                                 iluly 29, 2O2L

 1                   Farid Ghannam
 2    martyr since the date of martyrdom.
 3        a.     What is the date of martYrdom?
 4               THE INTERPRETER: This is the
 5              I will interpret what Lhe
 5           respondent has said, but the question
 7           was misunderstood, because it said
 8          definition again.
 9         A.    So, again, aa I mentioned
1-0   before, the definition of martyrdom is a
l_1   person who a person under the law is a
L2    person who loses his life,       regardless of
13    the age, as a result of a direct occupation
L4    act or as a result of the continui-ng
L5    occupation or as a consequence of the
16    occupation up until the end of the Iaw, aE
1-7   I mentioned previously, pursuant to the
18    Iaw. Up until the end of the definition,
L9    sorry, as I mentioned previously, pursuant
2A    to the 1aw.
2a          a.   All right. Irm going to ask mY
22    question again, because that wasn't my
23    question.
24                  My question was, what is Lhe
25    date of martyrdom?

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                              Farid Ghannam 30 (b) (5)
                                   ,July 29, 2O2L

   1                   Farid Ghannam
  2          A.    The date of martyrdom, as is
  3     mentioned in the information written in the
  4     investigation report, is February 1-6, 2002.
  5                    MS. VINCZE: I have no more
  5            questi-ons for today. Let's go off
  7            the record. please.
  I                    THE VIDEOGRAPHER: We are off
  9            the record. The time is l-5:38 IIIC
10             time.
t_ l-                  MS. VINCZE: lle would like a
12             rough draft.
l-3                    THE COI]RT REPORTER:
t4             Mr. Berger, would you like a rough
15             draft?
15                     MR. BERGER: Yes, pleaee.
L7                     (Off the record at 11:38 a.m.)
1_8


L9

20      FARID GHANNAII
2I      Subscribed and sworn to before me
22      this       day of              , 2O2L
23

24

25      NOTARY PUBLIC


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                            Farid Ghannam 30 (b) (6)
                                 JuIy 29, 2021,

 L                REPORTER' S CERTIF]CATION

 2

 3           l,    ROBERTA CAIOLA, hereby cert.ifY

 4    that FARID GHANNAM, t.he witness in t.he
 5    foregoing deposition, was duly sworn to
 6    testify to the truth and not.hing but the
 7    truth in the within-entitled cause; that
 8    said deposition was taken at the time and
 9    place herein named; that the deposition is
1_0   a Lrue record of the witness r s testimony as
1l_   reported by me, a shorthand reporter and a
1,2   disinterested person.
13           I further certify that I am not
t4    interested in the outcome of t.he said
15    action, nor connected with, nor related t.o
L6    any of the parties in said action, nor Lo
I7    t.heir respective counsel-.
l-8          IN WITNESS WHEREOF, I have hereunto
1,9   set my hand on .Tuly 30, 202L.
20

2I
22
                      C.rr q{q
23

24    ROBERTA CAIOLA

25


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                            Farid Ghannam 30 (b) (5)
                                 ,JuLy 29, 2021

 1                       ERRATA SHEET

 2       I, FARID GHANNAM, do hereby certify          that
 3     f have read t.he foregoing transcript         of my
 4     tesLimony, and further certify      that said
 5     transcript   is a true and accurate record of
 6     my testimony (with the exception of the
 7     following corrections listed below) :
 8     Page     Line                Correction
 9

10

t_1

L2

13

I4
15

I6
I7
l_8

1_9


20

2L     Signed under penalties of perjury
22     t.his           day of             , 202]-.
23

24

25     FAR]D GHANNAM


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                          Farid Ghannam Volume II
                               iluly 30, 2O2L

                {'NITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK


    SI{ABTAI SCOTT SI{ATSKY,     )    Case No. l-8-Civ. l-2355
    individually and as          )
    personal representative      )
    of the Estate of Keren       )    VIRTUAIJ VIDEOTAPED
    Shatsky, if AIINE            )    DEPOSITION OF FAR]D
    SI{ATSKY, individually       )    GHANNAI4, VOLUME TI
    and as personal              )    'JUI-,Y 30, 202L
    representative of the        )
    Estate of Keren              )
    Shatsky, TZfPPORA            )
    SHATSKY SCHWARZ, YOSEPI{     )
    SI{ATSKY, SARA SHATSKy       )
    TZIMMERMAN. MIRIAII          )
    SHATSKY, DAVID RAPHAEL       )
    SI{ATSKY, GINETTE I.,ANDO     )
    TI{ALER, individually         )
    and as personal               )
    representative of the         )
    Estate of Rachel              )
    Thaler, LEOR THALER,          )
    zvr THALER, rsAAC             )
    TI{AIJER, HILLEIJ
    TRATTNER, RONIT
    TRATTNER, ARON S.
    TRATTNER, SHELLEY
    TRATTNER, EFRAT
    TRATTNER, IIADASSA
    DINER, YAEL HILIJ{AN,
    STEVEN BRAUN, CHANA
    FRTEDMAN, ILAN
    FRIEDMAN, MIRIAI'{
    FRIEDMAN, YEHIEL
    FRIEDMAN, ZVT FRTEDMAIiI,
    and BELLA FRIEDMAN,

            Plaintiffs,

            against




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                            Farid Ghannam Volume fI
                                 ,Ju1y 30, 2O2L

 1"



 2    THE PALESTINE
      LIBERATION ORGA}ITZATION
 3    ANd THE PALESTINIAI{
      AIIIHORITY (a/k/a "The
 4    Palestinian Interim
      Self-Government
 5    Authority" and/or "The
      Palestinian National
 6    Authority"),
 7
              Defendants.
 8

 9

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L2

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L7

L8

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                          Farid Ghannam Volume II
                               'July 30, 2O2L
1                VIRTUAI, VIDEOTAPED DEPOSITION OF FARID

2      GHANNAI,I, VOLUME II,   witness herein, called by
 3     the Plaintiffs, for examination, taken pursuant
 4     to the Federal Rules of Civil Procedure, by and
 5     before Kathy D. Landock, a Certified Realtime
 6     Reporter and a notary public in and for the
 7     Commonwealth of Pennsylvania, held remotely
 I     with all parties appearing from their
 9     respective }ocations, on Friday, iluly 30, 2A2l'
10     at 1L33 UTC time.
tl_

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                              Farid Ghannam Vo1ume II
                                   JuIy 30, 202L
      L   COUNSEIJ PRESENT:

     2
          For the Plainti-f f s:
     3               Melissa Maxman, Esq.
                     Ronald F. Wick, Esq.
     4                (Admitted Dro Hac Vice)
                     COI{EN & GRESSER, IJLP
     5               2001 pennsylvania Avenue, NW
                     Suite 300
     5               Washington, DC 20006
     7               Eszter Vincze, Esq.
                     Stephen M. Sinaiko, Esg.
     8               COHEN & GRESSER, IJLP
                     800 Third Avenue
  9                  New York, NY 1-0022
L0
          For the Defendants:
1l_                  Mitchell R. Berger, Esq.
                     ,Joseph Alonzo, Esq.
t2                   Salim Kaddoura, Esq.
                     Gassan A. Baloul, Esq.
1_3                  SQUTRE PATTON BOccS
                     2550 M Street NW
l4                   Washington, DC 20037
L5

l_6       ALSO PRESENT:
L7                   Corey Wainaina, Videographer
                     Hadeer AI-Amiri, fnterpreter
18                   Simek Shropshire
                     Mordechai Haller
1_9


20

2T

22

23

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                             Farid Ghannam Volume II
                                  iluly 30, 2O2L

1                                INDEX
n      WITNESS                                         PAGE

 3     FARID GHANNAM
4             By tvls. Vincze                           L04

 5

 5                              EXHIBITS
 7
       NUI'/IBER          DESCRIPTION                    PAGE
 B
       Exhibit     5      Production Numbers
 9                        iID l-84 through 'JD l-88       l_L1

10     Exhibit 6          Production Numbers
                          iID 596 throug?r ,fD 602        ]_t 3
11
       Exhibit 7          Production Numbers
L2                        ifD l-94 through .ID 1"98       1,22


1_3    Exhibit I          Production Number iID 5L4       1'24

t4     Exhibi.t 9         Production Numbers
                          iID 589 through JD 698          L29
15
       Exhibit L0         ProducEion Numbers
t_6                       JD 225 through JD 228           t-30

L7     Exhibit     1-l-   Production Numbers
                          ,JD 83 through iID 85               3-44
18
        Exhibit 12        Production Numbers
l_9                       iID 896 through JD 9l-3             3"47


20      Exhibit L3        The law that governs the
                          caring of families of the
2L                        wounded and martYrs                 r_60


22

23

24

25


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                              Farid Ghannam Volume II
                                   r,Iuly 30, 2O2L

     1   video conference as we are proceeding.
     2                 Pursuant to RuIe 29 the parties also
     3   stipulate that Ms. Landock is an appropriate
  4      officer before whom this deposition may be
     5   taken, even though she is in pennsylvania and
  6      the witness is physically located j-n ,Jordan.
  7                    Do we agree?
  8                         MR. BERGER: I think that's
  9      correct for me. On behalf of the Defendants,
10       this is Mitchell Berger, we agree.
LL                          MS. VINCZE: So could you
L2       please pu1l up Deposition Exhibit No. 4.        Tab
l_3      9, Exhibit No. 4. please page to 928.
L4

L5                          FARID GHANNAI\4,
15       having been first duly sworn, was examined and
1,7      testified as follows:
l_8

L9                       EXAMTNATTON
20       BY MS, VINCZE:
21            a.   Mr. Ghannam. this document provides
22       February 15, 2OO2 and l(arnei Shomron Settlement
23       near Qalqilya as the place and date of the
24       incident; correct?
25            A.    Yes.


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                           Farid Ghannam Volume II
                                r,Tuly 30, 2O2L

 1          A.      And FebruarY 16, 2OO2, Karnei
 2     Shomron Settlement near Qalqilya was written by
 3     the social investigator working for the
 4     Martyrs' Families and Injured Care
 5     Establishment ; correct?
 6          A.    Correct, he works for the
 7     Establishment of the Martyers and Wounded'
 8          0.    FebruarY 16, 2OA2 is the date that
 9     Mr. Sadeq Ahed Mahmoud Abdel Hafez died;
10     correct?
l-1          A.      Correct.
t2          A.    Mr. Hafez died due to injuries
13     caused by an explosive devicer' correct?
1,4         A.    According to the rePort of the
l_5    social invest j-gator, Y€e.
t6          a.    And You have no reason to believe
T7     that the social investigator wasn't being
L8     truthful r' correct?
L9          A.      Correct.
20           a.     And the explosive device that killed
2L     Mr. Sadeq Ahed Mahmoud Abdel Hafez is the one
22      that detonated himself; correct?
23           A.    As the social investigator
24      documented in his report regarding the date and
25      the place of the accident, it is a martyrdom

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                                Farid Ghannam Volume II
                                     'JuIy 30, 2O2L
     1   incident near Karnei Shomron Settlement.
     2          O.       But what I am asking you is whether
     3   the explosive device that killed Mr. Sadeq Ahed
  4      Mahmoud Abdel Hafez is       one that he detonated
  5      himself. And that is correct; right?
  6          A.     According to the soclal
  7      investigatorrs report prepared by the social
  8      investigator, it stated that it's a martyrdom
  9      act.
10             a.   Mr. Ghannam, I am not asking you
1-L      what the document says for place and date of
L2       the incident. I am asking you if it is correet
13       that Mr. Sadeq Ahed Mahmoud Abde1 Hafez was the
L4       person that detonated the explosive device that
1_5      killed him. And that has a yes or no anewer.
L5             A.   Yes.
17              a.      And the explosive device that ki11ed
l_8      Mr. Sadeq Ahed Mahmoud Abde1 Hafez kilIed other
19       people, too; correct?
20            A.    According to the report of this
2L       social investigator, yes.
22            A.    You have no reason to believe that
23       the soeial investigator was being untruthful
24       when he said that,. correct?
25            A.    Yes     -




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                             Farid Ghannam Volume II
                                  r.Tuly 30, 2O2L

 L            O.     When the social investigator

 2     completed this report, he relied on this
 3     information; correct?
 4          A.    Yes.

 5          O.    Further, when the Martyrs' Families
 6     and Injured Care Establishment designated
 7     Mr. Sadeq Ahed Mahmoud Abdet.Hafez, it also
 I     relied on this information; correct?
 9     Withdrawn.
10                   When The Martyrs' Families and

L1-    Injured Care Establishment designated Mr' Sadeq
l2     Ahed Mahmoud Abdel Hafez as a martyr, it also
t3     relied on this informationr' correct?
L4          A.    Yes.

t5          O.    That is whY the confirmation
1"5    pardon me. Can we page to lTD 98L pardon me,
t7     980.
18                    There is text on this Page stating
1-9    he is to be confirmed as a marlyr as of March
20     !, 2OO2 and be paid 500 shekels a month;
2L      correct?
22            A.      Yes.

23           a.    And the Person who wrote that was
24      the Director General of the Martyrs' Families
25      and Injured Care Establishment'; correct?

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                             Farid Ghannam Volume II
                                  rJuly 30, 2O2L

  1          A.       The general director depended on the
  2    recommendation of the director of the
  3    department and allowed this statement.
  4          A.       Did the Director General write the
  5    statement that he is to be confirmed as a
  6    martyr of the A1-Aqsa Martyrs as of March 1,
  7    2002 and be paid 600 shekels a month?
  8          A.       Yes.
  9          a.       What is an A1-Aqsa martyr?
10           A.       Pursuant to the 1aw from the
LL     Establishment of the Martyrs and Wounded
t2     Families Affairs defined a martyr as a percon
13     who lost his life at a specialty age as a
L4     result of the act of the occupation or as a
L5     result of the act of defending the occupation
l6     or as a military eonsequence of the occupation,
1,7    or the detainees who died in prison or who died
L8     a year after the release from prieon, or the
L9     wounded who died within three yearE of his
20     injuries as a result of the injuries.
2L           a.   Have you eompleted your answer,
22     Mr. Ghannam?
23           A.   Yes.
24          A.       Can you please pu1l up tab L2.     We

25     would designate this as Deposition Exhibit

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                            Farid Ghannam Volume If
                                 'July 30, ?OZL
 L     No. 5.
 2                          (Deposition Exhibit No. 5 was
 3     marked for identification.     )


 4     BY MS. VINCZE:
 5           a.     This is a document received from
 6     Defendants bearing production numbers 'JD 184
 7     through JD 188.
 8                  Mr. Ghannam, can You see the
 9     document?
L0           A.      Yes.

Ll-          a.      Do you recognize this document?
1"2          A.      Yes.

1_3         O. What is it?
L4          A.    This is a document that is the
1_5    financial section used for the Establishment of
16     the Wounded and Marters' Families Affairs
L7     regarding Abdel-Muti Mohammad Saleh Mohammad
18     Shabaneh.
L9           a.      The document states case t)Pe,
2A     marLyr; correct?
2L           A.      Yes.

22           a.    That means the Martyrs' Families and
23      Injured Care Establishment designated
24      Mr. Abdel-Muti Mohammad Sa1eh Mohammad Sabaneh
25      as a martyr; correct?

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                             Fartd Ghannarn Volume II
                                  July 3O, 2OZI
  1          A.       Yes.
  2          O.       Under beneficiaries data, it
  3    provides the name Rahma Mustafa Abd AI-Mun,im
  4    Shabaneh; correct?
  5          A.       Yes.
  6          A.      If you could please page to ,JD 1Bg.
  7                  Mr. Ghannam, is it fair to say this
  I    shows that Rahma Mustafa Abd Al-Mun,im Shabaneh
  9    has received a monthly payment from April        2O2O

10     through April J-, 2O2l as the beneficiary of
1_L    Abdel-Muti Mohammad Saleh Mohammad Shabaneh?
L2           A.      Yes.
l-3         O. And she has received a monthly
L4     stipend -- withdraw.
L5                   And she has received a monthly
15     payment of 1,400 shekels; correct?
l7          A.       Yes.
L8           a.      And these are payments made to Rahma
L9     Mustafa Abd A1-Muntim Shabaneh because
20     Abdel-Muti Mohammad Sa1eh Mohammad Shabaneh has
2L     been designated as a martyr; correct?
22          A.       Yee.
23          a.       Could you please pu1l up tab 13.     We

24     would designate this as Deposition Exhibit.
25     No. 6-

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                            Farid Gharrnam Volume II
                                 ilu1y 30, 2O2L

 t                          (Deposition Exhibit No. 6 was
 2     marked for identificaLion. )
 3     BY MS. VINCZE:
 4           a.   This is a document we received from
 5     Defendants with production numbers 596    ifD

 5     596 through 'JD 502.
 7                  Mr. Ghannam, can YoIf see the
 8     document?
 9           A.     Yes.

l-0          a.     What is it?
t_1          A.      Itrs a soci-al investigation
L2     regarding martYr.
13         a.     This is a social investJ-gative
L4     report prepared for the caEe of Abde}-Muti
15     Mohammad Saleh Mohamad Shabaneh; correct?

16           A.      Yes.

T7           A.   That is the same Person who we
L8     discussed when we were speaking about Exhibit
L9     No. 5; correct?
20           A.      Yes.

2L            a.   And it says Case: Martyr of Al-Aqsa
22      Intifada; correct?
23            A.   Yes.

24            a.   Let's turn to iID 597, please. This
25      document has a section called beneficiary's

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                             Farid Ghannam Volume II
                                  'July 30, 2O2L
  L    fulI name; correct?
  2          A.       Yes.
  3          O.       And the name provided is Rahma
  4    Mubtafa Abd A1-Mun'im Shabaneh; correct?
  5          A.       Yes.
  6          a.       Beneath that it says mother,s full
  7    name; Correct?
  8          A.       Yes.
 9          a.    And the name provided is Rahma
t-0    Mustafa Abd A1-Mun'im Shabaneh,. correct?
Lt_          A.       Yes.
12           a.       So Rahma Mustafa Abd Al-Mun'im
1-3    Shabaneh is the mother of Abdel-Muti Mohammad
t4     Saleh Mohammad Shabaneh,. correct?
15           A.      Yes.
L6           a.      And this is the same Rahma Mustafa
L7     Abd AI-Mun'im Shabaneh who, according to
L8     withdrawn.
L9                   So Rahma Mustafa Abd A1-Mun'im
20     Shabaneh       withdrawn.
2L                   This is the same Rahma Mustafa Abd
22     A1-Mun'im Shabaneh that has received palrments
23     from April 2O2A through April 2O2t as the
24     beneficiary of Abdel-Muti Mohammad Saleh
25     Mohammad Shabaneh; correct?


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                            Farid Ghannam Volume II
                                 iluly 30, 2OZL

 l_         A.      Yes.

 2          O.      And further down the Page it saYs
 3     place and date of Lhe incident; correct?
 4          A.      Yes.

 5          a.    And the P1ace and date of the
 6     incident provided is 'JuIy 1L, 2003, 'Jeruselam
 7     Mahne Yehuda Street; correct?
 I          A.    It's ilune 11, 2003.
 9          O.    So the Place and date of the
10     incident is ilune LL, 2003, ilerusalem Mahne
11-    Yehuda Street; correct?
L2          A.    Yes.

l-3         0.    And that was written by the social
L4     investigator employed by the Martyrs' Families
15     and Injured Care Establishment that wrote this
t-6    report; correct?
t7          A.    CorrecL.
L8          A.    Beneath that it says details of the
19      incident,; correct?
20           A.     Yes.

21,          a.     The details of the incident are
22      martyrdom operation in the City of iferusalem,
23      Mahne Yehuda Street, which caused the death of
24      L7 Israelis and injured nearly 100; correct?
25           A.      Yes.


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                              Farid Ghannam Volume fI
                                   iluly 30, TOZL
  1         a.    And that also was written by the
  2    social investigator employed by t.he Martyrs'
  3    Families and Injured Care Establishment that
 4     wrote this report,. correct?
 5           A.       Yes.
 5           0.       Mr. Abdel-Muti Mohammad Saleh
 7     Mohammad Shabaneh died in        that martyr
 I     operation; correct?
 9           A.       Yes.
l-0          O.       He died because he        withdrawn.
Ll_                   He died due to injuries caused by
l2     the detonation of an e>rplosive device; correct?
L3           A.       Correct.
t4           a.       And that explosive device was one
15     that he detonated himself; correct?
t6          A.    According to the report of Lhe
L7     social investigator, yes.
L8          a.    And you have no reason to believe
19     that the social investigator wasn't being
20     truthful when he wrote that; correct?
2L          A.    Yes.
22          a.   And the explosive device that
23     Mr. Abdel-Muti Mohammad Sa1eh Mohammad Shabaneh
24     detonated killed others, tclo; correct?
25                           MR. BERGER: Objection, asked


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                          Farid Ghannam Volume II
                               JuIy 30, ZOZL

 1     and answered.
 2     BY MS. VINCZE:
 3           a.     Mr. Ghannam, You may resPond-
 4          A.      According to what is written in the
 5     social investigator'g     report, yes-
 5           O.   And You have no reason to believe
 7     that the social investigator wasn't being
 8     truthful when he wrote this report; correct?
 9                        MR. BERGER: Objection, asked
10     and answered. You may anstwer again.
t_1                       THE WITNESS: Yes.

L2     BY MS. VINCZE:
13           a.     And the exPlosive device of
t4     Mr. Abdel-Muti Mohammad Saleh Mohammad Shabaneh
L5     also injured other PeoPle; correct?
1_5                       MR. BERGER: Objection, asked
L7     and answered. You may answer again.
l_8                       THE WITNESS: According to the

L9     report of the social investigator,       Y€8.
20     BY MS. VINCZE:
21           O.      And you have no reason to believe
22      that when the social investigator wrote that
23      this martyrdom operation injured nearly 1-00 he
24     was not being truthful;     coruect?
25                        MR. BERGER: Objection, asked


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                               Farid Ghannam Volume II
                                    iluly 30, 202L
  L     and answered. You may answer again.
  2                           THE WITNESS: Yes.
  3     BY MS. VINCZE:
  4           a.       And it was the bombing of
  5     withdrawn.
  6                    And it was the details of the
  7     incident        wit,hdrawn.
  8                    And it was this incident on ,June 11,
  9     2003 that caused Mr. Abdel-Muti Mohammad Saleh
l_0     Mohammad Shabaneh to be designated as a martyr,.

L1      correct?
L2            A.       Yes.
l_3          a.    Letrs turn to iID 599. There is a
l4      seclion of this called recommendati.on of the
l-5     department; right?
l_5          A.    Yes.
L7           0.    It states he was martyred as a
L8      result of a bomb attack in "Terusalem, f shadi;
L9      correct?
20           A.       Yes.
2t           O. And it says to be eonfirmed as a
22      martyr of the Al-Aqsa fntifada; correct?
23          A.     Yes.
24           A.    This is a recommendation that
25      because Mr. Abdel-Muti Mohammad Saleh Mohammad


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                                    ilu1y 30, 2O2l

 l_     Shabaneh is designated as a martyr, his mother
 2      received monthly payments,' correct?
 3              A. It was socj-al need, especially that
 4      the house that the mother of the martyr was
 5      living in was destroyed by the occupation by
 6      the Israeli occuPation forces.
 7           O.    But if Mr. Abdel-Muti Mohammad Sa1eh
 8      Mohammad Shabaneh had not been designated a

 9      martyr, then his mother would not be receiving
10      these payments; correct?
Ll_             A.      Pursuant to the 1aw, Yes.
L2                             Ms. VINCZE: This is for the
t_3     court reporter, I believe it's pursuant to the
L4      law.
1,5                            MR. BERGER: I think it's
1_6     still    missing a word. Pursuant to the law,
17      yes.
L8                             (Discussion held off the
L9      record. )
20      BY MS. VINCZE:
2L            a.    Mr. Ghannam, there is a section of
22       this called confirmati-on of the Director
23      General; correct?
24              A.      Yes.

25              a.      That states confirmed as a martyr of

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                             Fartd Ghannam Volurne II
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  L    probably what might be there.
  2                         MR. BERGER: Ir11 make a
  3    representat,ion to you given the limited amount
  4    of time we have that it is pre-April 2A2O
  5    payment amounts. And since payment information
  5    ig relevant only after April 18, ZO2O it         was
  7    redacted.
  I                         MS. VINCZE: We will take thie
  9    up later because I'm not inclined to epend a
10     lot of time on it now, but I will note similar
Ll_    information has not been redacted in other
L2     documents.
1_3    BY MS. VINCZE:
1,4          a.   Mr. Ghannam, it was the Director
L5     General that wrote, confirmed as a martyr of
16     the A1-Aqea Intifada as of ,.Tune 1, 2003 and
l7     wilt be paid aome unknown amount shekels a
L8     monthr. correct?
19          A.       Yes.
20          a.       When he confirms Mr. Abdel-Muti
2L     Mohammad Saleh Mohammad Shabaneh, he wae

22     relying on the information contained in t.he
23     social investigative reportr. correct?
24          A.       That includes the information
25     provided on ,JD 597; correct?

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L           A.      Yes.
2           O.    Therers no reason to believe that
3      the information in this social investigative
4      report is not accurate; correct?
 5          A.    Yes.

 5          a.    Can You P1ease PulI uP tab L0- We
 7     would like to designate this as Deposition
 8     Exhibit No. 7.
 9                          (Deposition Exhibit No. 7 was
t0     marked for identification.     )


1L     BY MS. VINCZE:
L2           0.      this is a document produced to us by
13     Defendants bearing production numbers .ID l-94
T4     through 'JD 198.
L5                   Mr. Ghannam, can You see this
L6     document?
l7           A.      Yes.
L8           a.      What is it?
L9           A.   This is a document produced from the
20     EstablishmenL of the Wounded and Martyrs'
2L     Families Affairs regarding the martyr, Ramiz
22     Fahmi Izz aL-Din Aslam. It's        regarding the
23     f inancial information.

24         A.     This document says case tlPe'
25     martyr; correct?

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                                   iluly 30, 2O2L
   1          A.       Yes.
   2          a.   That meana that Mr. Ramiz Fahmi Tzz
   3    al-Din Aslam has been designated as a martyr by
  4     the Martyrs' Families and fnjured Care
   5    Establishment; correct?
   5          A.       Correct, y€s.
  7          A.     And therers a section called
  I     beneficiaryts data; correct?
  9           A.       Yes.
10           A.    And the name provided under that
l_ l-   section is Ghalia Zaki Abd A1-Hamid Abu Salim;
L2      correct?
l_3           A.      Yes.
L4            a.      Let's please page to JD l_98.
L5      Mr. Ghannam, is it fair to say this shows that
L6      Ghalia Zakj- Abd Al-Hamid Abu Salim has been
L7      receiving monthly pa)rments from April          2O2O

l_8     through April 1, 2o2L?
l_9          A.       Yes.
20            a.      And she hag been rece j_ving those
2L      payments as the beneficiary of Ramiz Fahmi Tzz
22      aI-Din Aslam; correct?
23           A.       Yes -

24          A.     These are monthly payments of l_,400
25      shekels; correct?

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 L           A.      Yes.
 2           a.      She is receiving these PaYments
 3     because the Martyrs' Families and Injured Care
 4     Establishment has designated Ramiz Fahmi Tzz
 5     al-Din Aslam as a martYr; correct?
 5          A.    Yes.
 7          A.    Let's please PuIl uP tab 11.
 8     Mr. Ghannam, can you see the document?
 9           A.      Yes.
10           O.      What is it?     Withdrawn-
11                   Do you recognize it?
L2           A.      Yee.
13           O.      What is it?
L4           A.   This is a social investigation
1-5    document produced from the Establishment of the
L6     Wounded and Martyrs Family Affairs         regarding
a7     the martyr Ramiz Fahmi Tzz al--Din Aslam.
l-8         a.    This is the same Ramiz Fahmi Tzz
19     a1-Din Aslam that we discussed previously with
20     respect to Exhibit No. 7; correct?
2L           A.      Yes.

22           A.      We would like    to designate this as
23     Deposition Exhibit No. 8.
24                     (Deposition Exhibit No. 8 was
25     marked for identification.      )




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                                   ,JuIy 30, 2OZL

  L     BY MS. VTNCZE:
  2           a.       Can you please page to ,JD 5l_4.
  3     Therers a section called beneficiary's fuIl
  4     namer. correct?

  5           A.       Yes.
  6           A.       And the name provided is Ghalia Zaki
  7     Abd Al-Hamid Abu Salim; correct?
  I           A.       Yes.
  9          a.   And beneath that there,s a section
t-0     called motherts fulI name,- correct?
1"1          A.    Yes.
L2           a.   And the name provided there is
t_3     Ghalia Zaki Abd A1-Hamid Abu Salim; correct?
1,4          A.   Yes.
t_5          a.    So Ghalia Zaki Abd AlHamid Abu Salim
1_6     is the mother of Ramiz Fahmi Izz a!-Din Aslam;
l7      coruect?
l-8          A.       Yes.
19            a.      This is the same Ghatia Zaki Abd
20      A1-Hamid Abu Salim who has been receiving
2L      monthly payments as the beneficiary of Ramiz
22      Fahmi lzz al--Din Aslamr- correct?
23           A.       Yes.
24           a.       And there is a section eal1ed place
25      and date of the incident,- correct?

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                                  rJuly 30, ?OZL

 1          A.       Yes.
 2           a.      The information provided there is
 3     September 9, 2003, ,Jerusalem; correct?
 4           A.      Yes.

 5         A.     That information was provided by the
 6     investigator that completed this report for the
 7     Martyrs' Families and Injured Care
 8     Establighment; correct?
 9           A.       Yes.
l-0         a.    Therers a section beneath that that
tt_    sayc detaits of the incident; correct?
L2          A.    Yee.

1_3         a.    The information provided there is,
L4     the martyr used an explogive belt which he wore
l_5    wore on his body to perpetrate the martyrdom
16     attack on a coffee shop in the City of
L7     ilerusalem. The attack took place shortly
18     before midnight Tuesday, when the coffee shop
L9     was fil1ed with Zi.onists. Seven Zionists were
20     killed and dozens were wounded as a result;
2a      correct?
22           A,       Yes.
23           a.    That j-nformation was also provided
24      by the social investigator that completed this
25      report on behalf of the Martyrs' Families and

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                                     ,Ju1y 30, 2O2L

  1    Injured Care Establishment; correct?
  2             A.       Yes.
  3         0.    And you have no reason to doubt the
  4    accuracy of that statement, do you?
  5             A.       Yes.
  5          a.   When the Martyrs' Familieg and
  7    fnjured Care Establishment designated Ramiz
  I    Fahmi -- pardon me. Withdrawn.
  9                     When the Martyrs'      Families and
10     Injured Care Establishment designated Ramiz
11     Fahmi Izz al-Din Aslam as a martyr, it relied
L2     upon the details provided in this statement;
t-3    correct?
t4              A.      Correct.
l_5          a.     Let's turn to .JD 1GG. There is a
L6     gecti-on called recommendation of the
L7     department; correct?
18              A.      Yes.
L9              A.      Beneath that it. states a martyr of
2A     the Al-Aqsa Intifada,         single.    His parents are
2L     alive.        Became a martyr asr a result    of his
22     martyrdom operation in ,Jerusalem, therefore           we

23     recommend that you confirm hj-s status          as a
24     martyr of the A1-Aqsa fntifada in accordance
25     with the regulations,- correct?

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                                   'Ju1y 30, 2O2L

  1            A.      Yes.
  2           a.    The martyrdom operation referred to
  3      in this statement is the incident described on
  4      .lD 6l-4; correct?
  5            A.      Yes.
  6            0.      And there is a section beneath that
  7      that provides confirmation of the Director
  I      General; correct?
  9            A.      Yes.
1-0            O.      Beneath that section it states
t- t-    confirmed as a martyr of the Al-Aqsa Intifada
J,2      as of September L, 2003. Will be paid 600
L3       shekels a month; correct?
t4             A.      Yes.
l_5           a.    When confirming Mr. Ramiz Fahmi Izz

1,6      al-Din Aslam as a martyr, the Director General
L7       relied on the information in the social
l_8      investigative report; correct?
L9            A.    He depended on the information
20       present in the social investigator's report and
21       the recommendation from the director of the
22       department.
23             a.                is that the
                       To clarify,
24       recorlmendation on the top of this page?
25             .A,. Yes .

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  1      you quickly scroll up to the translation.            Can

  2      you scroll back down to the original.           So we
  3      would like to designate this as Exhibit No. 10.
  :
  A
         This is a document produced by Defendants
  5      bearing production numbers JD 225 through JD
  6      228.
  7                            (Deposition Exhibit No. 1O was
  8      marked for identification.       )


  9      BY MS. VINCZE:
10              A.      Mr. Ghannam, can you see the
t- l-    document?
I2              A.      Yes.
13              O.      Do you recognize the document?
1,4             A.      Yes.
15              a.      What is it?
15              A.      This is a document used from the
T7       Establishment of the Wounded and Martyrs'
L8       Family Affairs regarding Abdel Rahman Idris
19       Muhammad a1-Shaludi.         It concerns the financial
20       section.
2L            a.    The documenl states case type,
22       martyr; correct?
23            A.    Yes.
24            A.    That means the Martyrs' Families and
25       Injured Care Establishment has designated Abdel

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                            Farid Ghannam Volume II
                                 ,JuIy 30, 2O2T

 l_    Rahman fdris Muhammad al-Shaludi ast a martyr;

 2     correct?
 3           A.      Yes.
 4          0.    And therers a section called
 5     beneficiary' s data; correct?
 5          A.    Yes.
 7          A.    And the name provJ.ded in that
 I     section is Idrj-s Muhammad Yahya a1-Shaludi;
 9     correct?
L0           A.      Yes.
11           a.      Can we please page down to iID 228 .
T2                Mr. Ghannam, is it fair to say this
13     shows that ldris Muhammad Yahya al-Shaludi has
L4     been receiving monthly payments from April 2O2O
L5     through April    2021?

l-6          A.      Yes.
17          O. These are palrments he is recej.ving
1-8    as the beneficiary of Abdel Rahman Idris
L9     Muhammad al-shaludi; correct?

20          A.    Yes.
2a          Q. And these are payments wired to
22     Idris Muhammad Yahya al-Shaludi from funds
23     under the control of the Palestinian Authority;
24     correct?
25                          MR. BERGER: Objection to the


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 t     form, lacks foundation.
 2     BY MS. VINCZE:
 3          O.       You may anEwer, Mr. Ghannam.
 A
 =          A.       Yes.
 5           a.      So these are payments paid to Idris
 6     Muhammad Yahya a1-Shaludi from funds under the

 7     control of the PA; correct?
 I          A.       Yes.
 9          A.    These are paid using the banking
10     information provided on 'JD 225; correct?
LL           A.      Yes.
t2          a.       Can you please pull   up Exhibit
13     No. 10       sorry, Exhibit No. 9, which is the
L4     document we accidently pu1led up previously.
t5                   Mr. Ghannam, do you recognize this
L5     document?
t7           A.      Yes.
L8           a.      What is it?
19           A.      Itts a document regarding social
20     investigation     for Abdel Rahman Idris   Muhammad

23,    al-Shaludi produced from the Establishment of
22     the Wounded and Martyrs' Family Affairs.
23           a.      At the top of this document it says
24     Palestine Liberation Organization, does it not?
25           A.      Yes.


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  l_         O.    That is because the social
  2     investigator working on this report was working
  3     for the Palestine Liberation Organization;
  4     correct?
  5          A.    He was working for the Establishment
  6     of the Wounded and Martyrs' family Affairs, and
  7     as I mentioned previously, the Establishment of
  I     the Wounded and Martyrs' Family Affairs was
  9     part of the inetitution of PLO.
l-0          a.    Let's turn to -- withdrawn-
l- t_              Let'g turn to iID 690, Please. Under
L2      casers name the name provided is Abdel Rahman
L3      aI-Shaludy; correct?
t-4           A.     Yes.

l_5          a.    In the middle of the page there's a
16      section called adminisLrative information;
L7      correct?
1_8           A.      Yes.

t9            O.      And it provides a military rank of
20       combatant; correct?
21-           A.      Yes.

22            a.    That is because Mr. Abde1 Rahman
23       a1-Shaludy was a member of Al-Aqsa; correct?
24            A.      Can you repeaL the question again,

25       please.

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  l-         a.       That is because Mr. AbdeL Rahman
  2    Idris Muhammadal-Shaludy was a member of
  3    Al-Aqsa; correct?
  4          A.       Yes.
  5         a.    And beneath that there,s a section
  6    called place and date of the incident; comect?
  7         A.    Yes.
  8          a.       The place and date provided is
  9    October 22, 2AL4, French Hitl; correct?
L0           A.      Yes.
L1          a.    And beneath that section there,s a
1,2    section cal1ed details of the incident;
13     correct?
1,4          A.      Correct.
15           a.      And the details of the j-ncident
t6     provided are: He became a martyr, may Allah
L7     have mercy upon him, when he executed a
l-8    vehicular attack against a group of settlers in
L9     the City of ,Jerusalem, French HiIl. The attack
20     claimed the lives of two settlers and injured
2t     six others. As a result, one of the settlers
22     opened fire immediately after he got out of his
23     car, and so he was martyred on the spot;
24     correct?
25          A.       Yes.


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 1          a.      ThaL statement was written by the
 2     socj-aI investigator working for the Martyrsl
 3     Families and Injured Care Establishment that
 4     wrote this rePort; correct?
 5          A.      From the investigator that was for
 6     the Establishment of lhe Wounded and Martyrs
 7     Family Affairs, Y€s.
 8          a.     And you have no reason to doubt the
 9     accuracy of that etatement, do You?
t_0          A.      Yes.

i-1          a.   Letrs turn to iID 691-. This Page
L2     contains a familY table; correct?
13          A.    Yes.

t4          a.    And in the first row of that table
L5     it Eays Idris Muhammad Yahya al-Shaludi,
16     faLher; correct?
L7         A.     Yes.
1_8         0.    That is because Idris Muhammad Yahya
L9     al-Shaludi is the father of Abdel Rahman Idris
20     Muhammad al-Shaludi; correct?

21,         A.    Yes.

22          a.    This is the same Idris Muhammad
23     Yahya aI-Shaludi that has been receiving
24      monthly payments as the beneficiary of Abdel
25      Rahman Idris Muhammad aI-Shaludi; correct?


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                                   iluly 30, 202L
  1          A.       Yes.
  2          a.       Because the Abdel Rahman ldris
  3    Muhammad al-Shaludi referred to in           these
  4    documents is the same person as the Abdel
  5    Rahman fdris Muhammad al-Shaludi referred to in

  5    the exhibit we previously discussed; correct?
  7         A.    Yes.
  8          a.       IJet ' s turn to page 692 .    The top of
  9    the page reads recommendation of the
l-0    department,- correct?
11           A.       Yes.
12           a.       Beneath that it states the case
13     should be confirmed according to the
t4     recommendations and the necessary steps, as the
l_5    martyrrs parents are alive,. correct?
L6           A.       Yes.
17          a.    That was written by the social
L8     investigator that filted out this report;
l-9    correct?
20          A.        Yes.
2t          a.        And the martyr that statement refers
22     to is Abdel Rahman Idris Muhammad al-Sha1udi;
23     correct?
24          A.        Yes.
25          A.       When determining that Abdel Rahman


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 t     Idris Muhammad al-Shaludi is a martyr, the
 2     social investigator relied on the details of
 3     the incident provided on page ifD 690,' correct?
 4          A.    Yes.
 5          a.    Beneath that it. states decision of
 6     the Establishment's director; correct?
 7          A.    Yes.
 I          a.    And beneath that it states, I
 9     recommend that the case will be confirmed as a
10     martyr of Al-Aqsa Martyrs as of the date of his
LL     martyrdom, and the presi-dent's honorary payment
L2     will be added to his first allowance.
t_3                    INTERPRETER: It's not on the
t4     screen.
L5           a.      Can you please page down Eo 692.     T


L5     wiLhdraw the question.
L7                   Beneath the decision of the
l_8    Establishment's director it statee, I recommend
19     that the case will be confirmed ast a martyr of
20     A1-Aqsa Martyrs as of the date of his
21,    martyrdom, and the president's honorary payment
22     will be added to his first allowance. The
23     beneficiary of the payment is his father, Idris
24     Muhammad Yahya al-Shaludi, ID No. 02347395, and

25     the number, and there's a redacted number. Is

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  L      that right?
  2           A.     Yes.
  3            a.      The date of the martyrdom is October
  4      22, 2Ol4; correct,?
  5           A.    Yes.
  6           O. Because that is the date of the
  7      incident described in details of the incident;
  I      correct?
  9            A.      Yes.
l-0            O.      The incidents that occurred that, day
1" 1_    are what made Mr. Abdel Rahman Idris Muhammad
L2       a1-Shaludi a martyr for purpoeres of the
13       Martyrs' Families and Injured Care
t4       Establishment,. correct?
L5             A.      That's according to the law of the
l_6      Establishment of the Wounded Martyrs' Family
l7       Affairs, y€s.
18            A.    And the incidents as described in iID
19       590 are the ones considered by the Martyrs'
2A       Families and Injured Care Establishment when it
2t       determined that Mr. Abdel Rahman fdris Muhammad
22       al-Shaludi was a martyr under the Iaw you
23       referencedr. correct?
24            A.       Yes.
2S             A.      When was the determination made that


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 L     of paying the expenses of the burial of the
 2     martyr.
 3           0.      Is that the complete answer?
 4           A.      Yes.
 5           a.      Only martyrs qualify for this
 6     payment; correct?
 7          A.     The family of the martyr, the family
 I     of the martyr is the one who qualifies for this
 9     palrment pursuant to the law and before the
10     financial regulations.
Ll-                AIso this honorary payment is
1,2    dispensed to the employee who dies, and this
13     amount is around 5,000 shekels, it's dispensed
t4     for one time on1y.
t_5         a.     This was a payment of 5,000 shekels;
L5     correct?
1,7          A.      Yes.
18           O.      So this payment was made because
19     Mr. Abdel Rahman Idris Muhammad al*Shaludi was
20     designated as a martyr; correct?
23.         A.    Pursuant to the 1aw the payment was
22     made for him.
23          A.    To clarify, the palrment would not
24     have been made if he had not been designated a
25     martyr; correct?

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 L           A           Yes.
 2           o           When you refer to the 1aw, you refer

 3      to the law dated 20L6?
 4           A           Yes.
 5            a.         But the date this payment was
 6      authorized was in February 20L5, no?
 7      Withdrawn.
 8                       This payment was authorj-zed in 20L5;
 9      correct?
1,0          A.          As I mentioned previously in my
1L      response, there was financial regulations that
L2      govern the institution or the establiehment
t_3     since it was established, and these divisions
t4      were part
15      Palestinian law, as a division in that law.
16          a.     Mr. Ghannam, I'm just trying to
J.7     understand your answer. You're saying that
L8      there were certain preexisting regulations that
l_9     were later put into thie 2OL6 law?
20           A.          Yes.
2L            a.         Are these regulations anlrwhere in
22      writing?
23           A.          I spoke with the Establishment of
24      the Wounded and Martyrs Family Affairs about
25      these regulations.         They told me that it's

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 1     present and they're going to search for it,
 2     look for it, search for it and provide it for
 3     me when they find it,       if they find it within
 4     their possession.
 5          a.    Does that mean You've never seen
 6     them?

 7             A.     As I mentioned before, I spoke with
 I     them and they told me they will look for it'
 9     So I didn't see it,       I just spoke with them
L0     about it.
tt-                         MS. VINCZE: Mr     Berger, when
l2     you do receive these documents, we would like
1_3    them produced.
L4                          MR. BERGER: Once we see them
L5     we'Il be happy to review them and let you know
L5     our position on that, but I can't see why we
17     wouldn't .
t-8    BY MS. VINCZE:
19             O.      Can You Please PuII uP tab L4-      I
20     would like to designate this as Exhibit No' 11'
2T                     (Deposition Exhibit No. 1l- was
22     marked for identification.       )


23     BY MS. VINCZE:
24             a.      These are documents we received from
25      Defendants with Bates numbers           pardon, with

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  L     production numbers JD 83 through ,JD 95.
  2                    Mr. Ghannam, can you see the
  3     document?
  4           A.       Yes.
  5           A.       Do you recognize the document?
  6           A.       Yes.
  7           0.       What is it?
  I           A.       This document is produced from the
  9     Establishment of the Martyrs and Wounded Family
10      Affairs regarding Izz al-Din Shuheil Ahmad
Ll_     al-Masri, it concerna the financial section.
1,2         a.     Now, this document states case type,
l_3     martyr; correct?
1,4         A.     Yes.
15           a.    That means the Martyrsr Families and
16      Injured Care Establishment has designated Izz
t7      al-Din Shuheil Ahmad al-Masri as a martyr;
L8      correct?
1_9          A.       Yes.
20           0.    There is a section beneath that t,hat
2L      reads beneficiary's data,. correct?
22           A.    Yes.
23           a.    And the name provided in thaL
24      section is Fatma Hamed Isma'iI Masri; correct?
25           A.    Yes    -




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 1          O.      Can you please page down to iID 87'

 2                Mr. Ghannam, is it fair to saY this
 3     shows that Fatma Hamed Isma'il Masri has been
 4     receiving pa)rments on a monthly basis from
 5     April 2020 through APril 2021?
 6          A.    Yes.
 7          A.   And she receives these payments as
 I     the beneficiary of lzz al--Din Shuheil Atrmad
 9     al-Masri r' correct?
10           A.      Yes.

L1          a.    These palrments are made from funds
L2     under the control of the PA; correct?
1_3         A.    Yes.

t4          a.    Because all Palrments made to
15     qualifying beneficiaries of people desJ-gnated
L5     as martyrs are made from funds under the
L7     control of the PA; correct?
L8                          MR. BERGER: Objection,

19     indefinite as to time.
20     BY MS. VINCZE:
2t           0.      You maY answer, Mr. Ghannam-
22           A.      Yes.

23           0.      Thank You.
24                   To Your understanding, does Fatma
25      Hamed Isma'iI Masri continue to receive these


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   1    payments monthly aE of today?
   2          A.       Yes.
   3         a.    Can you please pulI up tab 15. We
   4    would like to designate this as Exhibit No . 1,2.
   5                          (Deposition Exhibit No. t-2 was
   5    marked for identification.      )

   7    BY MS. VINCZE:
  I           a.       This is a document produced to us
  9     from Defendants bearing production numbers ,fD
10      896 through iID 9l_3.
t- t-                 Mr. Ghannam, can you see the
L2      document?
l_3           A.      Yes.
T4            A.      Do you recognize it?
l_5           A.      Yes.
l-5          a.       What is it.?
L7           A.    This is a document we use from the
t_8     Establishment of the Wounded and Martyrs,
L9      Family Affairs regarding the renewal of the
2A      financial information and the palrment pursuant
21_     to the Iaw for the martyr lzz al-Din Shuheil
22      Ahmad al-Masri-
23           0.       And that. is the same Tzz al--Din
24      Shuheil Ahmad a1-Masri that we discussed when
25      we were speaking about Exhibit No. L1?


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 L          A.       Yes.
 2         a.     At the top of the document it reads
 3     Palestinian Liberation Organization; correct?
 4         A.     Yes.

 5         O. And the document is signed bY the
 6     General Director of Allowances; correct?
 7           A.      Yes.

 8           A.    Is the General Director of
 9     Allowanceet an emploYee of the PLO?
L0                          MR. BERGER: Objection,
1L     indefinite as to time.      You may answer.
L2                          THE WITNESS: Yes.

l_3    BY MS. VINCZE:
L4          O.    The document is dated October 20,
L5     2020, is it not?
L5          A.    Correct.
17          a.    So when the General Director of
L8     Allowances signed it, he signed it Ln 2020,
L9     didn't he?
20          A.     Yes.
2L          A.     It says, there's a section called
22     director' s opinion; correct?
23          A.     Yes.

24           a.      rr states, I confirm the         I can't
25     read the next word.       What does it   say after

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   1    director's opinion?
  2          A.     IE says I confirm the recommendation
   3    and the palrment is renewed for the beneficiary,
  4     the mother of the nlartyr. Ahd she is the
  5     beneficiary and she'g still living, this is
  6     according to the documents attached and
  7     pursuant to the law of the establishment.
  8          a.     And there's a section below that
  9     that states procedure of the Director General;
10      correct?
l- l-         A.      Yes.
1,2           O.   It states, renewal of the
L3      confirmation of the palrment in accordance with
L4      regulations; correct?
15           A.    Yes.
L6           a.    So the General Director of
1,7     Allowances is involved j-n confirming that
18      payments continue to be made to the beneficiary
L9      of lzz aL-Din Shuheil Ahmad al-Masri; correct?
2A           A.    Yes.
2a           a.    Can you please go to ifD 904.
22      Actually, can we go to iID 903.
23                 Mr. Ghannam, what is this document?
24          A.     It's a social investigation
25      conducted by the Establishment of the Wounded

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 1          A.       Yes.
 2          a.     ThaL meanE Fatma Hamed Isma'i1 Masri
 3     is the mother of lzz al-Din Shuheil Ahmad
 4     al-Masri; correct?
 5          A.     Yes.

 6          a.     And this is the same Fatma Hamed
 7     Isma'il Masri who has been receiving monthly
 I     palrments as the beneficiary of Izz a:---Din
 9     Shuheil Ahmad a1-Masrj- since April 202Ai
10     correct?
11           A.      Yes.
I2           a.  There's a section of this Page
13     titled administrative information; correct?
1"4          A.  Yes.
L5           a.  And beneath that it saYs
1-5    organizational affiliation Hamas,' correct?
L7          A.    Yes.
L8          a.    That is because Tzz a!-Din Shuheil
1,9    Ahmad a1-Masri is a member of Hamas; correct?

20           A.      According to the rePort, Yes.
2L           a.      And you have no reason to doubt the
22     accuracy of that statement, do You?
23           A.      Yes.

24           A.    It states Place and date of the
25      incident, August 9 , 2OOL, West ,Jerusalem Sbarro

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   1     Restaurant; correct?
  2            A.      Yes.
  3            O.      The person who wrote August 9, 2OO7-,
  4      Weet 'Jerugalem Sbarro Reetaurant wbs the
  5      employee of the Martyrsr Families and Wounded
  5      Establishment that filIed out this form;
  7      correct?
  8            A.      Yes.
  9            0.    And beneath that it says details of
10       the incident; right?
l_ l_          A.    Yes.
L2             A.    Following that it states, became a
l_3      martyr as a result of a martyrdom operation in
1,4      West lTerusalem on August 9, 2001; correct?
1_5            A.    Yee.
16             O. And the person who wrot,e that
I7       statement was the social investigator that
l_8      filled out this form for the Martyrs' Families
L9       and fnjured Care Establishment; correct?
20             A.    Yes.
2t             a.    Izz al--Din Shuheil Ahmad a1-Masri
22       died on August 9, 2001-r- correct?
23             A.    Yes.
24             a.    And he died due to injuries caused
25       by an explosive device; correct?

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 1            A      Yes.
 2            0      And the explosive device that caused
 3     his death was one that he detonated himself;
 4     correct?
 5            A.     According to the rePort, Yes.
 6            a.     Do you have any reason to doubt the
 7     accuracy of that statement?
 8            A.     No.

 9         0.     When Izz al--Din Shuheil Ahmad

10     al-Masri detonated the explosj-ve device on
1-L    August g, 2001, h€ killed others, too; correct?
1,2        A.     According to the rePort, Yes.
t-3         a.    And you have no reacon to think that
t4     is inaceurate, do You?
L5          A.   Yes.

L5          a.    The bombing that caused his death
t7     and the death of the others is the incident
L8     described in details of the incident on ,JD 9Q4;
1_9    correct?
2A            A.      Yes.

2L            O.      Letrs turn to iID 907, please. Thank
22     you.
23                At the boP of this Page it reads
24      recommendations of the department; correct?
25            A.      Yes.


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  l_         a.       Beneath that it states single.      The
  2    mother is alive.       The martyr has five siblings.
  3    We recommend to confirm the above-named martyr
  4    as a martyr of Al-Aqsa fntifada; correct?
  5         A.    Both parents, not only the mother
  6    are still living, y€s.
  7         O. And it also states we recommend to
  8    confirm the above named martyr as a martyr of
 9     A1-Aqsa fntifada; correct?
L0          A.     Yes.
L1          a.    The person who wrote that statement
L2     is the social investigator who fi1led out this
t_3    form on behalf of the Martyrs' Families and
T4     Injured Care EstablishmenL; coruect?
L5          A.    Yes.
L6           a.      And in determining that Izz a!-Din
L7     Shuheil Ahmad al-Masri is a martyr, that person
L8     relied on the incidence described on iID 904;
19     correct?
20          A.       Yes.
2a          A.       Because it was the circumstances of
22     Tzz al--Din Shuheil Ahmad al-Masri,s death that
23     made him a martyr; correct?
24          A.       Yes.
25          a.       And beneath that it reads decision

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1      of the Establishment' s director; correct?
2              A.     Yes.

3              a.     And it states to be confirmed as a
4      martyr of the A1-Aqsa Intifada as of August 7-,
 5     200L?

 6             A.     Yes.
 7             a.     That is because the MartYrs'
 I     Families and lnjured Care Establishment
 9     considered the circumstances of the death of
10     Tzz al--Din Shuheil Ahmad al-Masri to be part of
1L     the A1-Aqsa Intifada; correct?
L2          A.    Yes.

L3          a.    Let's go to iID 908, Please.
L4                There i-s a section of this that
1-5    reads conf irmation of the Director General,'
16     correct?
a7             A.      Yes.

L8             A.      Beneath that reads, to be confirmed
19     as a martyr of the Al-Aqsa Martyrs as of August
20     1, 2001, to be paid, and then the number is
2t      redacted,' correct?
22             A.      Yes.

23             a. That is because lzz al-Din Shuheil
24      Ahmad a1-Masri'g mother qualified to receive

25      palrments due to his designation as a martyr;

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  L     correct?
  2           A.       She was eligible
                                    for the payment
  3     because the divisions of the law to consider
  4     him as a martyr applfed to her.
  5          a.    But the perEon that filled out this
  6     document determined that Izz aI-Din Shuheil
  7     Ahmad al-Masri qualified as a martyr under that
  I     1aw; correct?
  9                         MR. BERGER: Objection, asked
l-0     and answered. You may answer again.
11                          THE WITNESS: Pursuant to the
L2      law and the social status, yes.
1-3     BY MS. VINCZE:
14           a.    ff Izz a:.--Din Shuheil Ahmad al-Masri
l_5     had not been determined to be a martyr by the
L6      Martyrs' Families and fnjured Care
L7      Establishment, then his mother would not
l_8     qualify to receive payments under this program;
L9      correct?
20                          MR.    BERGER: Objection,
21,     hypoLhetical.      You may answer.

22                          THE WITNESS:      Pursuant to the
23      law and the social status of this family.
24                          MS   . VINCZE:   Let's go off the
25      record and take a five-minute comfort break.

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 1     COMMONWEALTH   OF PENNSYI,VANIA
                                          SS
 2     COUNTY OF WASHINGTON

 3

 4                         CERT]FICATE

 5                I, Kathy D. Landock, a NotarY Public
       in and for the Commonwealth of Pennsylvania, do
 5     hereby certify t.hat the witness, FARID GI{ANNAM,
       was by me first. duly sworn to testify the
 7     truth, the whole truth, and nothing but the
       truth; that the foregoing deposition was taken
 I     at the time and place stated herein,' and that
       t.he said deposition was recorded
 9     stenographically by me and then reduced to
       t.ypewrit.ing under my direction, and constitutes
10     a Lrue record of the testimony given by said
       witness, all to the besL of my skill and
11     ability.
I2              I further certifY that I am not a
       relative, employee or attorney of any of the
13     parties, or a relat.ive or employee of either
       counsel, and t.hat f am in no way interested
T4     directly or indirectly in t.his action.
L5              IN WITNESS WHEREOF, I have hereunto
       set my hand and affixed my seal of office this
l_5    2nd day of August, 2021.
L7
                              d,,,#;
18                     Kathy D. Landock, Notary Public
                       Certified Realtime Reporter
L9

20     My Commission Expires:
       March 28, 2023
2t
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